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 ROBERT EMERT
 2351 VISTA LAGO TERRACE                                              FILED
 ESCONDIDO, CA 92029
                                                                      Jan 02 2024
 760-612-9328                                                    CLERK, U.S. DISTRICT COURT
                                                              SOUTHERN DISTRICT OF CALIFORNIA
 robemert@msn.com                                            BY         s/ GloriaVocal  DEPUTY




                       FEDERAL DISTRICT COURT OF SOUTHERN
                                        CALIFORNIA
                                                            '24CV0002 AGS AHG


                                             42 U.S.C. §1983 related to breach of plea
  ROB EMERT                                  agreement and 28 U.S.C. §1331
                                             (Federal Question Jurisdiction)
                Plaintiff
                                             § 1983 provides a cause of action for constitutional violations
                                             committed by those acting "under color of state law".
  vs.
                                             The involvement of the Deputy District Attorney in negotiating
                                             the plea agreement qualifies as state action.
  Andrea Schuck, Jose Badillo, Deputy
                                             Breaching the agreement violated my due process rights by
  District Attorney Dawn Balerio             depriving me of the promised agreement without proper due
                                             process.
  Defendants
                                             Courts have allowed § 1983 claims alleging due process
                                             violations in the plea bargain context before. See e.g. Brooks v.
                                             Missouri, 817 F .2d 1310 (8th Cir. 1987).

                                             My parental rights are also constitutionally protected interests
                                             under the 14th Amendment. Interference with those rights
                                             further supports a § 1983 claim.

                                             I have no other recourse for the constitutional deprivation and
                                             am therefore requesting injunctive relief.
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 This is from a transcribed call on 05/01/23 between Rob Emert and Jose Badillo . .................................. 5

 00:07:14 - Badillo" The conversation we had with the DA that I explained to you, she's (Schuck) on the
 record talking to the DA and I. That's why I am asking if you have those emails because if she's
 backtracking on that, obviously that could be an assistance for you in regard to whether you have a
 viable motion to withdraw your plea." ......................................................................................................... s

 00:16;58 {jose badillo} the DA knows that you resolved the case based on the conversation she and I had
 with Andrea. So if she is backpedaling on that and not agreeing to that, that could be an issue that can
 be raised." ..................................................................................................................................................... 5
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This lawsuit is only about four pages. The exhibits are the rest and well bookmarked.

 Parties:
 Plaintiff: Robert Emert
 Defendants: Jose Badillo, Andrea Schuck, Deputy District Attorney Dawn Balerio

Jurisdiction:
 This Court has federal question jurisdiction under 28 U.S.C. §1331 because this action alleges
 violations of Plaintiffs constitutional rights under 42 U .S.C. §1983 related to a plea agreement
 that was not honored made between himself and the defendants.
 Deputy District Attorney Balerio's role in making the plea agreement, which the other
 defendants failed to honor, is the key basis for alleging 14th Amendment violations and seeking
 an injunction in federal court.

 Venue:
 The venue is proper because all parties reside in this district and the events occurred here.

 Facts:
 On April 4, 2023, Plaintiffs attorney Jose Badillo represented that Plaintiffs ex-wife Andrea
 Schuck and Deputy DA Dawn Balerio agreed to a plea deal whereby Plaintiffs son Bryce Emert
 would return to Plaintiffs custody in a shared custody arrangement if Plaintiff pied guilty to
 resolve criminal charges.
 Criminal defense attorney, Jose Badillo, negotiated the plea deal with ODA Balerio, acting on
 behalf of the state.

 ODA Balerio's involvement created a binding agreement under the color of state law.
 By breaching this agreement, the defendants deprived plaintiff of the promised custody rights
 without due process.

 In reliance on this representation, Plaintiff accepted the plea deal and pied guilty on April 4,
 2023.

 Defendant Badillo failed to secure the plea agreement regarding Bryce's custody in writing.
 After pleading guilty, there were many phone calls and emails between Plaintiff, Badillo and
 Schuck demonstrating there was a plea deal where Bryce was to return to a joint physical
 custody arrangement. Bryce is the son of Rob Emert and Andrea Schuck.
 Defendant Schuck later added extra-contractual conditions for ANY agreement to even proceed.
 Defendants now falsely claim the plea deal did not contain any agreement regarding letting
 Bryce reside with plaintiff.
 Plaintiff has many audio recordings demonstrating the plea agreement included Bryce returning
 to a joint custody agreement between Rob Emert and Andrea Schuck.
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 The recordings are definitive and will be listed in exhibits with full transcripts.



 Irreparable Harm:
 Plaintiff and his son are suffering irreparable harm due to their ongoing separation in violation of
 their constitutional rights as parent and child. The Supreme Court has recognized the "essential"
 and "basic civil right of man" for a parent and child to have a relationship free from unwarranted
 government interference. Stanley v. Illinois, 405 U.S. 645 (1972). Unlawful denial of custody
 and companionship between parent and child constitutes per se irreparable harm.

 Inadequate Remedies at Law:
 Monetary damages are inadequate to remedy the harm Plaintiff has suffered and continues to
 suffer from the unlawful deprivation of custody of his son. The parent-child relationship cannot
 be reduced to a mere monetary value. No amount of money could compensate for the loss of
 companionship and bonding caused by the ongoing separation.

 Additionally, Plaintiff lacks an adequate remedy at law because Defendants have sovereign
 immunity and cannot be sued for damages. ODA Balerio acted under the color of state law,
 which bars claims for monetary relief.

 The extraordinary remedy of an injunction ordering specific performance of the plea agreement
 is required because Plaintiff has no recourse through an action for legal damages. Only equitable
 relief can remedy the irreparable harm.

 Numerous federal courts have held that depriving a parent custody of a child without due process
 of law results in irreparable harm to the parent-child relationship for which there is no adequate
 legal remedy. See e.g. Brokaw v. Mercer County, 235 F.3d 1000 (7th Cir. 2000); Heartland
 Acad. Cmty. Church v. Waddle, 335 F.3d 684 (8th Cir. 2003).

 Plaintiff has suffered and continues to suffer irreparable damage to his relationship with his son
 by Defendants' failure to uphold the plea agreement's custody provision. Only injunctive relief
 ordering specific performance can remedy this ongoing harm.

 Constitutional Violations
 Plaintiff alleges violations of his rights under the Due Process Clause and Equal Protection
 Clause of the Fourteenth Amendment to the United States Constitution, enforceable through 42
 U.S.C. §1983.

 Due Process Violation:
 Plaintiff's criminal defense attorney negotiated the plea agreement regarding custody rights over
 Plaintiff's son with Deputy District Attorney Balerio, who was acting on behalf of the state. The
 participation of DOA Balerio in crafting the plea bargain created a binding agreement under
 color of state law.
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 By breaching this plea agreement, Defendants violated Plaintiffs procedural and substantive due
 process rights. Plaintiff had a constitutionally protected property interest in the custody rights to
 his son under the terms of the plea bargain negotiated with the ODA. This interest could not be
 deprived without due process of law.

 Equal Protection Violation:
 By denying Plaintiff the custody rights afforded under the terms of the plea agreement, without
 proper legal justification, Defendants violated Plaintiffs right to equal protection.
 Plaintiff was intentionally discriminated against in being deprived of custody rights granted to
 other similarly situated parents finalizing custody through plea bargains crafted with the state's
 representative, ODA Balerio.

 Prayer for Injunctive Relief:
 Injunctive relief ordering Defendants to specifically perform the original plea agreement by
 letting Bryce live with his father per his wishes and best interests.
 Plaintiff intends to amend this Complaint once as a matter of course pursuant to Rule
 15(a)(l) to provide additional factual details and evidence supporting his claims.
 However, the core allegations herein regarding the breach of the oral plea agreement backed up
 by phone conversations with the transcripts in the exhibits below are sufficient by themselves to
 warrant this injunctive relief.

 Conclusion
 As established above, Plaintiff has demonstrated: l) the existence of an enforceable plea
 agreement between himself and Defendants, negotiated by his defense attorney and the Deputy
 District Attorney; 2) Defendants' breach of the plea agreement violated Plaintiffs constitutional
 rights under the Due Process Clause and Equal Protection Clause of the Fourteenth Amendment;
 and 3) Plaintiff will continue suffering irreparable harm without injunctive relief ordering
 specific performance of the custody provision of the plea agreement.

 Plaintiff has sufficiently demonstrated his right to injunctive relief and respectfully requests this
 Court order Defendants to specifically perform the original plea agreement by granting Plaintiff
 rights to his son in accordance with the terms negotiated with the state's representative and make
 clear in the following exhibits.

 "crime-fraud' exception to wiretapping
 The recorded conversations are admissible under the 'crime-fraud' exception to wiretapping
 laws. Under this exception, under federal law, the crime-fraud exception applies broadly to "any
 communication" related to criminal or fraudulent conduct, not just attorney-client
 communications.

 This exception applies because Plaintiff had a good faith basis to believe the conversations
 related to Defendant Schuck's ongoing fraudulent conduct depriving him of custody rights with
 false claims and Defendant Badillo's coercion to plead guilty despite prosecutor
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 misconduct and exonerating evidence. The content of the calls confirms they contained
 discussions furthering the fraud and bad faith denial of the custody provision of the plea
 agreement.




 Exhibits

 The attached exhibits conclusively demonstrate that Defendants made and breached an
 enforceable plea agreement.

 In the six transcribed audio calls listed below, it is clear that Bryce returning home to his father
 was part of the plea deal. The deal is referenced so many times in the calls/transcripts, I won't
 list them all here except for these two from my then attorney Jose Badillo where it simply can't
 be any more clear and in the context of all the calls and emails provided here in exhibits if
 someone wants to claim Bryce coming home to his father was not part of the plea deal it simply
 strains their credibility.



 This is from a transcribed call on 05/01/23 between Rob Emert and Jose
 Badillo.

 00:07:14- Badillo "The conversation we had with the DA that I
 explained to you, she's (Schuck) on the record talking to the DA and I.
 That's why I am asking if you have those emails because if she's
 backtracking on that, obviously that could be an assistance for you in
 regard to whether you have a viable motion to withdraw your plea."

 00:16;58 Uose badillo} the DA knows that you resolved the case based
 on the conversation she and I had with Andrea. So if she is backpedaling
 on that and not agreeing to that, that could be an issue that can be
 raised."
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    A. 04/11/23 TRANSCRIBED CALL BETWEEN ROB EMERT AND ANDREA SCHUCK



    B. 04/13/23 TRANSCRIBED CALL BETWEEN ROB EMERT AND ANDREA SCHUCK



    C. 04/13/23 TRANSCRIBED CALL BETWEEN ROB EMERT AND JOSE BADILLO



    D. 04/25/23 TRANSCRIBED CALL BETWEEN ROB EMERT AND JOSE BADILLO


    E. 05/01/23 TRANSCRIBED CALL BETWEEN ROB EMERT AND JOSE BADILLO



    F. 05/03/23 TRANSCRIBED CALL BETWEEN ROB EMERT AND JOSE BADILLO



    G. 04/18/23 EMAIL BETWEEN ROB EMERT AND ANDREA SCHUCK WHERE
       Andrea Schuck WANTED TO ALTER THE PLEA AGREEMENT WITHOUT
       PUTTING ANYTHING IN WRITTING.



 In the audio recording dated 04/11/23 between Rob Emert and Andrea Schuck, it is clear that
 Andrea Schuck was going to agree to a joint custody agreement as was the plea deal that was
 presented to Emert from his then attorney Badillo who had negotiated this deal with Schuck and
 DOA Balerio. Then, in the second call on 04/13/23, Schuck backpaddles and then in the email
 on 04/18/23, Andrea Schuck says she won't even negotiate unless Emert agrees to more items
 that were never even discussed as part of the original plea deal. It is important to note that
 Andrea Schuck included DOA Balerio in this email.
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A.  04/11/23 TRANSCRIBED CALL BETWEEN ROB EMERT AND ANDREA
SCHUCK
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This is a transcript of a record, all between Rob Emert and Andrea~         .ck on 04/11/23 where clear1y Schuck
appears to honor the deal of Bryce custody that was part of the plea deal that Rob Emert's attorney Jose Badillo
never got in writing. These are exact quotes from the transcript and full audio file included with link in this
document. Schuck clearly says multiple times that Bryce living with Rob Emert almost full time is/was the
plan.

:35 "On my Honor, I took that deal because they said that you wanted to work something out."

"You know, it's like I'm I'm like, I mean, I took the deal because I thought it was maybe better.
00:08:45 EMERT For all of us and.
00:08:50 SCHUCK
It can be.

Context: Schuck agrees to testify on Emert's behalf about the custody deal.

00:21:42- "I would be willing to testify at your sentencing on your behalf."

Context: Schuck agrees to help get the protective order dropped.

00:42:03 - "I can find out about getting the protective order dropped too."

Context: Schuck suggests family therapy and activities to help with reunification.

00:20: 17 - "We all four of us need reunification therapy."

00:53:51 - "We should try to do something like a family dinner to help."

Context: Schuck agrees to have her lawyer draft up custody agreement.

00: 18:08 - "I have a meeting with my lawyer tomorrow about talking about what we could do in terms of a
different custody order."

00:00:55 - "I took that deal because they said that you wanted to work something out. And I thought it would
be better that, you know Bryce and Skyler, we have something worked out together."

Context: Emert asks for a custody arrangement as part of a deal.

00:01:08- "Can you say here's what we're going to do regarding custody of the kids?"

00:09:54

EMERT I know, and I and I'm I'm sure I I told you that I would be great. I thought I was going to die. I wanted him to

have his mom. I'm telling you, I was worried. And so, you know, while we both go cheap shots in in each other, I was

always hopeful that it was going to end up more like that movie, Daddy's home where we would still see each other and

get our cheap shots in. It'd be funny.
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                                                                           10


 00:13:11 EMERT "So whatever fair deal you think I'll take."

 00:13:17 SCHUCK 00:13:21 SCHUCK

 "why don't I just start with Its not the deal. I'm just going to".

 "Send over the." 00:13:23 SCHUCK00:14:30 SCHUCK This is what they told me, so I was like, oh,

 God, rob take the deal like this is what I'm thinking"00:14:40 EMERT That I never did. 00:14:41

 EMERT Anything maliciously"00:14:52 SCHUCK To let me talk to Bryce.00:14:54 SCHUCK That was

 malicious."00:16:25 SCHUCK No, it's that you can talk to her. You can talk. 00:16:30 SCHUCK To

 her. But if she doesn't want.00:16:31 SCHUCK To talk to you, she doesn't have to talk to you.

 00:16:34" EMERT Context: Schuck refers to giving terms for Bryce to live with Emert full time.

 00:04:37 - "I gave you like a list of things I wanted in terms of Bryce, which was to live with you full

 time."."

 Context: Schuck agrees to Bryce being with Emert as much as possible.

 00:35:01 - "I want him to be with you as much as he can be."

 Context: Emert refers to drafting a stipulation for Bryce to live with him most of the time.

 00:41 :02 - "Have your lawyer draft a new stipulation to allow Bryce to live with me most of the time."

 Context: Schuck agrees Bryce can stay with Emert most of the week as part of their agreement.

 00:46:09 - "He can stay over here for most of the week once we get things turned around."
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  Aud io fil e
  Andrea 2 (+1 760-214-8677) 71 (phone) 2023-04-1112-10-50.mp3



  Speaker 2 is Rob Emert

  Speaker 1 is Andrea Schuck


  Transcript
  00:00:09 EMERT

  Hello. Hey, it's me. Hello. Hello.

  00:00:13 SCHUCK

  Fine, thanks. How are you?

  00:00:14 EMERT

  I've been better. OK. So thanks for picking up. I really appreciate it. The you probably know the you and I
  can talk, but going forward, I will always just do by text or talking parent whatever you want to do. But
  the reason why I want to talk to you now and thanks for picking up is because.

  00:00:35 EMERT

  The There's so many, so many balls up in the air regarding appeals and this the criminal case and on my
  Honor, I took that deal because they said that you wanted to work something out.

  00:00:55 EMERT

  And I thought it would be better that, you know Bryce and Skyler, we have something worked out
  together. So please tell me please that there's something where I can drop all my cases.

  00:01:08 EMERT

  And you can say here's what we're going to do regarding custody of the kids, or if you have keep custody
  or visitation or whatever. Just please don't let you do supervised visitation because.

  00:01:21 EMERT

  That's just mean. And the kids don't deserve that.

  00:01:24 EMERT

  You know, I, you know.

  00:01:26 EMERT

  They just don't deserve that.

  00:01:27 EMERT
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                                                                                                                      HI




  You know, and I and I, that's why. That's why I don't. That's why I didn't reach out to Skyler a lot is
  because I didn't want her to have to, you know, I mean, stop playing with her friends just to go sit with a
  stranger and me. It's just it's just it's not. That's my opinion is it's not good for the kids.

  00:01:44 EMERT

  So what kind of what kind of bone can you throw me so I can drop all this crap and go get a job and try
  to live a life that's somewhat normal? I've almost died, like, three times, Andrea.

  00:01:56 EMERT

  Jail for 90 days. 11 don't. I don't deserve this.

  00:01:59 EMERT

  You know that.

  00:02:00 EMERT

  I you know, I just don't.

  00:02:02 EMERT

  So I would never. I've never would have never done this to you.

  00:02:07 EMERT

  And you know that.

  00:02:09 EMERT

  So could you tell me? 11 feel so horrible right now.

  00:02:12 EMERT

  I feel so bad.

  00:02:14 EMERT

  And I just.

  00:02:16 EMERT

  I just want to live and I and I have all this, all this stuff, and it's just it's ridiculous. You know, I've been
  pummeled.

  00:02:25 EMERT

  Can you help me and and basically do something nice so I could see the kids. We're going forward. It's
  not. We don't have to go to court anymore and then I can just end all these. All this crap and.

  00:02:39 EMERT

  And we have something, but don't make me come groveling with supervised . That's just I'm. I'm begging
  you not to do that because 11 have to do that. Then I probably have to keep plugging along with all this
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                                                                          1S




  other crap. And I I really don't want to do that. You know, it's just a waste of time. It's money and time
  that I could be with the kids or doing something productive. And this, this, you know.

  00:03:00 EMERT

  This thing is this is this is horrible, these vultures.

  00:03:04 SCHUCK

  11 don't. 11 will work with you Rob for sure. But I don't want to talk about how you think the people are
  corrupt anymore.

  00:03:15 EMERT

  OK, that's fine.

  00:03:15 SCHUCK

  Ever, ever again. You can think that that's fine, but I don't. I'm not corrupt and .

  00:03:21 EMERT

  I know that that's why I'm calling you now. I'm hoping that you'll just help me out of this somehow and
  Get Me Out.

  00:03:26 SCHUCK

  I can tell you that I I I'm not corrupt, and I do want to work with you, and I think Bryce needs to you. I
  think you need to give Skylar a little bit ohime.

  00:03:38 EMERT

  But it just breaks my heart because I never did anything that would warrant that.

  00:03:43 SCHUCK

  But she she.

  00:03:47 EMERT

  Let's not go there. Just what can you tell me? Because I know you don't have a lot of time probably to
  talk now and we're not going to resolve anything now. But I feel seriously.

  00:03:56 EMERT

  I don't even know if I'm going to make it.

  00:03:59 EMERT

  That's how. That's how bad it is. Jail for 90 days. It's just was ridiculous. And they they could have let me
  out. And it, you know, based on the documentation, and it kept me in there illegally. And, you know,
  they did. And it's just, you know, that I've I've pissed off the wrong people. And I just did so.

  00:04:19 EMERT
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                                                                                                             HI




  I'm. I'm asking you what? What realistically?

  00:04:24 EMERT

  Can you do?

  00:04:26 EMERT

  Like like what? How do you see this playing out like?

  00:04:29 EMERT

  If, like they would like seeing the kids and stuff, would you just basically.

  00:04:35 EMERT

  Go ahead.

  00:04:37 SCHUCK

  Well, 11 want to remind you, I mean and 11 want to give you some benefit of the doubt rob. I want to
  remind you that I gave you like a list of things I wanted in terms of Bryce, which was to live with you full
  time.

  00:04:51 SCHUCK

  But to let me.

  00:04:52 SCHUCK

  Have like certain days of the week, like maybe comes over on Sundays for dinner, but he's in school.

  00:05:00 SCHUCK

  And I'm on his IEP team and if he has both of them that they have play our concert, we can both

  go. 00:05:09 EMERT

  Is the on certificate or diploma?

  00:05:12 SCHUCK

  He right now he's a.

  00:05:14 SCHUCK

  Year off from his credit.

  00:05:17 SCHUCK

  So he will graduate and be able to go to a junior college, but he won't be able to go to a four year
  university.

  00:05:23 SCHUCK

  And that's what I'm doing summer school.
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  00:05:25 EMERT

  Is it because?

  00:05:27 EMERT

  Will we get a diploma or is it like a certificate?

  00:05:30 SCHUCK

  Its a diploma.

  00:05:31 EMERT

  OK.

  00:05:32 SCHUCK

  Keep the classroom and I don't want to switch in schools. I don't think as much as he's not liking it at
  carlsbad I don't think switching yet again is the answer. I've seen that with like Tina with her son, with
  just people switching around. We need to do is change his growth mindset and support him in it. He that
  he's actually made a really nice group of kids.

  00:05:53 SCHUCK

  A friend, but he has people.

  00:05:56 EMERT

  So again, not. So not again, not getting too detailed. So basically, if I like, of course kept him at your

  school, he could live with me a lot.

  SCHUCK

  aha

  00:06:10 EMERT

  And but of course then you have the ultimate say on everything, which that's I mean that.

  00:06:15 SCHUCK

  It doesn't have to be the ultimate solution. We can work together, we can make decisions together.

  00:06:22 SCHUCK

  I KNOW we can. We can make decisions together. We can. We always were able to.

  00:06:28 EMERT

  OK. Thank you.

  00:06:31 SCHUCK

  UM.
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                                                                           16




  00:06:35 EMERT

  I just. I want the best for them and I just if I.

  00:06:37 SCHUCK

  I do too .

  00:06:39 EMERT

  The the mess. The mess that I'm in right now is that I don't think.

  00:06:44 EMERT

  I mean, I have to.

  00:06:46 EMERT

  I I got really I I just got in such bad advice from lawyers. I've been trying to do this on my own and I just.
  It's like gotten to a point now where I'm just like I want out. 111 just. I just want to just be out.

  00:06:59 SCHUCK

  A lot of the advice that you got were from people who were not.

  00:07:02 SCHUCK

  Lawyers who were court watcher groups, and that's you. Don't see it. And I know they're your friends,
  but they steered you in the wrong way. Like.

  00:07:14 SCHUCK

  You know, I tell Bryce he doesn't believe me all the time. I still love you rob.

  00:07:18 EMERT

  Thank you.

  00:07:18 SCHUCK

  I love you. I love you and I my heart has been broken for you and your family this whole time and.

  00:07:27 SCHUCK

  But the damage that Bryce is in with Bryce and I is really bad.

  00:07:32 EMERT

  Well, let's fix it because I think we can, if he, you know, I think we can fix it. And I just, you know I you
  know, because what happened was they again they they the lawyer I have in the Criminal Court he said
  you they're you know they're not going to probably let Bryce testify and you know I saw how that was.

  00:07:48 EMERT
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  Panning out and I didn't want to. Basically, you know, I said, I honestly didn't want to have you go up
  there on the stand and have us turn in this big fight even more so, I took the deal thinking that what
  they told me was that it could all go be defaulted to family court, but then I go back and now they're like
  everybody's laughing on me, going rob your******* idiot dude.

  00:08:08 EMERT

  You're a******* convicted felon. You're gonna get nothing in family court.

  00:08:13 EMERT

  You know what?

  00:08:13 SCHUCK

  That's not true rob. That's not. You know, The thing is, even if you ask my parents.

  00:08:19 SCHUCK

  We want you. We want.

  00:08:21 SCHUCK

  You to be with Bryce.

  00:08:23 SCHUCK

  Skyler, we want.

  00:08:24 SCHUCK

  You to be with her, but we want.

  00:08:25 SCHUCK

  Her to want to be with you.

  00:08:26 SCHUCK

  Like right now and you don't hear, you don't know she's going through some stuff too. And you can
  imagine.

  00:08:33 SCHUCK

  And she's going through some really.

  00:08:34 SCHUCK

  Great stuff and she's missed you. And she wants you. She just.

  00:08:38 SCHUCK

  She's hurt by the whole thing, too, I mean.

  00:08:41 EMERT
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                                                                          18




  You know, it's like I'm I'm like, I mean, I took the deal because I thought it was maybe better.

  00:08:45 EMERT

  For all of us and.



  00:08:50 SCHUCK

  It can be.

  00:08:52 SCHUCK

  It can be. It can be, it can be and hear me.

  00:08:53 EMERT

  OK.

  00:08:55 EMERT

  Because the the appeals are coming up, I have two motions coming up to this next month, next month,
  and I think if we if we drew up a stipulation, I think the court would be happy to get rid of us.

  00:09:05 SCHUCK

  I'd like to send you back the stipulation that I sent to Steven Mackintosh to send to you. Originally, we
  want you to look at it really, really hard and I want you to look at it from a really objective lens. But I
  don't want you to talk about it with Mark or your mom or anyone else. I want you to put yourself in the
  position that I was really coming at this.

  00:09:25 SCHUCK

  With good intentions. Hey, maybe you could see Bryce on Sundays and.

  00:09:30 EMERT

  Here's the thing, andrea.

  Seriously. 00:09:32 EMERT

  I'm so beat. I'm so beat down.

  00:09:35 EMERT

  But I would just if if I get to see the kids and not on supervised visitation, I'll take anything. I just don't
  want to do that to the kids. That's my main thing.

  00:09:46 SCHUCK

  Well, and you know I I need bryce

  00:09:49 SCHUCK
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                                                                           19




  To change his his.

  00:09:54 SCHUCK

  Hang on.

  00:09:54 EMERT

  I know, and I and I'm I'm sure 11 told you that I would be great. I thought I was going to die. I wanted him
  to have his mom. I'm telling you, I was worried. And so, you know, while we both go cheap shots in in
  each other, I was always hopeful that it was going to end up more like that movie. Daddy's home where
  we would still see each other and get our cheap shots in. It'd be funny.

  00:10:14 EMERT

  I never wanted it to turn into the war of the Roses. You know what I mean? I mean, this is

  this. 00:10:19 EMERT

  Got this has gotten way out of hand.

  00:10:20 EMERT

  And and I just like I I just I I the fact that you said that you know or are are are generally indicating when
  they're not promising anything but just that you that you're saying that you want to do this makes my
  day so much better because I'm looking at all this stuff that I have to do.

  00:10:40 EMERT

  I don't want to do it anymore, I just. I'm wasting my life. I'm wasting the kids lives and all the money
  resources is******* just******* stupid, you know?

  00:10:52 SCHUCK

  Well, what I think it's kind of funny, Rob.

  00:10:55 SCHUCK

  Is that I don't have any money.

  00:10:57 SCHUCK

  I'm scraping by I I'm not. I'm not I.

  00:11:01 SCHUCK

  I don't know.

  00:11:01 SCHUCK

  What you ever thought I needed money but.

  00:11:06 SCHUCK

  One day at a time with money like.
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                                                                                                            20




  00:11:09

  All right.

  00:11:10 EMERT

  All right. Well, let's, I'll, I'll take whatever you give me at this point.

  00:11:14 EMERT

  Because I'm broken.

  00:11 :17 EMERT

  I really AM.

  00:11:17 SCHUCK

  I'm    sorry,   I'm   sorry.

  00:11:21 SCHUCK

  I never wanted this for you rob. I love you and I never wanted this for you. I.

  00:11:28 SCHUCK

  I'm mad at you because of Bryce's education.

  00:11:31 SCHUCK

  That is, that is the thing that I really struggle with the most.

  00:11:35 EMERT

  Well, can you give me just a little bit of credit if you could and think about it? Because where?

  00:11:39 EMERT

  He was at.

  00:11:40 EMERT

  Emotionally, 11 did what I thought was right and he grew up a lot in that year. He there's a lot of benefits
  that he got in that year.

  00:11:47 SCHUCK

  I thought 11 thought he did too.

  00:11:50 SCHUCK

  I thought he I'm pulling.

  00:11:51 SCHUCK

  Over because I wa s driving.
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                                                                          23




  00:11:53 SCHUCK

  I thought he did too, and now he's quite back to where he was. He didn't grow up. He he he takes
  pictures of me and sends them to your mom. Like bad pictures of me. And they laugh and.

  00:12:05 EMERT

  I know. I think it's because he, he thought when I told him because I told him not to run away and that's
  how much I loved him. As I said, Bryce, I don't know how this is going to play out and I said don't run
  away from your mom, see the best of your mom, try to have some fun with your mom and.

  00:12:21 Speaker 2

  I said try to have some fun.

  00:12:21 SCHUCK

  He did at first.

  00:12:23 SCHUCK

  Did it first and then your mom?

  00:12:25 SCHUCK

  Your mom has been working on him hard. Rob like.

  00:12:27 EMERT

  OK, I will fix that because.

  00:12:31 EMERT

  Hold on.

  00:12:36 EMERT

  Hold on

  00:12:42 EMERT

  I'll fix it.

  00:12:45 EMERT

  I'll fix that, I promise.

  00:12:57 EMERT

  I just want to see the kids and.

  00:12:59 EMERT

  I just don't know.

  00:13:00 EMERT
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  I I can't do this anymore.



  00:13:11 EMERT "So whatever fair deal you think I'll take. "

  00:13:17 SCHUCK

  "why don't I just start with Its not the deal. I'm just going to" .

  00:13:21 SCHUCK

  Send over the.

  00:13:23 SCHUCK

  Stipulation that I wrot up to the DA investigator Steven Mackintosh. Whatever her name is, and I want
  you to look at it and see where it was coming at and see how even.

  00:13:32 SCHUCK

  Then I was really.

  00:13:34 EMERT

  Well, here's the.

  00:13:35 SCHUCK

  Work with you.

  00:13:35 EMERT

  Deal. Well, here's the thing. I know, but at this point, I just want something done and I want it simple.
  And if you want total control, you can have it. And then if you'll, I mean, you'll listen to me, which is
  great. And that's all. That's all I need at this point. And I just, I want this to be done. I want to be able to
  go into court.

  00:13:57 EMERT

  And say, here's our agreement and I would think that the judges would probably say, thank God I will
  take it. You agree to it? Get the **** out of my courtroom.

  00:14:07 EMERT

  That that's what I'm hoping they say.

  00:14:11 EMERT

  But my life is ruined because they they didn't tell me like I wasn't going to plead guilty and I was going to
  take it to trial and they were like, no, don't take it to trial. It's not good for bryce and you know.

  00:14:21 EMERT

  You could stay in jail longer.
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                                                                          :rs



  00:14:23 SCHUCK

  They told me you were.

  00:14:25 SCHUCK

  They said their case was so.

  00:14:26 SCHUCK

  Strong. You were going to

  lose. 00:14:30 SCHUCK

  This is what they told me, so I was like, oh, God, rob take the deal like this is what I'm thinking

  like. 00:14:35 EMERT

  Well, but the way the thing the Penal Code works and is going to turn over there. But here's what it
  comes down to is.

  00:14:40 EMERT

  That I never did.

  00:14:41 EMERT

  Anything maliciously, they, they and that, that and they, then they can't. I didn't. I really didn't.

  00:14:47 SCHUCK

  Hey. Hey.

  00:14:50 SCHUCK

  When I begged you.

  00:14:52 SCHUCK

  To let me talk to Bryce.

  00:14:54 SCHUCK

  That was malicious. You shouldn't. That's where that's.

  00:14:58 SCHUCK

  I just if you had literally, I would.

  00:15:00 SCHUCK

  Have dropped the whole thing.

  00:15:01 SCHUCK

  If I could.
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  00:15:01 SCHUCK

  Have just talked to him. If he had been in.

  00:15:03   SCHUCK

  School and I could.

  00:15:04 SCHUCK

  Talk to him. We wouldn't be here right now.

  00:15:06 EMERT

  OK, well, I'm sorry 11 did the best I could. So thank you for picking up because I seriously, I'm. I'm not
  going to tell you I'm feeling because it would be alarming, so I won't.

  00:15:19 EMERT

  We can fix it.

  00:15:21 EMERT

  And I need to put this thing I need to put it back together, but the fact that you picked up the fact that it
  sounds like you're not going to make me do supervised visitation .

  00:15:32 EMERT

  It sounds like that and I know you can't promise or guarantee anything, but that's that's all I want is I just
  wantto be.

  00:15:39 EMERT

  I want to be able to get back to work. I want to be involved in the kids lives and the fact that my
  daughter doesn't want to see me. It's just there's things.

  00:15:50 SCHUCK

  She doesn't not wanna.

  00 :15:51 SCHUCK

  See. She's just. It's just like bryce.

  00:15:53 SCHUCK

  enough time goes by.

  00:15:55 SCHUCK

  And you just don't know what you know.

  00:15 :58 SCHUCK

  And you know you .
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                                                                          21!




  00:15:58 EMERT

 That, you know, they need everything from me, that they're everything to me.

  00:15:59 SCHUCK

  Can't you do not have you know?

  00:16:02 SCHUCK

  Me too. You know that to me.

  00:16:04 SCHUCK

  Too, but rob.

  00:16:06 SCHUCK

  also you do not have a criminal protective order against you with Skyler right now, so feel free

  to. 00:16:13 SCHUCK

  Reach out to her.

  00:16:15 EMERT

  OK. 11 would.

  00:16:15 SCHUCK

  Text her. Sorry. Sorry. She wants to hear from you. Tell her you love.

  00:16:19 SCHUCK

  Her tell her happy.

  00:16:20 EMERT

  Easter. Tell her, isn't there an order in from the court, though that says.

  00:16:24 EMERT

  That I'm not. I don't.

  00:16:25 SCHUCK

  No, it's that you can talk to her. You can talk.

  00:16:30 SCHUCK

  To her. But if she doesn't want.

  00:16:31 SCHUCK

  To talk to you, she doesn't have to talk to

  you. 00:16:34 EMERT
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 Well, that's that's fine. I mean, I would never force her to do.

 00:16:37 EMERT

 Anything she didn't want to do.

  00:16:37 SCHUCK

   So well and you know that's what we're different. I would ask you, I would ask you to force Bryce to talk
  to me. That's.

  00:16 :47 SCHUCK

  And you know what? Well, we do need therapy.

  00:16:50 SCHUCK

  You were so against reunification therapy. We all four of us need it. You need it with Skyler. I need it
  with Bryce.

  00:16:57 SCHUCK

  We need to like.

  00:16:59 SCHUCK

  We need to go. The four of us.

  00:17:05 EMERT

  If that's what you want to do, I'll do it because I'm.

  00:17:07 EMERT

  Just happy you're talking to me.

  00:17:10 SCHUCK

  Well, I want you and Skylar to.

  00:17:12 SCHUCK

  Get I want.

  00:17:17 SCHUCK

  I want me and Bryce to be OK and I want you and skylar to be OK.

  00:17:20 EMERT

  OK.

  00 :17:24 EMERT

  Thank you.
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  00:17:24 SCHUCK

  I'm so sorry for all of this. It's awful.

  00:17:25 EMERT

  You know.

  00:17 :26 EMERT

  So am I. So am I I.

  00:17:29 EMERT

  I'm sorry that I was a bad husband.

  00:17:34 EMERT

  I know I messed up, I know.

  00:17:38 SCHUCK

  I messed up too rob

  00:17:42 SCHUCK

  And you know, The thing is that Jesus just died, and rose on the cross.

  00:17:48 SCHUCK

  For us so that we could be forgiven.

  00:17:54 EMERT

  Can you?

  00:17:58 EMERT

  Can you have?

  00 :18:01     EMERT

  Can you just have?

  00:18:04 EMERT

  I don't know if UM, if something could just be drawn up, but basically.

  00:18:08 SCHUCK

  I have a meeting with my lawyer tomorrow.

  00:18:11 EMERT

  Which one?

  00:18:13 SCHUCK
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                                                                          2B




  Sarah, about talking about what we could do in terms of a different custody order. I had already. This
  was already on my heart.

  00:18:21 SCHUCK

  Before you called.

  00:18:23 EMERT

  Alright. I mean, but again whenever you want give me just please.

  00:18:27 EMERT

  Don't make supervised visitation. I just I I don't. You know, it's just not good for the kids, and they're all
  probably going to press you. The court might even press you to say, look, I trust rob with the kids. And at
  this point, 11 trust that he's not going to do anything, you know, drastic at this point because I'm I'm not
  in jail.

  00:18:47 EMERT

  And that's******* horrible. You have no idea.

  00:18:54

  Right here.

  00:18:55 EMERT

  It's well, 90 days, 90 days. And you seriously. I thought I knew about it a little bit and it it's nothing. It's
  it's worse than you think. And.

  00:19:08 EMERT

  Yeah, it's, it's bad. It's bad, but I'll leave it at that, the.

  00:19:13 Speaker 2

  And but if I if Sarah could just Draw Something up that where you have, I mean, if you want to throw me
  a couple of bones and you know, you know, leave me in on, you know, being allowed to show up
  virtually to like, the IEPs, I'd appreciate that.

  00:19:32 EMERT

  I'll try to give you as much space as you want. So like maybe have something in there like where basically
  keep it open, but if there's an issue, you can have the final say and you on everything, that's fine.

  00:19:48 EMERT

  And again, I'm going to ask in return is that that, you know, you don't do supervised visitation so that I
  just think that would that would make things worse in a lot of respects where everybody would be
  resentful the kids would be resentful and it just would be it would get ugly. And it. I don't think it would
  help anybody, so I think.

  00:20:10 EMERT
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  You know this is, you know, we want the best. I'm going to try to work with bryce. You work with Skyler
  to try to help this out. I'll.

  00:20:16 EMERT

  Go to the reunification therapy.

  00:20:17 SCHUCK

  I, by the way, I have the trying with Skyler. I asked her to text you on Easter and she's like, I don't want
  to and.

  00:20:24 SCHUCK

  I'm like, OK.

  00:20:26 SCHUCK

  Like I think he would really, really love to hear from you. You were not allowed to talk to him, but you
  you can. So please.

  00:20:32 SCHUCK

  She's like, I don't. She's she's she's kind.

  00:20:34 SCHUCK

  Of upset with your.

  00:20:35 SCHUCK

  Mom too, because she hears.

  00:20:37 SCHUCK

  She bryce is so loud.

  00:20:39 EMERT

  Right.

  00:20:40 SCHUCK

  We hear everything he says

  00:20:43 EMERT

  You know, so just just let her. I mean, here's a saying. It's like, again, I'm so. I'm so bummed. I want her
  to know there's more to the story, but at this point, I'm just. I don't care about the story anymore. I just
  want to fix it. And I sort of say sorry, that's it. And, you know, I've made a lot of.

  00:20:58 SCHUCK

  But I'm probably the only way that she would probably move forward is by not judging the past.
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                                                                                                              30




  00:21:03 EMERT

  Right. I just I just want to to go so if you could have because I we I have the appeal.

  00:21:10 EMERT

  I have the appeal, the appellate brief. Uh, like this month I have a motion this month. I have a motion
  next month, I've got Criminal Court now and it's and you know. And then I have the it's. It's such a
  nightmare. And if I if I know that I have a deal with you.

  00:21:27 EMERT

  That I think the court will take it. That's what I'm thinking, you know, I mean, now they I I'm not sure
  how that works with the.

  00:21:37 SCHUCK

  And you know, well, I would be willing to testify at your sentencing.

  00:21:42 SCHUCK

  If that would help.

  00:21:46 SCHUCK

  On your behalf.

  00:21:47 EMERT

  Thank you. Yeah, I think it would help. I think it'd be part of the the biggest thing where because I was
  going to file a motion to withdraw my plea.

  00:21:57 EMERT

  And uh, there's a whole court process for that. Where, because I didn't, they didn't explain the
  ramifications on how bad this***** me up and and and so many other things.

  00:22:06 EMERT

  Like I think it even it even takes away my health insurance, like my my free, my, my medical. I think so.
  It's like it really. You know what I mean? And I have heart condition. So I mean it's like I'm just, I'm
  ****** across the board so bad and I don't know how I'm going to dig myself out of this hole. I really
  dont

  00:22:23 EMERT

  And but if the if this is, is is step in the right direction, so.

  00:22:29 SCHUCK

  Now I tried to tell your family that I wanted to help you and they just did. Things like Sister went bonkers
  and file the crazy restraining order on me.

  00:22:41 SCHUCK
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  Mark and cole, like every time I like extended an olive branch, I was smacked down.

  00:22:51 SCHUCK

  By these people, they believe what your narrative was about me, which you may or may not believe that
  I.

  00:22:57 SCHUCK

  I don't think it's true.

  00:22:59 EMERT

  Well, yeah. I mean, yeah, no, just you helping me now it's picking up the phone and not telling me to go
  *******when I'm basically it doesn't. I don't get any lower than this. So you are proving it because you
  could basically burn me right now and say haha, you know and hang up.

  00:23:14 EMERT

  So thank you.

  00:23:16 SCHUCK

  I wished I wishing you the whole time that's not who I am rob.

  00:23:19 EMERT

  No, I know, I know. That's what.

  00:23:21 EMERT

  I'm thank. Thank you.

  00:23:23 EMERT

  OK.

  00:23:25 EMERT

  Whatever you think is fair and you know, just have Sarah.

  00:23:29 EMERT

  Write it up and you know if if Bryce can live here most of the time.

  00:23:35 EMERT

  Like initially like for a while, I think that would be awesome because I think then he will appreciate you
  more when he's back with me and you know, sometimes you know when you, you know, he's missing
  me. So I think if he gets to hang out with me for a lot again. But then when he's with you, he'll
  appreciate you more.

  00:23:54 EMERT

  You know, that's what I'm hoping is that so? If you or maybe.
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  00:23:58 SCHUCK

  Well, I think that if you can.

  00:24:03 Speaker 1

  Literally undo some of the harm that you've done.

  00:24:07 SCHUCK

  Then bryce and I have a chance

  00:24:10 EMERT

  Well, here's the good news. 11 told Bryce. I always told him that I said bryce here, that whatever's going
  on to you and your mom is that I and again on my honor, is that I think she wants the best for you. And I
  think that when you get a bit older, you're gonna have a great relationship with her, I think because.

  00:24:28 EMERT

  You know, a lot of your things, or maybe she wants to treat you like a little kid. Or. And I just, I was just
  speculating and I said so maybe you get older. You know, you won't have these. The issues that you
  have right now. So again, I always prepped him that things were going to work out for you guys. I did. I
  always prepped him for that.

  00:24:47 SCHUCK

  He tells me every single day he hates me.

  00:24:52 SCHUCK

  Every day, he said. He is he's mean. He's mean to my parents, he's

  mean. 00:24:58 SCHUCK

  He's mean to.

  00:24:58 SCHUCK

  Everyone mainly his new friends, he is mean to his old friend.

  00:25:02 Speaker 2

  OK, well, let's help him because I'm. I'm I'm. I'm scared for him . I really am . So let's fix it. And so, so, so
  more than likely you'd let bryce live over here, but you have full cold custody and you have full legal that
  you'd, you know, say that just kind of let him live over here. But I of course got to make sure that he gets
  to school on time.

  00:25:22 SCHUCK

  Right. And and I do think it would be important for you to listen to what his IEP.

  00:25:31 SCHUCK

  Are in his goals and .
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                                                                          3!3




 00:25:34 SCHUCK

 You know, like the accommodation hes getting because.

 00:25:38 SCHUCK

  He's actually doing. He's doing OK, he's doing.

 00:25:40 SCHUCK

  OK, doing that.

 00:25:41 SCHUCK

  Straight like like marketing but he is doing OK and he's trying hard .

  00:25:48 SCHUCK

  I'm really proud of him for that

  00:25:51 EMERT

  Well, here's the thing. I'm happy too because of the the the plan.

  00:25:54 EMERT

  I had for.

  00:25:54 EMERT

  Him is that it was good and he's happy about it. But the fact that he's at your school, I know there's
  certain things that you can get done that's going to benefit him and I don't care how it gets done, but
  the fact is it benefits him and that's all I care about.

  00:26:09 SCHUCK

  Absolutely, he, he.

  00:26:13 SCHUCK

  You know he.

  00:26:16 SCHUCK

  School is hard for him and he's working, really.

  00:26:17 SCHUCK

  Hard and he's angry about it.

  00:26:19 SCHUCK

  Because he just wants.

  00:26:20 SCHUCK
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  To be home schooled and I.

  00:26:21 SCHUCK

  Think that if he came from here that you.

  00:26:23 SCHUCK

  Know I can't.

  00:26:23 SCHUCK

  Home school. You have to go to school. That would go a long way.

  00:26:28 EMERT

  Right.

  00:26:28 SCHUCK

  Because that's what he thinks is going to happen, that he's going to get back to.

  00:26:32 SCHUCK

  You and you're.

  00:26:33 SCHUCK

  Going to, I just think, Rob socially, if you watch bryce around kids his own age, he doesn't know how to
  be. You know, he's great, but cole, but cole is an adult cole acts like he's 25 year old CEO of the
  company.

  00:26:46 SCHUCK

  Right.

  00:26:48 SCHUCK

  Brady, all they talk all they.

  00:26:50 SCHUCK

  Talk is in Fortnite.

  00:26:52 SCHUCK

  Yeah. OK.

  00:26:55 SCHUCK

  Being sitting around kids his.

  00:26:56 SCHUCK

  Own age. He is very awkward.
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  00:26:59 SCHUCK

  Doesn't know how to be like.

  00:27:02 SCHUCK

  Hey, what's up? And he needs to be around kids whether he likes it or not.

  00:27:08 EMERT

  Yeah, it just breaks my heart for them though that I mean, because sometimes people never really fit in,
  sometimes in some areas at school and when they get older, you know, they just don't. So it's just, I
  don't know. I mean we.

  00:27:19 EMERT

  Just you know.

  00:27:19 EMERT

  Go with it, but it's.

  00:27:24 EMERT

  Go ahead.

  00:27:26 SCHUCK

  I I appreciate what you're saying, but.

  00:27:29 SCHUCK

  He's learned how to adapt around that.

  00:27:37 SCHUCK

  He actually has really nice, nice, dirty.

  00:27:43 SCHUCK

  Sweet kids, inviting place and all the time.

  00:27:48 EMERT

  Thank you.

  00:27:48 SCHUCK

  Went to the picture of yesterday. They're really nice kids.

  00:27 :53 EMERT

  Did you have a good time?

  00:27:58 EMERT
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  Does he have a good time?

  00:28:00 SCHUCK

  Oh yeah. He had a blast.

  00:28:02 EMERT

  Well, good. So if you yeah. So just if you could, what I'll do is with my motions, I'll

  just. 00:28:11 EMERT

  I don't know. I'll check.

  00:28:14 SCHUCK

  This will be quick, with Sara

  00:28:16 SCHUCK

  Whatever it is, I'll make sure so that you will have that before you have.

  00:28:20 SCHUCK

  To respond to any of the other things.

  00:28:22 Speaker 2

  And then I'll just, I'll just basically, I'll just, I'll just withdraw my appeal and then I'll withdraw the appeal
  and I'll withdraw. And my my other motions, I'll just uhm, I can. I'm pretty sure I could just take them
  off. Maybe what I'll do is I'll show up.

  00:28:39 EMERT

  And then we'll have the the stipulated agreement.

  00:28 :47 EMERT

  For everything regarding custody will be always saying that I want you to think about is. I don't have any
  money, so I don't know. I mean, how I could give you child support.

  00:28:58 SCHUCK

  I I don't. I'm not asking for child support. I never was. I only did that because I couldn't talk to my son.
  And I'm like, dude, you know, he he can't take him away from me with no contact.

  00:29 :06 EMERT

  OK.

  00:29:14 SCHUCK

  And you got to have some and.

  00:29:16 SCHUCK
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                                                                           39




  Theres rules I will.

  00:29:18 SCHUCK

  I can release the Child Support, I don't.

  00:29:20 SCHUCK

  Care about that?

  00:29:21 EMERT

  Thank you. I just yeah know if you could release that.

  00:29:24 SCHUCK

  I wish I had.

  00:29:25 SCHUCK

  Just talked to me. Talk to me like this.

  00:29:28 SCHUCK

  Six months ago.

  00:29:29 EMERT

  You know, I I I should have and.

  00:29:31 EMERT

  What happened but?

  00:29:32 EMERT

  If there's like it's it's, it's not.

  00:29:34 EMERT

  Been easy for.

  00 :29:35 EMERT

  Me it it really hasn't. I've I've. I've had a lot of challenges. I'll spare the details on it. But it's uh, you
  know?

  00:29:43 SCHUCK

  But you've also collected this group of lunnies.

  00:29:47 EMERT

  Yeah, yeah, there's a lot of.

  00:29:51 SCHUCK
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                                                                          38




 The earth is Flat and you know our, you know, first thing first thing you could do if you want any of this
 to happen, you know, and Michelle's working video down because kids have seen it and horrible for
 Bryce.

 00:30:05 EMERT

  Right.

  00:30:06 SCHUCK

 That that you could do that would be the first good faith.

  00:30:09 SCHUCK

  Thing you could show me?

  00:30:10 EMERT

  OK. No, 11, I haven't even. I haven't even watched it because it I

  yeah. 00:30:12 SCHUCK

  Let me.

  00:30:15 SCHUCK

  Well, you shouldn't and you should.

  00:30:17 SCHUCK

  Also know that.

  00:30:18 SCHUCK

  It you googled Bryce's name on YouTube?

  00:30:20 SCHUCK

  Guess what pops up that video.

  00:30:25 EMERT

  Alright, I'll get it. I'll.

  00:30:26 SCHUCK

  So he's at a new school, and I know kids know.

  00:30:27 EMERT

  Get it? You take it down.

  00:30:29 SCHUCK

  There's one kid.
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                                                                          39




  00:30:30 SCHUCK

  Said to me.

  00:30:31 SCHUCK

  Oh, I don't have any one of my. I don't have any social media. I only.

  00:30:33 SCHUCK

  Have YouTube that looked at me and I'm like.

  00:30:37 SCHUCK

  Not because I care what people think about me, but I care to think about you. So I kept trying to tell.

  00:30:46 SCHUCK

  Dawn and everyone, this isn't good for Rob either. Take it down. This isn't. Don't fight the cause and
  fight for yourself.

  00:30:56 EMERT

  So do you think that so you really think that you'll be OK with bryce living over here a bunch and and?
  And if then when you want him to be over there, if he's with you a lot, I can say Bryce, Just go with your
  mom, please, and I'll and I'll get him to go.

  00:31:07 SCHUCK

  Well, I think that will happen.

  00:31:09 SCHUCK

  Like I've always wanted, we'll have .

  00:31:10 SCHUCK

  Like a Sundays, he comes over.

  00:31:12 SCHUCK

  Hey, wouldn't it be great. If you came over for.

   00:31:14 SCHUCK

  Dinner on Sunday.

   00:31:16 SCHUCK

  What if we had family dinner on Sunday?

  00:31:20 SCHUCK

  And tuesday nights. Skylar would do something with you, and Bryce would do something with me. How
  would that be, Rob?
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  00:31:27 EMERT

  I'm. I'm just happy because I was basically on such thin ice today.

  00:31:32 EMERT

  That I'm just.

  00:31:35 EMERT

  Really, really happy that you're talking to.

  00:31:36 EMERT

  Me and and saying you'll do this for me.

  00:31 :39 EMERT

  And for the kids, thank you.

  00:31:43 EMERT

  I really appreciate it.

  00:31:43 SCHUCK

  Well, start with, start with that video.

  00:31:46 EMERT

  Yeah, that's fine. I'll, I'll call kristen and tell you take it.

  00:31:48 SCHUCK

  I want I like it down.

  00:31:50 SCHUCK

  And you know, she she's.

  00:31:52 SCHUCK

  Been coming after me hard, so I would.

  00:31:53 SCHUCK

  Like it, if you would.

  00:31:54 SCHUCK

  Just say stand down from her.

  00:31:56 EMERT

  You know what's sad is that she got her story so sad. I don't know if you know

  her. 00:32:00 EMERT
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  Full yeah.

  00:32:00 SCHUCK

  I know her story. I do know.

  00:32:01 SCHUCK

  Her school school, right.

  00:32:03 SCHUCK

  And it's not my story. And I never wanted, brcye. Although, you know, you know, bryce has.

  00:32:08 SCHUCK

  An eating disorder.

  00:32:10 EMERT

  Yeah, well, yeah, there's a there's a back story to that. I I'll tell you about it another time.

  00:32:15 SCHUCK

  No, I mean, I don't think.

  00:32:18 SCHUCK

  He's going to get weighed in today.

  00:32:20 SCHUCK

  He weighs 123 pounds

  00:32:25 EMERT

  What's he supposed to weigh?

  00:32:27 SCHUCK

  He's literally weight under 135 and additional to that he lost £60 in four months from the time he got
  that foot injury.

  00:32:39 SCHUCK

  To when I got him, took him to the doctor on January 6, he lost like 40.

  00:32:45 SCHUCK

  Unhealthy to leave that?

  00:32:46 EMERT

  Between what time frame?

  00:32:48 SCHUCK
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  Remember when you took him for his toe infection?

  00:32:51 SCHUCK

  To the time I took them on January 6th because they have.

  00:32:55 EMERT

  Those records right where it happened was again just so he. So he he was being teased for his weight by
  a lot of people for a long time and he was really upset by it. And so I took him to 24 hour fitness and I
  got him a couple of private lessons with a.

  00:33:11 EMERT

  A nutritionist.

  00:33:13 EMERT

  And support people that would show a new team . So we actually went to 24 hour fitness like every day
  for a long time and he's working out.

  00:33:21 SCHUCK

  Yeah, I know.

  00:33:21 SCHUCK

  I know that he's pissed off because he can't because his membership is with you. You go with him, he
  goes to go. So.

  00:33:22 EMERT

  OK.

  00:33:29 EMERT

  Uh, left and changed that, and then he was drinking water. I was really proud of him. And what
  happened was I think he got, he saw the results and he was so surprised that he got a little carried away,
  possibly with it and.

  00:33:42 SCHUCK

  Listen, he's more than carried away. He's he's more. He just please. If you hear one thing that I've said
  today.

  00:33:44 EMERT

  OK.

  00:33:50 SCHUCK

  He's more than carried away.

  00:33:51 SCHUCK
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                                                                          as



  He has problems. Yeah. OK.

  00:33:53 EMERT

  OK. Well, we can we'll fix it.

  00:33:56 EMERT

  We'll fix it. We'll fix it. No, no, I.

  00:33:57 EMERT

  Know, I know it's too.

  00:33:57 SCHUCK

  Well, he was.

  00:33:59 SCHUCK

  He was one pound away from going into and in care.

  00:34:04 SCHUCK

  Rudy's hospital program about a month ago for this?

  00:34:08 EMERT

  Please put him in there.

  00:34:09 SCHUCK

  I'm not gonna. I'm not. I'm not. I'm not.

  00:34:12     SCHUCK

  Going I don't want.

  00:34:13 SCHUCK

  To put him in there but the kid needs to eat. And then he is cold and he wants to buy every calorie,
  every day. Ask your parents. Ask. Dawn all he talks about his food. What did I eat today? How many
  calories was it? He goes getting a burger. He looks up the calorie.

  00:34:28 SCHUCK

  He's obsessed, I said. I bought him some, some, like teen.

  00:34:33 SCHUCK

  Boy. Vitamins. Oh, I can't.

  00:34:35 SCHUCK

  Eat those that has 30 calories.
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  00:34:38 SCHUCK

  Like, are you kidding? I have the.

  00:34:40 EMERT

  Oh well, OK.

  00:34:42 SCHUCK

  Green, green vibrance. You can't take

  that. 00:34:44 SCHUCK

  Has calories like. Are you kidding?

  00:34:45 EMERT

  OK, we'll, we'll, we'll.

  00:34:46 EMERT

  We'll work together and fix it, I promise.

  00:34:50 EMERT

  How? Like just again. I know you're not setting anything in stone, but like, what kind of time frame? Like
  would? How much would you let him be? Like over here during the week? Usually, like living and
  spending the night.

  00:35:01 SCHUCK

  Well, I don't know.

  00:35:02 SCHUCK

  I'm I'm driving and I've been driving since pretty much we're talking and I'm I want him to be with you as
  much as he can be and maintain a relationship with him.

  00:35:07 EMERT

  Alright, thank you.

  00:35:10 SCHUCK

  As much as can.

  00:35:11 SCHUCK

  Can be and maintain a relationship with him. So and I want the same for Skyler to be with me.

  00:35:18 SCHUCK

  To say so.

  00:35:18 EMERT
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  OK.

  00:35:22 SCHUCK

  And I.

  00:35:23 SCHUCK

  Want you to.

  00:35:23 SCHUCK

  Have a relationship with Skyler. I think it's so .

  00:35:25 SCHUCK

  Important you know.

  00:35:26 SCHUCK

  She had a lead role in her play.

  00:35:28 EMERT

  What you have, what you get?

  00:35:30 SCHUCK

  She was a miss Miss Honey and Matilda.

  00:35:34 SCHUCK

  And I it was so awesome. I'll send you some videos.

  00:35:37 EMERT

  You know how crushing it because you know you mean this is what I told you a long time ago . Nobody's
  ever done and know certain things about our marriage or how I was with the kids. And the kids are going
  to forget about a lot of stuff when they're little. You know how much I love those kids.

  00:35:51 SCHUCK

  Saying back at you.

  00:35:52 EMERT

  Yeah, I know and, but it's just like, so, you know, and other people, it's like a lot of people like, well, who,
  who cares, just the kids to turn 18 and they'll come around to you and whatever and I'm thinking.

  00:36:03 EMERT

  That's that's not even an option. I think about. You kiddin g? I would. I would. I would go insane. By the
  time they were 18, if I basically I feel like such a loser. If I was like not a part of their lives, you know
  what I mean?
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  00:36:13 SCHUCK

  And I don't. I never wanted that. That's the thing. Like I now wanted that. But it wasn't. You have to
  remember that right now you're broken. So you're, like, open to talking to me. But you weren't before.

  00:36:27 SCHUCK

  You weren't before you were. It's my right. This is what's going to happen. You're going to do it my way.
  And I was like, how about we, you know, stick to the rules and just do it the fair way is what I always
  wanted. Just stick to the rules and do it the fair way.

  00:36:43 EMERT

  Thank you. I mean, I there's the time.

  00:36:44 EMERT

  When I said.

  00:36:45 EMERT

  That to you too though. But I mean, I I really did, you know, early on when I.

  00:36:49 SCHUCK

  Now you always you always.

  00:36:50 SCHUCK

  Said let him go back and forth.

  00:36:52 SCHUCK

  As they please

  00:36:55 SCHUCK

  I think that that was going to come as they got to be teenagers, but at that time when they were
  younger, I didn't believe that and I still kind of think that for my sake, I'd like to know, oh, this is my
  weekend with bryce so I can plan some things so.

  00:37:09 SCHUCK

  I can you.

  00:37:10 SCHUCK

  Know have the food he wants in my house. I like I like.

  00:37:17 SCHUCK

  You have bryce believing that that's just stupid.

  00:37:21 EMERT
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  Well, anything you don't like, just let me know and I'll work on it.

  00:37:26 EMERT

  OK, I will because again I you know, I just uh, at this point I've I've,

  UM. 00:37:32 EMERT

  You know, I'm just happy that you're talking to me. I'm happy that I that bryce can live over here and
  then I know you're going to retain

  00:37:41 EMERT

  For legal full final say on everything, that's fine.

  00:37:46 SCHUCK

  And he wants to get his drivers permit. He couldn't sleep last night, so he texted me at 3:00 in the
  morning and said, can you take me to get my drivers permit? I want to make sure he's ready for it.

  00:37:57 EMERT

  Yeah, yeah, we'll work. We'll work on that together. And then and then if you just like when it comes

  to. 00:38:06 EMERT

  The kids, if I, if I could, 11 wouldn't. I will take an active role in Skylar at school because I might**** her
  off right now, so I'll just back off on everything. Skyler, until we repair whatever is going on there.

  00:38:20 SCHUCK

  Well, and that's what you got. You gonna need that for unification therapy as well.

  00:38:24 SCHUCK

  You do you need. She needed you needed.

  00:38:31 SCHUCK

  And I will always support it. I will fully support you in skylars life.

  00:38:37 SCHUCK

  I always have, but I will fully support you in skylars life.

  00:38:42 SCHUCK

  She needs her dad, they both need their dad.

  00:38:48 SCHUCK

  And I believe they I believe in shared parenting. I believe in equal parenting.

  00:38:52 SCHUCK I

  do. I always have.
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                                                                          48




  00:38:57 EMERT

  No, 11 again, andrea, you actually saved me more in more ways than you know right now. So thank you.

  00:39:05 EMERT

  I was like.

  00:39:07 EMERT

  I didn't know I was going to, like, move forward. 11 was, like, paralyzed looking at. And I'm usually good
  with this kind of stuff. And I and I, I just looked at the mountain of legal crap flying at me. And I'm just
  like, what a waste. What a waste of a life. And I'm thinking, I just don't want to do this anymore. And I
  just hope I said 11 just was hoping I call you and you'd be like, give me a way out.

  00:39:28 EMERT Of

  it. So thank you.

  00:39:32 SCHUCK

  I'm sorry that you're.

  00:39:33 SCHUCK

  Hurting so bad and.

  00:39:36 SCHUCK

  I'm sorry bryce is hurting so bad . Skyler and me. And I'm sorry for my part in this job, I don't think.

  00:39:41 SCHUCK

  That you're blameless.

  00:39:43 EMERT

  Thank you.

  00:39:44 SCHUCK

  I mean that you're like, I think I have had a.

  00:39:46 SCHUCK

  Part in it too.

  00:39:47 SCHUCK

  Too, but.

  00:39 :50 SCHUCK

  I tried so hard, tried so hard .

  00:39 :54 SCHUCK
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                                                                          4!J




  He gave you things I gave you like, hey, how about this? And you say you did too, but they were like, no,
  they're your way.

  00:40:01 SCHUCK

  I know, I know what you're thinking to think. I know down the size as well, but I know it's thinking I
  offered you this. I offered you this.

  00:40:09 EMERT

  No, I know, I know, I know. I know. I made a lot of mistakes and I and I, I'm sorry for.

  00:40:14 SCHUCK

  I made a lot of mistakes.

  00:40:15 SCHUCK

  Too. And 11 hear that in your voice.

  00:40:19 EMERT

  But thank you.

  00:40:20 schuck

  You wouldn't be bad if we could end up being at our kids graduations and sitting by each other and
  being joyful and happy and being at their wedding together. And wouldn't that be great?

  00:40:32 emert

  It would be great. That's what I want.

  00:40:36 emert

  Thank you.

  00:40:38 emert

  Because at this point you could say no and hassle me with restraining orders and protective orders, and
  I'd be** ****. So thank you.

  00:40:46 schuck

  Well, I mean, I could call the DA.

  00:40:47 schuck

  Right now and say he broke the protective order but.

  00:40:50 schuck

  I'm not going to do that.

  00:40:54 emert
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  They, they, they, they took it off and they said.

  00:40:56 emert

  I could call you.

  00:40:57 schuck

  OK, good.

  00:41:00 schuck

  Only about court matters though, right?

  00:41:02 emert

  Yeah, they said. I call for family. They said I call because I I got a I I texted my lawyer and he said, yeah, I
  know you. You can telephone it.

  00:41: 10 emert

  With with Andrea.

  00:41:16 emert

  And I, yeah . So he said. He said you need to call her first. And I said no, I just, I'm going to call her and.

  00:41:21 emert

  And ask her for a way out because I need a way out and he's like alright and so.

  00:41:28 {emert}

  But no, thank you for not throwing me under the bus. The and the. The sooner the better. In on, on.
  Whatever Sarah Bear can draw up and then you know.

  00:41:41 {emert}

  I didn't. I don't know how that works with Criminal Court. If you're able to call the DA and just say hey,
  look, Rob and I have an agreement.

  00:41:51 {emert}

  Can you remove the

  00:41:53 emert

  Protective order.

  00:41:57 emert

  There we worked some things out. I mean, I think I don't know if you have to do that or how that works.

  00:42:03 schuck

  Yeah, she's got. She's out of town.
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  00:42:06 schuck

  For a while so.

  00:42:07 schuck

  Like a week or something so.

  00:42:09 schuck

  I will look you back. I'll talk to her.

  00:42:13 emert

  OK. Thank you.

  00:42:15 SCHUCK

  I emailed there and it bounced back.

  00:42:21 SCHUCK

  Back I was. I don't remember why I emailed her, but I had emailed Sarah saying hey, now that this
  criminal trial is over what can we do in terms of getting rob with bryce. I can Send you the e-mail and
  you'll be like, Oh my God.

  00:42:39 EMERT

  OK. Yeah. No, just whatever. Whatever sara can draw up And then when we go to court, we could
  basically just present it. Here's here's what we agreed to and that's.

  00:42:47 EMERT

  Probably say fine.

  00:42:49 Speaker

  Get out of here. You know, that's what I what I'm hoping for.

  00:42:52 EMERT

  That's the only thing that would hold it up is I think, the protective order that's still in.

  00:42:57 SCHUCK

  Now I can find out about that too.

  00:42:59 EMERT

  Yeah, but.

  00:43:00 SCHUCK

  Alright, we'll go to rest and.

  00:43:07 SCHUCK
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                                                                                                              1111




  You know, like I said, at the very first 3 minutes, we were on the phone. I love you, Rob, and I don't. I
  don't want bad things for you. I never did.

  00:43:13 EMERT

  Thank you. I agree. I love you. I really appreciate it.

  00:43:20 EMERT

  Thank you. I don't know. I don't know how going to dig myself out of this mess, but this.

  00:43:21 SCHUCK

  I've been.

  00:43 :24 EMERT

  Is you're you're you're throwing me a lifeline. So you have no idea what this does for me today? It's it's.
  It's so much better.

  00:43:31 EMERT

  You have no idea.

  00:43:33 SCHUCK

  Well, if you could just call off the dogs

  00:43:35 SCHUCK

  That would be great.

  00:43:36 EMERT

  No, they're, they're. Don't worry about that anymore on, you know.

  00:43:41 EMERT

  I'll think we'll we'll fix this and.

  00:43:45 EMERT

  If if you at your discretion, of course, just maybe tell the kids that you and I have. Have you know, maybe
  we'll working something out and maybe in the in the next couple of weeks we should have a much
  better plan. Maybe that'll make maybe that will calm bryce down a little bit, let him know that he's, you
  know, to kind of come back and forth a little bit as you know.

  00:44:04 EMERT

  As he wants to.

  00:44:05 EMERT

  UM.
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                                                                                                              6!3




  00:44:07 EMERT

  Within within reason you know, within parental discernment or whatever that you know, you can't just
  say Mom's brocoii I'm gonna go to dad's house. You.

  00:44:14 EMERT

  Know. Of course I'm not going to support that.

  00:44:17 SCHUCK

  The kid eats broccoli every day so.

  00:44:21 EMERT

  Yeah. No, it's funny. 11 try to get him to start eating cauliflower and broccoli a while back. And it's funny
  because, you know, it doesn't smell good. But I said that's the best thing. When he got done is when he
  got in his fitness kit.

  00:44:34 EMERT

  It's pretty it's pretty impressive. I mean, he really I think what it was was he saw the results and he was
  like he realized that how?

  00:44:42 SCHUCK

  And you know.

  00:44:43 SCHUCK

  He has the the.

  00:44:43 SCHUCK

  OCD sort of like this is prohibit.

  00:44:47 SCHUCK

  Like an OCD bit like. He's diligent. You know, he really don't.

  00:44:50 EMERT

  Right. And so and you drink so much water, it says so often.

  00:44:54 SCHUCK

  You know, he's actually drinking. The doctor thinks he's drinking too much water.

  00:44:58 EMERT

  Oh well.

  00:44:59 SCHUCK
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  Yeah, she said. He's pulled back like he's, like deleting any kind of minerals and nutrition he's getting
  from his food, out from his pee pees like in an hour, maybe four or five times.

  00:45:12 EMERT

  Right.

  00:45:13 SCHUCK

  So he he needs to. And unfortunately I can't get him off the monster and I need to do. I need to do that.
  That's so bad. But I was.

  00:45:22 SCHUCK

  Just looking at the ingredients for it so bad.

  00:45:25 EMERT

  Yeah. No, it's bad. It's.

  00:45:28 EMERT

  Hey, I'm gonna. I'm gonna let you go so it's so again just thinks that you have no idea. Thank you. If I ca ll
  you ever. And you don't want to talk to me, just say say text me and I'll make sure I text you .

  00:45:42 SCHUCK

  OK.

  00:45:43 EMERT

  I promise I'm not going to be a******** at all because I was promised some of the shift head at all
  because again, 11 just. You're giving me a way out. I'm not going to look a gift horse in the mouth. I know
  you look at that for the kids and me. So thank you. I'll leave it at that.

  00:45:59 SCHUCK

  OK,OK.

  00:46:00 EMERT

  But you think bryce will be able to stay over here for like most of the week like?

  00:46:03 EMERT

  Once we get.

  00:46:03 EMERT

  Things turned around.

  SCHUCK

  Yah,yah
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 00:46:09 EMERT

 And then I'm thinking, you know, I think initially that'd be awesome just because.

 00:46:14 EMERT

 He's he's so missing it. But maybe when he realizes that, you know, because when you grow up, I think
 maybe when he starts to grow up even a little bit more, he'll realize that that was pretty awesome
 there, but.

 00:46:25 EMERT

 There's something else now that you might want to do where he starts to realize that it's not the end all
 be all, and he'll want to go back to your house and that's what I'm trying to get him to realize is that find
 the best at my house, find the best at your house, find the best at your parents house, find the best of
 you know, I mean of everything and and take the best.

 00:46:43      EMERT

 And leave the rest.

 00:46:45 EMERT

 You know of wherever he's at. So 11 really.

  00:46:52 SCHUCK

  Are you getting any therapy?

  00:46:54 EMERT

  I was and UM, 11 stopped it because my my insurance benefits were cut.

  00:47:03 EMERT

  And so I I didn't have I.

  00:47:05 EMERT

  Didn't have the benefits anymore.

  00:47:07 SCHUCK

  Well, I'd be willing to help pay.

  00:47:10 SCHUCK

  For it, if you want to go.

  00:47:12 EMERT

  Yeah, I I'm really scared. If they if they cut off benefits, if they don't, you know they they told me that my
  my part of the deal is that.

  00:47:21 EMERT
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  He said that he would go from a felony to a misdemeanor as long as I didn't do anything stupid. I'm like,
  well, that's fine. I won't do anything stupid. So I think when it goes to a misdemeanor, that's fine, and
  then it's all looked at that. But it's a felony. I mean, it's just really***** up so much in my life. I was like,
  I can't do that.

  00:47:41 EMERT

  And so they didn't explain that to me. So 11 was going to fight it and and have it, you know, try to, you
  know, go through the proper channels.

  00:47:48 EMERT To

   have it removed.

   00:47:50 EMERT

  But it's just so much work and effort I'm thinking I could put it. I could put that into something better.
  And so that's again why I want to call you . Like, I just, I don't want.

  00:47:58 EMERT

  To do that anymore, it's just such a waste.

  00:48:01 EMERT

  You know, so I'll just take the felony and then it'll go to a misdemeanor as long as you know.

  00:48:11 EMERT

  I don't**** you off or.

  00:48:13 EMERT

  You know, brake, pull or whatever.

  00:48:15 SCHUCK

  It's not a matter of.

  00:48:17 EMERT

  No, I know. I was being funny, but yeah . No, as long as I don't, you know, ****** parole or any
  violations or anything like that, it goes to a misdemeanor, which is fine, but I really.

  00:48:30 EMERT

  Thank you . You have no idea I can actually breathe today, and I was actually in a really dark place and I
  wasn't going to call you . So the fact that you picked up, you have no idea. Thank you.

  00:48:43 SCHUCK

  I actually.

  00:48:46 SCHUCK
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                                                                          Ill!




  I was talking to bryce when you called .

  00:48:47 EMERT

  Oh well.

  00:48:50 EMERT

  But, but maybe if he's having a hard time, maybe just tell him. But you and I.

  00:48:55 EMERT

  Working it out and that as long as he's good, you know, use it as a, you know, as a carrot serious. There's
  always a good. I'll let you start living with your dad again and you'll be able to kind of come back and
  forth. And I think that'll maybe I think when he starts I think when he has a little bit of freedom there I

  think he's going to circle back to you. I always told you that I really believe.

  00:49:14 SCHUCK

  Yeah, it's it's not. It doesn't.

  00:49:15 EMERT

  He's going to circle back.

  00:49:17 SCHUCK

  Do something. I want you to change the language. Well, he does have freedom.

  00:49:21 SCHUCK

  He has freedom here. He. I hear Michelle freaking. Whatever. He's locked in his room. He's not locked in
  his room . He and I watched Cobra Kai seasons one through 6 and then all of a sudden your mom started
  talking to him. And.

  00:49:35 SCHUCK

  He seemed to me to him all the time.

  00:49:36 EMERT

  Dude, Johnny. Johnny. The ones. How******* funny is that? There's no plenty of mine. Give me.

  00:49:41 EMERT

  Like 80.

  00:49:44 SCHUCK

  But what I want to say.

  00:49:45 SCHUCK

  Is that it was like it was OK and we were we were spending time together and then he started talking to
  mom and she started getting all this stuff and.
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                                                                          50




  00:49:54 SCHUCK

  Get him all growed up and then he locked me. He I never. He's never locking the door. He's not locked in
  his room.

  00:50:00 EMERT

  Well, here's the good news that's going to stop. So just don't worry about it. It's going to stop and and I'll
  get the the video down. And again, just if you can have sara write something up so that because I'm just
  I'm I'm done with all this crap. I'm going to put everything in a file and put it on the cloud and forget
  about it as best I can.

  00:50:19 EMERT

  And and put it in the past where it belongs. I'm never. I'm never going to look back. I just can't look back
  in this garbage anymore . It's so ugly. It's such a waste of time and resources. I just. I feel. I feel ugly.

  00:50:35 EMERT

  I just. 11 yeah, I just, 11 don't. I don't want to waste anymore time on it. So whatever you can do to to
  maybe get the DA or whatever maybe e-mail them and say hey we've come doing agreement if we could
  remove that protective order. 11 trust rob I'll show up at his his hearing to to for whatever and and then
  you know give Sarah whatever.

  00:50:55 EMERT

  So that when we go.

  00:50:57 EMERT

  To the hearing on, I think it's this month or something, but maybe she could just.

  00:51:02 SCHUCK

  Yeah, I was going to.

  00:51:03 SCHUCK

  Ask you when is it.

  00:51:05 EMERT

  It's have to actually look. I think it's like the between the 17th and the 20th, but I also have the.

  00:51:11 EM ERT

  Appeal one too, but if we come to an agreement, that kind of overrides all that crap to say, have a, you
  know, say here's the agreement and that override basically.

  00:51:24 EMERT

  You know.

  00:51:25 EMERT
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  Basically the the I know we're already divorced, but here this overrides any anything else. And here's our
  here's our here's our stipulated agreement for everything. And then sara could just basically put it in
  there. But then I think a lot of it, as long as we're keeping open communications, some of that could
  maybe be bent here and there where even if you said bryce can live over here.

  00:51:47 EMERT

  For a couple days and you want them home? Of course. I'm going to say Bryce. Your mom was really
  cool about this. You need to go and respect your wishes and go do blah, blah, blah. I promise I'll do that
  for you.

  00:51:58 EMERT

  OK.

  00:52:01 EMERT

  You have no idea how much I can. I can go in. My heart's breaking too, because.

  00:52:07 EMERT

  Bryce and I. You know, there's a lot of things we used to do, and everywhere I go, it's like it's like
  because we, I mean, you know, with the home schooling and the exercising, you know, my heart's been
  torn out and it's like.

  00:52:21 EMERT

  It's been hard. It's really hard and I just, you know, it's been tough.

  00:52:31 EMERT

  But now thank you again. I really, I really appreciate it. So I'm going to.

  00:52:34 EMERT

  Let you go and you promise This is what we're.

  00:52:39 EMERT

  Going to do this.

  00:52:42 SCHUCK

  I promise we're going to do something that is fair.

  00:52:45 EMERT

  Thank you.

  00:52:48 EMERT

  Thank you. And no supervised visitation please.

  00:52:51 SCHUCK
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  call off the dogs, take the video down.

  00:52:55 EMERT

  Of course I will. Of course. Yeah. I just don't. I just want to do that to the kids.

  00:53:03 EMERT

  You know, I'll call that off and 111 yeah, I just don't want to. I just don't have to do that. It's I think it's I
  think it'll create resentment in both of them and I just that's my main concern and if I was a kid and I had
  to sit there with a you know I mean 11 just that's why I wanted to Skyler I could see her going back I got
  to go here with my dad and sit with a stranger. You know what I mean.

  00:53:24 EMERT

  I could see her just being resentful as as hell about.

  00:53:26 EMERT

  It and like.

  00:53:27 SCHUCK

  Well, and her thing will right now.

  00:53:30 SCHUCK

  She will

  00:53:32 SCHUCK

  Just stay with me 100% physical and legal until she's ready and she'll.

  00:53:38 SCHUCK

  She will be ready, then direction talk and I think we should try to to do something like a family dinner or
  a something You know something to help.

  00:53:51 EMERT

  Like the four of us, like, do little things in there.

  00:53:54 SCHUCK

  I don't want to go to Florida, so please don't

  ask. 00:53:57 EMERT

  Just that that would have fixed a lot then.

  00:53:58 EMERT

  I I don't feel it.

  00:54:01 SCHUCK
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  No, no, no, no, no, no, dude, I couldn't even like, look at you. I'm not OK. I'm not note. Let's just leave it.
  Leave them laughing.

  00:54:02 EMERT

 That's the lottery.

  00:54:10 SCHUCK

  OK, I'm gonna go.

  00:54:11 EMERT

  OK.

  00:54:13 EMERT

  OK, thanks again. Bye.
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 B.  04/13/23 TRANSCRIBED CALL BETWEEN ROB EMERT AND ANDREA
 SCHUCK
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                                                                           3
  This transcript covers ad   ssion between Rob Emert and Andrea Sl      .k on 04/13/23 about custod~
  of their son Bryce Emert. The below are exact quotes from the transcript. Full transcript and link to
  full audio below.

  00:11:30 {emert}I thought we were going to come to an agreement. If you're saying no now, it means I
  have to go back and go and basically start going, you know, going.

  00:11:44 {schuck}
  I'm not saying no, Rob, I'm saying.



  00:04:59 - Schuck: "I agreed that I would all I said in the agree.ment was I would, I would entertair,_gping
  ~

  Context: Schuck confirms a previous agreement existed to consider sending Bryce back to Emert.



  01:16:27 - Emert: "I took the deal based on what you said."

  Context: Emert confirms custody arrangement discussed as part of deal.



  Key Quotes Suggesting Reneging on Agreement:



  00:09:02 - Schuck: "No, I'm not not saying no. I'm just saying it's going to take a bit of time. It's going to
  take and you know... "

  Context: Schuck now says it will "take a bit of time" for Bryce to go back.



  00:37:04 - Schuck: "You know what? I'm not going to put Bryce first. I'm not doing that. I'm going to put
  Skyler first."

  Context: Schuck says she will put her daughter first, not Bryce.



  00:53:51- Schuck: "We should try to do something like a family dinner to help."

  Context: Schuck suggests family therapy and dinner



  00:09:02 - Emert: "You're not backing out of the deal, are you?"

  Context: Emert questions if Schuck is reneging on a previous custody deal.



  00:38:46 - Emert: "That's fantastic. Perfect."

  Context: Emert refers positively to the custody arrangement outlined by Schuck.
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  00:18:08 - Schuck: "I have a meeting with my lawyer tomorrow about talking about what we could do in
  terms of a different custody order."

  Context: Schuck refers to discussing a different custody order with her lawyer.



  00:41:02 - Schuck: "Have her lawyer Sarah draft a new stipulation to allow Bryce to live with me most of
  the time."

  Context: Schuck suggests having her lawyer draft an agreement for Bryce to live with Emert.




  Key Exchange on Detention Threat



  (00:34:16) - Schuck: "OK, what I'm saying is right now, you, you can't. You won't. They won't let you go.
  You can't. You can't have them anyway. So if he runs away from me, that's what his options are."

  Context: Schuck threatens Bryce with juvenile detention if he tries to run away.

  (00:34:54) - Emert: "He's got lots of, he's got lots of family and friends that love him, that would never
  turn him into a place like that."

  Context: Emert says Bryce has family/friends to go to, not juvenile detention.

  Emert's Response:

  {00:35:27) - Emert: "Hello. Skyler had. If Skyler had a choice to be the juvie or with you, I would put it
  with you."

  Context: Emert implies he would not threaten detention for his daughter.

  (00:36:02) - Emert: "Well, there's there's something really weird there with that whole thing, and that's
  not. If you go there."

  Context: Emert pushes back on the detention threats.

  Conclusion:



  The key quotes and exchanges suggest there was likely a previous custody agreement regarding Bryce
  as part of a plea deal that Andrea Schuck now appears to be reconsidering or delaying based on this
  conversation.
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  Audio file
  Andrea 2 (+1 760-214-8677) .71 (phone) 2023-04-13 17-39-14 1.mp3

  SPEAKER 1 ROB EMERT

  SPEAKER 2 ANDREA SCHUCK


  Tra nscript
  00:00:07 EMERT

  Alright, so thanks for calling back so quick.

  00:00:12 EMERT

  Do you have a second? OK, cool. Alright, so I talked to Jose and I talked to Sarah. Well, e-mail Sarah and I
  got the the appellate thing. Just 30 days on hold. I'm pretty sure that the hearing this month can be put
  on hold.

  00:00:32 EMERT

  For a month.

  00:00:33 EMERT

  And my main goal is to have it all go away because I really don't want to do it anymore. I need to work, I
  need money and and look at it. I just, you know, both kids are hurt and bad and we both messed up bad
  and I know my part in it so.

  00:00:51 EMERT

  Whatever I can do to fix it.

  00:00:54 EMERT

  That's what I you know, that's that's what I.

  00:00:56 EMERT

  Want to do?

  00:00:58 EMERT

  I'm really worried.

  00:00:59 EMERT

  About Bryce, I know you are too.

  00:01:01 EMERT

  UM.

  00:01:03 EMERT
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                                                                                                             66




  So he's upset that I think that we're, you know, that he's being run over in this whole thing.

  00:01:11 EMERT

  And so I don't know.

  00:01:14 EMERT

  Let you know where we can do that to have him know that we're trying to work together for his best
  interests because like, when I hear him from, well, from what I hear somebody saying to my mom and
  what he's saying, Nicole and stuff, it's really just alarming. So I don't know how we can work together to
  fix that because.

  00:01:34 EMERT

  And I'm telling everybody to back off like you said, and I'm going to do the.

  00:01:37 EMERT

  Best I can I'm.

  00:01:40 EMERT

  And I'm going to, you know, I'm going to do the best I can to make all this other stuff go away, but is·
  there? I don't know, like.

  00:01:49 EMERT

  I just don't know.

  00:01:51 SCHUCK

  I hear what you're saying and proceeded.

  00:01:54 SCHUCK

  I wish that.

  00:01:56 SCHUCK

  Your mom and Cole and everyone could have like.

  00:01 :59 SCHUCK

  Supported him in all.

  00:02:00 SCHUCK

  Of this the the things that they both have done.

  00:02:05 SCHUCK

  And I know you don't.

  00:02:06 SCHUCK
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  Want to hear this is for the banking person.

  00:02:10 EMERT

  OK, well, I know you think that, but let's just, let's not go to what can we do to fix it. And I think of Bryce,
  like you said, you know, if I think if Bryce will get to a point where it's you and me and we're saying here
  we're going to do.

  00:02:25 EMERT

  To help you is that but for many from I mean what I gather like I could be wrong. So if it's wrong you say
  well it's wrong. Then make it fantastic. I'd love to be wrong in this case, but it sounds like he's saying, is
  that like in the agreement that he he thinks that I'm going to basically sign something that says.

  00:02:4S EMERT

  Like I was mother. I mean, I was completely wrong.

  00:02:50 EMERT

  In that I was never should have taken him.

  00:02:54 EMERT

  And I'm I'm completely something like I'm completely wrong.

  00:02:58 EMERT

  And the the courts not corrupt or something like that. And it just sounded kind of ridiculous to what I
  heard. It's I'm thinking I'm sure.

  00:03:06 SCHUCK

  Well, I don't know who told.

  00:03:07 SCHUCK

  You that, but I.

  00:03:08 EMERT

  Well, it sounds ridiculous, you know.

  00:03:10 SCHUCK

  I do think that he's never going to. Ever.

  00:03:14 SCHUCK

  Move past things with me.

  00:03:16 SCHUCK

  If he has that narrative going.
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  00:03:18 EMERT

  OK, so here's here's the thing, I want to get rid of all of that******** now, because I wanted to be a kid
  and we both.

  00:03:24 EMERT

  Like that? So would I if when somebody when that was basically mentioned I said that's so immature, I
  don't even want to go there because I.

  00:03:32 SCHUCK

  Don't know who mentioned.

  00:03:34 SCHUCK

  It, but I don't completely disagree with it. OK well.

  00:03:40 EMERT

  But you're not going to put that kind of stuff in the agreement, right? I mean.

  00:03 :43 SCHUCK

  Are you? No, we have.

  00:03:47 SCHUCK

  A little ways to go before we can do an agreement.

  00:03:51 EMERT

  OK. Yeah.

  00:03:52 SCHUCK

  It's it's a little bit more.

  00:03:57 SCHUCK

  Complicated than I thought it was going to be.

  00:04:00 SCHUCK

  So there had to be like a series of things that happened, you know, but I want.

  00:04:10 EMERT

  What are you talking like weeks or months?

  00:04:14 SCHUCK

  I don't know. I mean that that's that going into this the April 20th think and then I mean you have to 11
  don't even know what your legal part of it is is that if you need that it sounds like.

  00:04:28 SCHUCK
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  What did your?

  00:04:28 SCHUCK

  Lawyer say.

  00:04:30 EMERT

  My the my criminal age has basically said, look, if you guys come to an agreement, then you can, you
  know, stick that in into the.

  00:04:39 EMERT

  You know, a headlock with the DA to say? Look, they've reached this agreement because that's how the
  deal was sold to me and the Criminal Court. They said, look, if you can work out a deal, then you are
  basically work with that deal here in Criminal Court. And then you guys can agree to it in in from the
  court. And that's the only reason.

  00:04:54 SCHUCK

  So what what I need to do is have put the DA in touch with my attorney because.

  00:04:59 SCHUCK

  I agreed that I would all I said in the agreement was I would, I would entertain going back. 11 and I've
  always maintained it kind of hear me.

  00:05:11 SCHUCK

  But I do. I do want to share the.

  00:05:13 SCHUCK

  Kids with you and I, I do and.

  00:05:20 SCHUCK

  It's just like, you know, like after we got off the phone, I would like I cried for a really good, long time.
  I'm sure you did too.

  00:05:28 SCHUCK

  No, not that clearly, just just listen.

  00:05:31 EMERT

  OK.

  00:05:32 SCHUCK

  But you have to remember that in your you said in the beginning of this conversation I'm taking
  responsibility. But then you you did this thing where you like, but you did too.

  00:05:43 SCHUCK
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  I didn't break a cord .

  00:05:44 EMERT

  Did did I do that? Because. OK, I'm sorry if I did that. I don't. I don't. I'm sorry.

  00:05:50 EMERT

  Just accept my apology.

  00:05:51 SCHUCK

  Both The thing is is like you haven't given me credit. You're this whole process.

  00:05:59 SCHUCK

  You haven't given me.

  00:05:59 SCHUCK

  Any credit said going up.

  00:06:00 EMERT

  You know, I I do because a lot of people are angry with me and they'll say I'm giving up and I'm like, no,
  I'm not. I'm putting the kids first, and Andrea is working with me so everyone else can go, go****
  themselves. Because if Anders going to work with me to make this better for the kids, that's all I care
  about. And then that's going to go**** ***. So I am giving you a lot of credit.

  00:06:21 SCHUCK

  OK. Because I mean, I go back, I read my journal and I listen like think about the podcasts and all of the.

  00:06:29 SCHUCK

  Things and all of the things that have been said about me on line and.

  00:06:35 SCHUCK

  It's mortifying. It's mortifying, and I think.

  00:06:38 SCHUCK

  Now, now, like and I'm not backpedaling, Rob, because the truth is, is I've said it before, and I'm saying
  again, but I think that what I see with you right now, I do.

  00:06:49 SCHUCK

  I feel bad for you, which I probably shouldn't.

  00:06:53 SCHUCK

  Because I sure as hell would never have done that to you. You know what? I never expected it to go
  down the way it did, but I was expecting you would go in for a change of circumstance because we
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  would fix it and it would all be back to whatever. You know, I'm saying. Like, 11 didn't. You never. You
  never let me talk and say, well, this isn't how and what I did say.

  00:07:13 SCHUCK

  This isn't how it's gonna be. No, no, no, no. And like, like Pitbull on me the whole time. So, like.

  00:07:20 EMERT

  Well, there's a lot of good things I could have done when I had Bryce. I just kept on waiting because I
  thought we would get to a point where we could actually come to and and and, you know, in a great,
  you know, an arrangement, a really good.

  00:07:33 SCHUCK

  It wasn't ever going to come to a good arrangement. It's, you know, when it when it really hit me was
  when Bryce walking. And that's when I I like I go back and I read all my text messages between you and
  I. And I just kept saying, well, please, please let me talk to Bruce, please. Like.

  00:07:49 SCHUCK

  I wasn't gonna, you know, the other thing is you have to hear me. Really. Really. Really. This is really
  important, Rob.

  00:07:57 SCHUCK

  I never wanted to put bryce in a residential facility. I was just shocked as you were. But I was under the
  impression that I wasn't supposed to talk in court and you step by step to think that because I didn't say
  anything that that's what I.

  00:08:11 SCHUCK

  Wanted to do.

  00:08:13 SCHUCK Then that's

  on you. 00:08:15 EMERT



  Well, there's there's something really weird there with that whole thing, and that's not.

  00:08:18 EMERT

  If you go there.

  00:08:19 SCHUCK

  When I can talk about that because the bottom line is, is that I didn't say yeah, let's do·that. I was just
  like.

  00:08:20 EMERT

  Right.
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  00:08:25 SCHUCK

  OK, I'm in court. My lawyer says don't talk like write it down. I was listening. I wasn't agreeing. After we
  hung up after that call, I went and I did research and like, no, that's not happening. But I didn't also have
  influences.

  00:08:39 SCHUCK

  Like you had.

  00:08:39 SCHUCK

  With this group.

  00:08:40 SCHUCK Of people

  who are. 00:08:41 SCHUCK



  like, oh, are you going to put them in the? I wouldn't have let that happen. And I know you said that.

  00:08:45 SCHUCK

  I couldn't. I couldn't have stopped it, but I could.

  00:08:48 SCHUCK

  I could stop and I still can stop it, but we can stop it.

  00:08:52 SCHUCK

  You know, like that's not.

  00:08:54 EMERT

  Well, let's let's put it forward because I I was really happy that you were saying that bryce is going to be
  able to come over here and stuff and it sounds like now.

  00:09:01 EMERT

  You're now. You're saying thats probably not?

  00:09:02 SCHUCK

  No, I'm not not saying no. I'm just saying it's going to take a bit of time. It's going to take and you know,
  he he.

  00:09:09 SCHUCK

  Your mom and Cole had.

  00:09:10 EMERT
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 Bryce. He needs me right now. Andrea, if you if you, if you let up a little bit, he's going to circle back to.
 That's what I keep trying to tell you.

  00:09:17 SCHUCK

 That there's nothing let up on what? What? What is that to let up? What? I'm what I get in my house.

  00:09:24 SCHUCK

  Is Glenda and cole calling me arrogant and blah, blah blah, blah and and I try to just talk to Brittany,
  yelling at my face and it's because they kept up the alienation that you started. And that is the truth.
  You don't think you did, but you did. And you know, the truth is I may have done the same with Skylar,
  not known it.

  00:09:45 SCHUCK

  So maybe you don't recognize.

  00:09:46 EMERT

  Why is it OK? What if I took scholar and did the scholar? What? You know what I mean? What if I took
  Skylar out of her home and made her do everything my way and she hated me because I did?

  00:09:57 SCHUCK

  That that would be a thing I would be following the court order. Here's the thing. If the court gave you
  full custody of would you let me go to my dad? And I said absolutely. I would follow the court order and
  I stand by that.

  00:10:11 EMERT

  OK. Well, do you know?

  00:10:13 SCHUCK

  I would I would support you. I would try to. You know, that's what.

  00:10:16 SCHUCK

  You're trying to do right now.

  00:10:17 EMERT

  Well, I'm just saying it's just. No, I'm not. I'm just. See what they did that, you know, those those court
  orders are ridiculous .

  00:10:24 SCHUCK

  No, 11 you know what, rob?

  00:10:26 SCHUCK

  The thing is is I would never.

  00:10:27 SCHUCK
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  Anticipate it being anything.

  00:10:29 EMERT

  You even said you even said to me, like when when I first found out about Judge Wood, you were like,
  you're like, you're gonna get whatever you want now. And I was like, I don't want everything I said. 5050
  is fine. Kids go back and forth. But you when I first found that out.

  00:10:42 SCHUCK

  Import order, Rob.

  00:10:45 SCHUCK

  To get 90 most of the custody of right, you kind of.

  00:10:49 EMERT

  Forgot that was the very beginning, but shortly after I went 5050.

  00:10:55 SCHUCK

  OK. Well, that's how you started it off. And I know I did the family court when we went to family court
  mediation. What I wanted to do was kind of break bryce of the investment and the codependency and
  like, establish a relationship with him without you. And at that point, I think it could have happened, but
  I don't. It will never happen now.

  00:10:58 EMERT

  So, but so did.

  00:10:59 EMERT

  That so did you .

  00:11:15 SCHUCK

  It will never. It will never branch. Will only have a relationship with me. If you say it's OK and if you and
  you say that you did, but your actions did not your.

  00:11:27 SCHUCK

  Your accent didn't matched.

  00:11:30 {emert}

  OK, here's the bummer part. It will look we're kind of going in circles and I don't want t o do this with
  you. I just. I thought we were going to come to an agreement. If you're saying no now, it means I have
  to go back and go and basically start going, you know, going.

  00:11:44 {schuck}

  I'm not saying no, Rob, I'm saying.

  00:11:47 emert
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  Because what I was going to, OK. But what I mean, if you're not doing the agreement, there's a lot of
  other things I can still pursue.

  00:11:52 SCHUCK

  Well, not that I'm not doing an agreement I wrote. I wrote up everything I wanted and I sent it to

  Sarah. 00:11:59 SCHUCK

  OK. And she's looking at it, but what she is telling me is that we don't just get to go. Whatever your she
  said. Family law, law and criminal law are two different things and that that criminal like it doesn't.

  00:12:13 SCHUCK

  I don't know if your criminal.

  00:12:15 SCHUCK

  Lawyer has much experience in family law because.

  00:12:18 SCHUCK

  My family law definitely doesn't have experience in criminal law and.

  00:12:22 EMERT

  This is the bottom line is if you and I are this in agreement.

  00:12:25 EMERT

  It doesn't matter if they want to say whatever they want to say. Ultimately. Are you going to*******
  call and get me busted for trying to help?

  00:12:31 EMERT

  Our kid that's.

  00:12:32 EMERT

  What it comes down to, you know what I mean?

  00:12:36 EMERT

  Well, no. So what I'm saying is, if we have an agreement and you know what I mean, it's like, who cares
  what they say?

  00:12:43 EMERT

  I mean, ultimately, if w e're trying to do the.

  00:12:45 EMERT

  Best by like kids.

  00:12:45 SCHUCK
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  That's that's the problem. I care what I care what the family Court says.

  00:12:51 SCHUCK

  And we're going to get it. We're going to get it in writing.

  00:12:53 SCHUCK

  So that you don't.

  00:12:54 EMERT

  Get in trouble. OK, well, OK. All right, well.

  00:12:57 SCHUCK

  We're going to.

  00:12:57 SCHUCK

  Follow up court order. We're going to.

  00:12:58 SCHUCK

  Get a court order and we're.

  00:13:00 SCHUCK

  Going to follow it and that's.

  00:13:01 EMERT

  OK.

  00:13:02 SCHUCK

  What I need to hear you say I will.

  00:13:03 EMERT

  That, well, the the here's the thing. So far the the deal DA has lied and I, you know, and I know that you
  know, there's certain things that there's recordings of where the DA is going to look really stupid if that
  hits the air.

  00:13:20 SCHUCK

  Don't do this.

  00:13:22 SCHUCK

  You're talking about because you're playing games with me like.

  00:13:25 EMERT

  No, no, no. I'm just saying that there's like.
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  00:13:28 EMERT

  I mean, they they've lied.

  00:13:29 SCHUCK

  That wasn't true. Like what?

  00:13:31 EMERT

  Oh, like how?

  00:13:32 SCHUCK

  plea agreement.

  00:13:33 EMERT

  In my plea agreement, they they lied to me to get me to, to. I mean, I was totally under duress.

  00:13:41 EMERT

  And I was totally sick. They completely lied. They basically she sat on a transcript. They knew I was never
  a threat to keep me in jail for 90 days, claimi ng a threat when she sat on a transcript for 90 days. I
  mean, it's just the with the the ethics deprived.

  00:14:00 SCHUCK

  OK, so but you, but you gotta remember, I'm not the DA.

  00:14:00 EMERT

  Is is bad.

  00:14:03 EMERT

  I know, I know, but here's what I'm asking you to do, and it sounds like you're kind.

  00:14:07 EMERT

  Of backpedaling as I need, OK.

  00:14:08 SCHUCK

  I'm not where I am. If you tell me that I know. So how do you stop your?

  00:14:10 EMERT

  OK. We'll just, OK.

  00:14:15 SCHUCK

  Because I'm still willing to work with you because I do think it's best for bryce.

  00:14:18 SCHUCK
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  OK, cool. Please. Please stop pigeonholing right. OK. OK.

  00:14:24 EMERT

  Sorry, I I I've told everybody the fact that you're working with me. I've told a lot of people to*******.

  00:14:32 EMERT

  OK. So so just give me a little bit of credit because everybody else is telling me to do different things and
  I'm like, no, it's not getting anywhere.

  00:14:40 SCHUCK

  You know what?

  00:14:43 SCHUCK

  You you have to hear me.

  00:14:46 SCHUCK

  Your mom and cole fidelman have made my life hell and made your son's life hell and has continued on
  with all of the soul shape and increasing. He is spun out. He was doing really good when he first got here
  the first like.

  00:14:59 SCHUCK

  When he started.

  00:15:00 SCHUCK

  School. He was happy. What we want.

  00:15:01 EMERT

  Do you understand? I told Bryce to not run away. I told Bryce to see the best in you.

  00:15:05 SCHUCK

  I love you.

  00:15:07 EMERT

  He's. I mean, there's the last thing.

  00:15:08 SCHUCK

  She did until your mom. He didn't tell your mom and cole started, you know.

  00:15:12 EMERT

  OK, well, well, let's not talk about my mom and Cole. Let's talk about me. OK, I'm going to control me
  now. I'm telling you right now. I love by so much. I said, look, I see what you're going to do. I said you're
  going to live there. You are not going to run away and you're going to have fun, and you're going to be
  happy to see.
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  00:15:27 EMERT

  Your sister. You'll be happy to.

  00:15:28 EMERT

  See your mom and OK, OK.

  00:15:31 SCHUCK

  Thank you.

  00:15:32 EMERT

  So that that's, that's what I. That's what I want for our son. Trust me. OK. And believe that. Alright, so I
  mean. But give me a little bit of credit because I'm trying to to, to, to, to work this out.

  00:15:43 EMERT

  Now the way the my attorney has told me this should go down is that all of the criminal stuff should
  have been basically removed off the of the protective orders they promised me those were going to be
  removed and everything would default to family court and then we would go in there with the and the
  agreement and Family court where then more than likely.

  00:16:03 EMERT

  The the Family Court would say if this is what you agreed to, probably fine and then and.

  00:16:08 EMERT

  Then put it.

  00:16:08 EMERT

  Into the order.

  00:16:10 EMERT

  OK, that's how it was sold to me. And if that's not how it's going to go down, it's a bummer. But I that's
  what I need you to do is help me to get to that point, because it's not. Then there's other things I have
  to do. And I I'm just tired. I don't want.

  00:16:24 SCHUCK

  Like you asked me for a favor, but then you threaten so.

  00:16:27 SCHUCK

  This is what I'm going to say to.

  00:16:28 EMERT

  You about. Well, I'm sorry. I'm just. Just help me. Help me.

  00:16:34 SCHUCK
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  Did you ever throw me a bone in the last 15 months? You had life.

  00:16:40 SCHUCK

  11 mean.

  00:16:42 SCHUCK

  You're asking for something that I'm willing to give you because I'm better than you.

  00:16:47 SCHUCK

  I'm kinder than you. I'm going to do it. I care about Bryce more than I care about.

  00:16:53 SCHUCK

  Anything else? So I'm gonna. I'm gonna. I'm not throwing you a bone. I'm helping our son because you
  don't deserve my kindness and my forgiveness. The way that our son deserves what he needs.

  00:16:58 EMERT

  Thank you.

  00:17:10 EMERT

  I do. I'm kinder than you think. Come on. There's I'm a good. I'm a I'm a good person. There's a lot more
  to the story. That's not really ask the story. That's just they're they're talking now.

  00:17:19 SCHUCK

  Well, here's the thing. It's like this is what, like you said, that you told a lot of.

  00:17:24 SCHUCK

  People to******* about me.

  00:17:28 SCHUCK

  You've put me.

  00:17:28 SCHUCK

  Through hell in the last year, the lessons divorce and now you just want me to like, oh, this is getting OK.
  It's going to happen. Yeah. OK. I'm. I'm going to do that. I'm going to do something like that, but.

  00:17:40 SCHUCK

  There is going to be.

  00:17:43 SCHUCK

  Parameters around it and a court order so that if.

  00:17:45 SCHUCK

  You don't follow it.
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 00:17:47 SCHUCK

 You're in trouble.

 00:17:50 EMERT

 OK, price is almost 18.

 00:17:54 EMERT

 So you will not basically make his life hell.

 00:17:58 SCHUCK

 No, I don't want to.

 00:17 :59 SCHUCK

 Make his life hell.

 00:17:59 EMERT

 OK, so why? Why? Hold on so tightly like.

 00:18:04 SCHUCK

 OK, here's why. Because our son missed a year and a half of high school not happening again because
 because he missed a year he missed a year and a half with his mom and his sister. That's why, because
  he, he was a year and a half with our family and he's been turned to get rob your whole your cousin
  Kate using.

 00:18:24 SCHUCK

  So stupid.

  00:18:25 SCHUCK

  My nephews don't hate Bryce. This is stupid and.

  00:18:30 SCHUCK

  You said to come over and over. Why?

  00:18:31 SCHUCK

  Didn't they come over? He. He cared. It's you.

  00:18:33 SCHUCK

  And then it's you like.

  00:18:37 SCHUCK

  I don't, I don't. We don't need to get into this. What I'm just saying is.

  00:18:39 EMERT
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  OK, not.

  00:18:40 EMERT

  I never said they hate them, but OK, if you if you wanna ask a question, do you really want to hear the
  answer?

  00:18:45 EMERT

  To have that conversation right?

  00:18:45 SCHUCK

  For a very summary price, it's many conversations from what I can understand.

  00:18:50 EMERT

  Both both sounds like me because I raised him for the most part. Come on.

  00:18:54 SCHUCK

  Hey, rob. Chief, there's another misnomer. You stop saying that. Did you breastfeed Bryce? Did you push
  him out your hookah? Did you? You know.

  00:18:58 EMERT

  OK.

  00:19:04 SCHUCK

  Do all the things you wouldn't have been able to raise him. We raised him. I do not take credit for Skyler.
  I did not raise Skylar. We raised Skylar. Skyler's not getting this great GPA because I'm super mom of the
  year. It's because we raised her. Give me.

  00:19:15 EMERT

  OK.

  00:19:23 SCHUCK

  A freaking break.

  00:19:25 EMERT

  Thank you. Thank you. We raised both of them. Fantastic.

  00:19:28 SCHUCK

  So don't ever say I raised. I mean you got arrested in the first. I raised him for me. Baby. Are you
  kidding? Now freaking kidding me.

  00:19:36 EMERT

  Alright, we just talked about that. Let's move on . I got it all taken alright.
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  00:19:41 EMERT

  So but what I'm trying to explain, the Bryce Bryce saw the way he has been treated. OK, so.

  00:19:48 SCHUCK

  No, but no he didn't. You told him how he. You thought he was being treated. You weren't there.

  00:19:51 EMERT

  OK.

  00:19:56 SCHUCK

  That that was it was classic alienation. Rob, you tell people research alienation. You should know you did
  it.

  00:20:05 EMERT

  You know, I got about Skyler. What's scary about anyone named for me then?

  00:20:10 EMERT

  Come on.

  00:20:10 SCHUCK

  11 hope she's not I. I tried my ask. Hard. So hard to not let that happen. No, you didn't . You didn't.

  00:20:17 EMERT

  OK, but I did the same for Bruce too. Yes, I did. Well, how come you even saying? How come you can see
  me and Bryce? But it's not. It didn't happen with you and Skylar.

  00:20:25 SCHUCK

  Because you didn't reach out to her, she reached out to you and you didn't reach out.

  00:20:31 EMERT

  To her, that's not true.

  00:20:33 SCHUCK

  He waiting for you to call.

  00:20:34 EMERT

  No, that's not true. The the I basically I was told that I wasn't going to lie to reach out to.

  00:20:41 EMERT

  And then basically, yeah, no, it's true. And you totally different.

  00:20:44 SCHUCK
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 You should we go leave your court paperwork.

  00:20:47 EMERT

 The court paper where Katie told me that I was not allowed to talk to Skyler and I told her I told Katie to
 *******.I talked to my daughter whenever I want and she said, well, you're breaking your orders. And
 then what happened? But it's true. I thought I got all that.

  00:20:59 SCHUCK

  So I'm telling you .

  00:20:59 SCHUCK

  That that's not where I read the court order. So maybe you should.

  00:21:02 SCHUCK

  Have clarified with me and you know.

  00:21:04 EMERT

  And then what happened was when I was sending Skyler messages, there was, like these long delays,
  and I couldn't tell what was going on. And then I said that like.

  00:21:12 SCHUCK

  Well, that was nothing. Why don't you eat? When 11 thought Bryce Block started blocking me. I started
  texting you like, hey, Bryce is blocking me. Can you? You know? Come on, rob. You didn't. If that was,
  and she took some weird messages from people saying somebody is.

  00:21:29 SCHUCK

  Blocking my your dad. Oh, my God. No. No, it wasn't. No, you don't. Why didn't you show up to our
  doorstep with the birthday present for her? Why didn't you? You know? And you've nothing I wanted to
  invite your mom and your sister to Skyler's play. And your dad. I really, really, really wanted to. I was
  really excited about it. And then we just just slowed down.

  00:21:49 SCHUCK

  Stupid freaking gauntlet of********. Like. Are you kidding? Like uh, 11 couldn't. I couldn't. 11.

  00:21 :57 SCHUCK

  Kid you not.

  00:21:57 emert

  I think we're starting to argue that's like this is I didn't want to do this, I.

  00:21:57 SCHUCK

  Just ridiculous.

  00:22 :02 SCHUCK
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  No neighbor, neither. Because really, rob, you can.

  00:22:06 EMERT

  But sometimes he's going to beat me up.

  00:22:08 SCHUCK

  No, here's sync. You can scan the course and do what you want in terms. Of course if you want or you
  can really try here that I have that you saying well, you can be 18. Yeah. OK. So we could wait till he's 18
  and I could sit here and make him miserable or we could work together and you could say that you. Well
  then stop telling me that.

  00:22:24 EMERT

  I know that's what I want to do.

  00:22:28 SCHUCK

  All the things that I can like I can.

  00:22:30 SCHUCK

  Show you other things like.

  00:22:31 SCHUCK

  That you've done wrong because.

  00:22 :35 EMERT

  Let me just say, let me just let me say it again. I am sorry. I am sorry I've made a lot of mistakes. Please,
  let's move forward please. You tell me. Tell me.

  00:22:45 SCHUCK

  Take time. Demands on this. OK, I think we need to get him through the end of the school year, which
  would be June.

  00:22:53 SCHUCK

  I think we.

  00:22:54 SCHUCK

  Need to kick and we need to.

  00:22:56 SCHUCK

  And another like you to be able to talk to him because I think.

  00:22:58 SCHUCK

  Maybe if you talk to.
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  00:22:59 SCHUCK

  Him and you say we're working this out. We.

  00:23:03 SCHUCK

  OK, baby, we'll have some hope.

  00:23:07 SCHUCK

  What can I do on the criminal end to make that happen?

  00:23:13 SCHUCK

  Want me to call your lawyer? Do you want me to call the DA? She's not at you might be back now. But
  hey, I'd like love to talk to you.

  00:23:20 EMERT

  Right. OK. What I'm asking, asking you not to do the bryce is basically just to hold the card out to a 16
  year old boy.

  00:23:29 EMERT

  It's it's like that's, I mean, you're just gonna make him more*********.

  00:23:33 SCHUCK

  What am I? What am I? What do you?

  00:23:34 EMERT

  Mean. What do you mean? Like, you know, if you're basically saying, OK, well, you can talk to your dad,
  but you're not going to see your dad until after after until summer starts. I mean, just.

  00:23:45 SCHUCK

  So you'd you'd rather not.

  00:23:46 EMERT

  Well, no, I'm just saying. No, no, no. I'm saying whatever. Let's work something out. But I'm just saying.
  Why, what? Why put a child out in front of a 16 year old? No 16 year olds at this point would be like F
  you and run away.

  00:24:03 EMERT

  I mean, are you really going to push him to that level where he's going to get hurt or something? Let's
  not do that to him.

  00:24:05 SCHUCK

  No, I.

  00:24:08 SCHUCK
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  See you again again.

  00:24:12 SCHUCK

  I'm not. I'm not.

  00:24:14 EMERT

  He's going to get hurt. He's going to get hurt.

  00:24:14 SCHUCK

  Oh my God.

  00:24:19 EMERT

  We've got to stick. We've got to fix this.

  00:24:21 EMERT

  You need to help him then, if you, if you. If you keep on doing this to a 16 year old.

  00:24:27 SCHUCK

  Here you go. Here you go.

  00:24:27 EMERT

  No, I'm mad. No, I'm mad. And I'm saying look at where he's at. He's flipping out. Let it let him go a little
  bit loose, sleep a little bit.

  00:24:35 SCHUCK

  The only thing that on you.

  00:24:39 EMERT

  No, I'm no, I'm home.

  00:24:39 SCHUCK

  Or your parents or.

  00:24:41 EMERT No

  one who?

  00:24:43 SCHUCK

  I'm doing nothing.

  00:24:46 SCHUCK

  This is what I'm trying to tell you. He may ask to your mom and to everyone else, like I'm doing**** to
  him, but he I'm not doing anything to him. As a matter of fact, any minute I try to, like, go talk to her or
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  whatever, I don't do anything. I if anything, I'm trying to make him laugh. I'm trying to spend time with
  him.

  00:25:05 SCHUCK

  And he doesn't. He's mad.

  00:25:08 SCHUCK

  And he's mad because your mother.

  00:25:11   SCHUCK

  And that I can that.

  00:25:13 SCHUCK

  Is for sure 100%. I know you don't want to talk about your mom, but she she did nothing to help.

  00:25:19 SCHUCK

  You while you were out.

  00:25:22 SCHUCK

  She made things worse with your son.

  00:25:24 EMERT

  OK. Just you know, I'm gonna go beating up on me this conversation.

  00:25:24 SCHUCK

  With his mom.

  00:25:26 SCHUCK

  So you think if you kind of no, don't you think if you had come out of your of of this situation and we're
  OK?

  00:25:34 EMERT

  I'm really 11 really don't feel good. I don't feel well and I just 11 was so happy to talk with you to maybe
  like something.

  00:25:42 SCHUCK

  You know what, Rob? I am too. 11 was too.

  00:25:46 SCHUCK

  But you don't get to come here and.

  00:25:47 SCHUCK

  Make demands on.
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  00:25:48 EMERT

  I'm not making demands. Yeah, I don't. I can't make any demand at this point.

  00:25:53 SCHUCK

  So why don't you hear how I envision it? And you can say, OK, not what I was hoping, but OK, I can work
  with you on.

  00:26:00 EMERT

  This work with you on anything, because I don't get to make choices at this point.

  00:26:06 SCHUCK

  OK, so listen to what I think needs to happen.

  00:26:08 EMERT

  OK.

  00:26:11 SCHUCK

  I think that I need to talk to the DA about dropping the protective criminal order.

  00:26:17 EMERT

  And they they promised me that was actually already been removed as part of the deal and lied to me.
  And then I can.

  00:26:17 SCHUCK

  OK.

  00:26:23 SCHUCK

  I heard I'm hearing you.

  00:26:24 SCHUCK

  And I'll talk to them, OK.

  00:26:25 EMERT

  And I can accuse it, but that's going to take time and I'd rather you have work something out because in
  the meantime I make some time and resources.

  00:26:35 EMERT

  And that the that, that's me, you Bryson Scott, anywhere. So I got to just work with you and get that
  fixed. But if I can't, I mean, I'm saying that's that's why I'm begging you to.

  00:26:43 SCHUCK

  I can.
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  00:26:44 SCHUCK

  I I can't go and draw a perfect this is the DA does that. You don't understand. It's not like I have it.

  00:26:51 EMERT

  Well, the DA promised me that's part of my deal is that it's going to be removed.

  00:26:54 SCHUCK

  When I talk tot.he why don't you give me some credit? Stop talking over me and just listen. Why don't
  you let me talk to the guy about it and say hey?

  00:26:59 EMERT

  OK.

  00:27:05 SCHUCK

  Rob and I spoke and he is concerned because he was under the impression that you had offered to take
  the protective order off. What do what are the next steps she wants? She was what? The first advocate
  to say to Bryce. Hey, I hear you. I know you want to be with your dad or and goal is to get get you there
  with your dad. But there's some steps we need to take and that is exactly what I'm trying to do well.

  00:27:26 SCHUCK

  Because I'm trying to do it correctly because I don't want to get you in trouble. I don't want you to get in
  trouble, and I don't want to hurt our kids anymore than possible. And they are.

  00:27:35 EMERT

  Being able to get in trouble is this.

  00:27:39 EMERT

  We went and said things to them. I mean, you know, we need these people out of our lives andrea.
  These people. I mean, there's some really scumbags.

  00:27:47 SCHUCK And          we

  need these. 00:27:48



  People out of our life, you took our kid away from us and I needed them in our life to get our kid back.
  So you think about that and we can go now. We can just put a kid in it.

  00:27:59 EMERT

  Uh, Bryce is doing pretty well, though. He was doing really, really well. You don't understand.

  00:28:02 SCHUCK
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 OK. Do you know what, rob? He wasn't doing well. You know why he weighed 100 and******* 23
 pounds. You know, he has OCD you wanted around. He was a year and a half of high school, so you can
 see her and say, yeah, he's working out this lady. Oh, ******* ****.

 00:28:18 SCHUCK

 This kid did not come to me in good shape.

 00:28:23 SCHUCK

  He did not. So you say you have this year of wonderfulness.

 00:28:25 EMERT

 There's a million weight witnesses that say otherwise.

  00:28:28 SCHUCK

  OK, you know what? And he's going to say otherwise. Oh, yeah. Well, I didn't have to go to traditional
  school. I didn't have to be socialized. I didn't have to clean my room. I didn't have to blow, blah, blah,
  blah, blah. OK.

  00:28:39 EMERT

  He was totally socialized and witnesses made all said just just.

  00:28:39 SCHUCK

  You know, I will.

  00:28:42 SCHUCK

  OK, you know what?

  00:28:43 EMERT

  Go back too.

  00:28:44 SCHUCK

  She she. That's funny. You know what I have?

  00:28:46 SCHUCK

  Hundreds more witnesses that say he's struggling because he's not used to being around people. So you
  know we can do this tip for TAT, but I don't think that that year for him, I don't think any child for
  Chicago or for Bryce was good. Not seeing their parents for 15 months at all. I I would have gladly met
  you at a Denny's and had breakfast with you.

  00:29:07 SCHUCK

  You never you. You thought I was just gonna show the SWAT team and I never. I didn't even want to. I
  didn't even put in for the.

  00:29:17 SCHUCK
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 The DA's office to get involved until bryce started blocking me and I was begging you. Please let me talk
 to Bryce, please.

  00:29:23 SCHUCK

  Let me talk to.

  00:29:23 SCHUCK

  Bryce, well, you know what? If if if there was 1/4 and it was the other way around, I for sure would have
  made Skyler talk.

  00:29:29 SCHUCK

  To you and you know, I wanted to talk to you now.

  00:29:33 SCHUCK

  Actually, I think she should talk to you now.

  00:29 :36 SCHUCK

  And you should try to get your relationship on.

  00:29:38 EMERT

  He always had a great relationship with the fact that we don't have a good relationship now is pretty
  weird because there's not nothing ever happened that would have made-up for bad .

  00:29:39 SCHUCK

  Back on traffic.

  00:29:46 SCHUCK

  15 going through ***** ** hell Friday Nicole and Bryce. Every single day I called that kid every day. I
  texted him. Every day I showed up your house. I sat in front of your house. I basically came to my car in
  front.

  00:30:02 SCHUCK

  Of your house for hours .

  00:30:04 SCHUCK

  And sitting there waiting, hoping somebody would come down. It had locked the gate so I couldn't even
  w alk up to the door and say, hey, can we talk, you know?

  00:30:13 SCHUCK

  You could knock down our door any day.

  00:30:17 SCHUCK

  And tried with her.
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  00:30:20 EMERT

  I kept hoping that things were going to get resolved and that got pulled along. I'm telling

  you. 00:30:24 SCHUCK

  Well, you pick you picked brace, you put bryce first you picked bryce first over her and she

  saw that. 00:30:30 EMERT

  It's not unlike you.

  00:30:31 SCHUCK And I try to tell

  her. 00:30:32 SCHUCK



  That's not true, but that's what she thinks.

  00:30:34 EMERT

  OK. So let's OK, we're going in circles that they're not married in which you don't have to do this.

  00:30:38 EMERT

  And that's what can we do to fix it? I'm going to take it. You can get what? What can you do? What can
  you do?

  00:30:42 SCHUCK

  But sounds like.

  00:30:46 SCHUCK

  Can you like what you?

  00:30:47 SCHUCK

  What you want me to do?

  00:30:48 SCHUCK

  Is just be like.

  00:30:49 EMERT

  No, no, I OK, I don't. I I'm. I know I'm asking you, what can we do? What I'm asking you to do for Bryce is
  to let him start coming over or talking to me.

  00:31:00 EMERT

  Quickly so that I'm hoping that if you need let let up a little bit that will be like OK to be there at the
  school. I can talk to them and give advice. Why don't you just be OK with it at the school? It's a good
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  school and then I can start talking to you about about maybe staying them up and so passed off about it.
  But if you if you hold on too.

  00:31:21 EMERT

  Tightly to a 16 year old when you are forcing him, it's just gonna end up battling for him. But that's my
  my that's my suggestion.

  00:31:28 SCHUCK

  Are forcing him to go to school? Yes, forcing him to go to that school. Let me tell you this, he said.
  Actually, I'm not.

  00:31:31 EMERT

  OK.

  00:31:33 EMERT

  But you. But if you if you hold on too tight, he's getting away with something or worse.

  00:31:37 SCHUCK

  OK, OK.

  00:31:39 SCHUCK

  OK.

  00:31:40 EMERT

  So that's not first start this it's work together.

  00:31:42 SCHUCK

  But you know, at this moment, if he runs away, he's going to do these. So that's I'm not. I'm I'm not. I'm
  not. I want to run away Rob. I know they're not holding on too tight. I can't even get near him without
  him. Like get out of room. Get the**** away from me. Get the**** away from.

  00:31:46 EMERT

  Why would you do that? Why would you?

  00:31:47 EMERT

  Write him e-mail out.

  00:31:57 SCHUCK

  Me, I mean.

  00:31:58 SCHUCK

  You probably get on the phone when you screaming out.
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 00:32:01 EMERT

  Hello. Skyler had. If Skyler had a choice to be the juvie or with you, I would put it with you. And it's it's
  concerning is that you're like, well, advice of the choice. I'm.

  00:32:13 EMERT

  Going to put in choosing.

  00:32:13 Speaker 2

  No. What I'm saying is right now, you, you can't. You won't. They won't let you go. You can't. You can't
  have them anyway.

  00:32:19 Speaker 2

  So if he runs away from me, that's what his options are. I don't like it. I don't want it. And I'm not going
  to try to change it, but not to keep, oh, my God, you're right. We're not married, and we don't have to
  talk to this. And I do want to say I do want to work with you, but I don't have to. So don't act like this is
  all my fault.

  00:32:38 EMERT

  And not that that's your fault. And you don't have to talk to me and it's going to be. I'm going to take
  what you give me. So that's what I.

  00:32:43 EMERT

  Understand that maybe you're misunderstanding.

  00:32:45 SCHUCK

  I. No, I and I I wrote it all out to Sarah. She just said to me, Andrea, there's steps we have to take.

  00:32:54 SCHUCK

  We need to 1st like we don't just blow into family court and up to upheaval a judgment. We need to go
  through. What the the 20th is. She was trying to continue and whatever that was. And you know, you're
  asking me to take a big leap with, you know, like appreciate the video being down. But you know what?
  Put it back up if that makes you feel better.

  00:33:13 SCHUCK

  Because really it's just more embarrassing for Bryce and for you than it is for me. So I did it.

  00:33:19 EMERT

  We can't talk about that. I took it down. I've never seen. I never stopped.

  00:33:21 SCHUCK

  I know, but to say like.

  00:33:23 SCHUCK
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 Good, because it was motivating.

 00:33:25 EMERT

 OK.

 00:33:26 SCHUCK

  But what I'm saying is that.

 00:33:32 EMERT

 This is why. Why hold on so tight with price? He's 16, OK?

 00:33:38 SCHUCK

  When you think.

  00:33:38 Speaker 2

  I'm holding on so tight. What do you mean?

  00:33:40 EMERT

  OK, OK.

  00:33:41 SCHUCK

  Give me an example because I don't know.

  00:33 :43 SCHUCK

  What you're talking about?

  00:33:44 EMERT

  So if you want to stay with me.

  00:33:45 EMERT

  He goes to juvi.

  00:33:47 SCHUCK

  I I didn't say that.

  00:33:48 SCHUCK

  That's what the the the District Attorney investigators

  said. 00:33:52 SCHUCK

  Don't run away.

  00:33:54 SCHUCK

  If you went away when they catch him, like what?
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 00:33:58 SCHUCK

  Like how the hell do you run away?

 00:33:59 EMERT

 He's got lots of, he's got lots of family and friends that love him, that would never run him in a place like
 that. Why? Why do that?

 00:34:05 SCHUCK

  Like that either. Do you think I want that? Do you think that I want that he needs to stay with his mom?

  00:34:12 EMERT

  OK, so either way, she's staying with me and do what I say.

  00:34:16 EMERT

 Or you're going to get a juvi. I'd like to let you go somewhere else. I mean, this is. It's something that
 just kind of ask.

  00:34:22 SCHUCK

  You said you, I said. So let me ask you, Sir, you are you asking me to let him go somewhere else right
  now? Until you can, we can work it out for you to meet with him. OK. And what? What do you ask?

  00:34:29 EMERT

  No, no, of course not.

  00:34:32 SCHUCK

  Why are you saying that?

  00:34:33 EMERT

  Well, you're saying it's just it's just it's kind of disturbing.

  00:34:37 Speaker 2

  I'm just saying. He ** *** really shouldn't.

  00:34:40 SCHUCK

  OK, what I'm saying is he really can't run away. It's not an option for him because the options for him
  right now are not good if he runs away and I he can run away to your family or whatever and you could
  padlock them back up in your thing. But it's.

  00:34:54 SCHUCK

  Not gonna be good for you either, so the truth is, is we need to have bryce m ake.

  00:34:58 SCHUCK
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  The healthy smart choices.

  00:35:00 SCHUCK

  And right now that get put and we will work on you and I will work on this, this plan. And so I have some
  ideas about. I wrote down all my ideas.

  00:35:09 SCHUCK

  I'm not. If you want to hear them right now or you're just too sick to hear them.

  00:35:12 SCHUCK

  But I think you would be interested.

  00:35:14 EMERT

  OK, OK, that's fine. And again, it's your I'm going to take what you give. I'm just going out suggestions
  here there and all I'm saying is.

  00:35:24 EMERT

  If you might want to think about.

  00:35:26 EMERT

  Having a good relationship with Bryce in the future, and if you really.

  00:35:32 EMERT

  If you clamp down on him too tight now you think that you're not gonna get that back.

  00:35:35 SCHUCK

  What were you thinking of? You're not even letting me talk about what my plan would be. And and also
  clamping down. I'm just trying to like, dude, I'm. I am.

  00:35:41 EMERT

  OK. Go, go. That's it.

  00:35:48 EMERT

  I think if you let him start to talk to me more and a little over here about that.

  00:35:52 SCHUCK

  OK, but this is.

  00:35:53 SCHUCK

  What I'm saying, until that we can get that criminal criminal order protection listed.

  00:35:58 SCHUCK

  That can't happen.
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  00:35:59 EMERT

  They that already.

  00:36:00 EMERT

  Was supposed to be gone, that was.

  00:36:01 EMERT

  Part of the deal.

  00:36:01 SCHUCK

  OK, so this is what I'm.

  00:36:02 SCHUCK

  Saying let's work it out with the DA.

  00:36:04 SCHUCK

  And get that dropped. How?

  00:36:05 EMERT

  About that. That should take. Like, that's because I'm already asking to. I'm already withdrawing my plea
  because that wasn't that wasn't part of the deal.

  00:36:16 EMERT

  Because they, they they the way it was.

  00:36:17 SCHUCK

  You know, and I've always said to you from the very beginning, Rob.

  00:36:21 Speaker 2

  Is do what you got to do, but every time you do what you got to do, it gets our family more in a * * * *
  show. So. And for me too, when I have to do what I have to do, it just gets us into a **** show. So if you
  want to do that.

  00:36:33 EMERT

  So that when you do it now, I don't want to do this.

  00:36:35 EMERT

  When I'm talking to you.

  00:36:36 SCHUCK

  What? What are you asking? What do you want?

  00:36:37 SCHUCK
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   From me right now. 00:36:40

   SCHUCK

  What? What is it that you want to to go get Bryce on the phone for you right now? You talk to Bryce.
  What is it? What is it? This is what happened. We were married. You would. You would push me push.

  00:36:48 SCHUCK

   Me. Push me. Push me. Push me until I gave you what you want.

  00:36:51 SCHUCK

  And then you were happy and you got what you wanted. So just tell me what you******* want and I'll
  give it to you because I can't. I can't. I can't do this anymore.

  00:36:59 EMERT

   OK, let's let's put bryce 1st and I think that's that's what that's going to.

  00:37:03 EMERT

   Look like.

   00:37:04 SCHUCK

   You know what? I'm not going to put bryce first. I'm not doing that. I'm going to put Skyler first. I'm
   going to put Skyler first, so I'm going to put Skyler first. I'm gonna.

   00:37:11 EMERT

   That's that's not. That's not what I meant. Overdoing you.

   00:37:12 SCHUCK

   Put Skyler first, yeah.

   00:37:15 SCHUCK

   No, but I'm going to put Skylar first, because right now Skyler's been last in this family and she deserves
   you first. So you hear that right now? I'm going to put Skyler. What?

   00:37:23 SCHUCK

   She needs and right now she doesn't need Bryce . So that's why I'm willing to play ball with you so you
   can hear.

   00:37:30 SCHUCK

   That's the truth. And if you've been recording me this whole time, I'm going to tell you. That's so * **** *
   * * . And that's so I'm not consensual.

   00:37:36 EMERT

   No, I'm not.
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   00:37:38 SCHUCK

   Or if anyone's listening to me.

   00:37:39 SCHUCK

   They can go*******.

   00:37:40 EMERT

   You know, nobody's listening and they give us credit. It's just me and you trying to work this out. And
   again, I'm just happy you're talking to me. That's it.

   00:37:50 EMERT

   OK.

   00:37:50 SCHUCK

   Yeah, because my people are telling you to tell you to*******, too.

   00:37:53 EMERT

   OK, so let's, let's put our kids first and and.

   00:37:57 SCHUCK

   And honestly, you don't have a big deck plate. Your hand is very small right now, so you should be
   listening to me.

   00:38:02 EMERT

   I know, I know it is. I'm telling you that I know that. That's why I keep saying you get to******* tell me.

   00:38:05 SCHUCK

   So stop telling me to stop clamping down because I'm not clamping down.

   00:38:10 SCHUCK

   I'm not clamping down as a matter of fact, I'm unclamping. I'm like Bryce. You have to go anywhere. The
   only thing.

   00:38:15 SCHUCK

   You have to.

   00:38:15 SCHUCK

   Do is go to school. That's all you have to do. That's all I ask of.

   00:38:18 SCHUCK

   Him is to go to school. I don't ask him anything.

   00:38:19 EMERT
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   OK, tell me. Tell me what your deal looks like.

   00:38:22 SCHUCK

   I was just.

   00:38:23 SCHUCK

   Thinking that I'd love 11 would love for us and you can say no. But all of us, the four of us, go to

   mass. 00:38:31 SCHUCK

   On Sundays, evenings together. And then Bryce come home with me.

   00:38:36 SCHUCK

   Goes to school on Monday.

   00:38:38 SCHUCK

   Come, come have Monday night dinner.

   00:38:40 SCHUCK

   Go to school on Tuesday. You pick them up, you keep them until we go to mass on Sunday.

   00:38:46 EMERT

   That's fantastic. Perfect.

   00:38:49 SCHUCK

   OK. So can you******* clamp your**** up?

   00:38:58 SCHUCK

   I mean, you never even let me get out. What? I was going to say before. You're like, you can't again.

   00:39:02 SCHUCK Clunk again,

   clamp. 00:39:03 SCHUCK



   Down. You know your mom is hassling my son, and she's also answering the phone during school

   hours. 00:39:04 EMERT

   No, no.

   00:39:09 SCHUCK

   That she can't do that anymore.

   00:39:11 SCHUCK

   She can't do that. You know, she you know what he does? He goes into the office.
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   00:39:12 EMERT

   OK.

   00:39:14 EMERT

   That's that's a great a great. Thank you. And you tell you something. Thank you. Because I think that's
   very reasonable and it's super.

   00:39:22 EMERT

   On all fronts. So thank you very much for that.

   00:39:26 SCHUCK

   Additionally, I would like GPS on his phone and it always turned on.

   00:39:32 EMERT

   Fine, I figured you'd be on anyways.

   00:39:35 SCHUCK

   He won't. He won't let me have GPS.

   00:39:37 SCHUCK

   On his phone.

   00:39:40 EMERT

   Well, I'll fix that for you. Right. OK.

   00:39:40 SCHUCK

   So OK, so I mean I could be able to and you should be able to have Skyler's GPS.

   00:39:47 SCHUCK

   For sure.

   00:39:49 SCHUCK

   I want reunification therapy.

   00:39:53 SCHUCK

   I want it for you and I want it for me and I heard how you felt when you were arrested about
   reunification therapy. I don't care here we think.

   00:39 :54 EMERT

   OK, OK. But there's certain.

   00:40:01 EMERT
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  Well, are you talking about like is your your? It depends on your definition of the information that we're
  talking about, just the four of us all going to therapy to the others that kind of.

  00:40:08 SCHUCK

  Well, I I think Bryce.

  00:40:10 SCHUCK

  And I need to go. And you and Skyler need to go and.

  00:40:12 SCHUCK

   Maybe we all.

   00:40:12 SCHUCK

   Four need to go together if you'd like to pick the.

   00:40:13 EMERT

   OK.

   00:40:15 SCHUCK

   Therapist. Then we could do that too.

   00:40 :17 EMERT

   That's fine. That's. That's fine therapy. I agree with that. That's not my definition of the unification
   therapy, but that's that's fine.

   00:40:24 SCHUCK

   What's your definition of reunification therapy?

   00:40:26 EMERT

   The the the more, uh.

   00:40:31 EMERT

   The ones where they take the kid and they put them into a home and.

   00:40:35 SCHUCK

   No, I'm not doing that. I'm not putting brakes. Anyway, if you ever******* ask me, you would have
   known . I want that.

   00:40:36 EMERT

   Exactly. OK, OK. OK, that's fine. That's I'm talking about it.

   00:40:42 EMERT

   OK.
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   00:40:43 EMERT

   OK, great. OK, fine. Check you check the box. It's the one. Yes, that's great.

   00:40:45 SCHUCK

   Did you assume the film makes an ask of you all the time your assumptions have been made you?

   00:40:51 SCHUCK

   An idiot.

   00:40:53 EMERT

   OK, alright.

   00:40:54 SCHUCK

   I'm sorry, I'm mad at you.

   00:40:56 EMERT

   Yeah. So you're what you're offering is?

   00:40:59 SCHUCK

   You could give me some mean.

   00:41:00 SCHUCK

   Things to me, if you want to. I don't care.

   00:41:02 EMERT

   No, I I just, I don't, I just, I'm going to get through this and if what you're offering is fine and I think we're
   going to be able to to get it done and.

   00:41:13 SCHUCK

   And then I think once we go start going to math together, then you and Skyler could see each other and
   then we.

   00:41 :19 SCHUCK

   Can go a little bit more on her end.

   00:41:21 SCHUCK

   And she was 13.

   00:41:21 EMERT

   Well, I don't think so. Here's the thing. I'll do whatever you want, and I think it's great that we'll we'll see
   each other and stuff, but I really don't think you want to see me at all and that you might. OK. OK.

   00:41:30 SCHUCK
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                                                                                                           106




   I don't, I really don't. But.

   00:41:31 SCHUCK

   I'll do anything for these kids.

   00:41:33 EMERT

   OK, well that's fine. And if you choose not to be there because I think I think you're going to see me and
   be really upset and.

   00:41:42 EMERT

   You know, I don't. I don't know.

   00:41:42 SCHUCK

   Why? Why?

   00:41:46 EMERT

   I just don't because you think you hate me. And then I just don't.

   00:41:46 SCHUCK

   We had the.

   00:41:49 EMERT

   You go on.

   00:41:49 EMERT

   Your own so.

   00:41:50 SCHUCK

   You don't know the definition of hate.

   00:41:54 EMERT

   But everything you're saying is awesome, so I take it fantastic.

   00:41:57 SCHUCK

   And I'm not promising this, this is.

   00:41:59 SCHUCK

   Just my thoughts.

   00:42:00 EMERT

   OK. Yeah, I know that part of community.

   00:42:01 SCHUCK
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                                                                                                              107




   OK, this is.

   00:42:02 SCHUCK

   And I went. I went over this with Sarah. Today I talked to my parents about it because I'd like to start
   price out on.

   00:42:08 SCHUCK

   His week.

   00:42:09 SCHUCK

   I'd like, and I know he'd rather be with you on the weekends, so that's why I'm offering most of the
   weekend. But I'm not offering. I'm just saying this is my additional thoughts is that if I could get him. No,
   he's at school. Start off on a Monday. I could check in with him.

   00:42:22 SCHUCK

   And he, you're going to have to do some Rob magic on wanting him to stay at my school because he has
   been told by your mom how horrible the school it is. And. Yeah, yeah. Yeah, that sucks. Yeah. Yeah,
   yeah. Yeah. That sucks. And it has not done him any favors.

   00:42:40 EMERT

   And that's what I'm saying. I'm I'm not. I'm not. I'm going to have to work. I'm gonna have t o get it done
   so.

   00:42:48 SCHUCK

   And he's got on a really good graduation plan.

   00:42:51 SCHUCK

   Like they've done.

   00:42:53 Speaker 2

   Bent over backwards to get this kid to.

   00:42:54 SCHUCK

   Get a diploma.

   00:42:56 SCHUCK

   He's got to take summer school.

   00:42:58 SCHUCK

   He's got.

   00:4 3:00 SCHUCK

   You know, he' s got some credit recovery t o do, but we're going to do it.
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                                                                                                              108




   00:43:04 SCHUCK

   Because the truth is.

   00:43:06 SCHUCK

   You could have kept bryce the whole time if you had been in school.

   00:43:11 SCHUCK

   I wish you'd known that if I could have talked to him and.

   00:43:13 SCHUCK

   He'd been in school. I would have left you alone.

   00:43:16 EMERT

   You know, it's not the dude that could have shut out, OK? Because there's.

   00:43:18 SCHUCK

   No, but this is. This is how I stand.

   00:43:20 SCHUCK

   By this, everyone, everyone, everyone knows that all of your court watcher people, I said it 100 times.
   You could.

   00:43:29 SCHUCK

   If he had been getting an accredited education and I just don't believe in home school, Rob, I just don't.
   My public school teacher, I don't like it. I don't particularly know how schools are awkward.

   00:43:37 EMERT

   There's something that just that I want to post that I want to just throw something out there to you is
   that I hope you give me and don't answer this, but I hope you give me a little bit of credit because the
   condition.

   00:43:51 EMERT

   Emotional that bryce was in.

   00:43:54 EMERT

   At that point in the I know this, but for the year and a half, I mean he was he was doing so well.

   00:43:56 SCHUCK

   Back there now.

   00:44:02 SCHUCK
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   He wasn't being asked to do things like an like a schedule on an average thing. Rob, you don't. You're
   not you, for you're missing. Is not anyone. It was. It was great. And you know the church is. He hasn't
   been around kids or teens since, like.

  00:44:19 SCHUCK

   Like that wonky school at at Woodland Park, like he hasn't been around normal kids for a really long
  time, and I I regret the woodland school thing. I didn't know what we were getting into. I just believed
  what Trish Fleming said. I believed her. I listened to her, I trusted her and I didn't know.

   00:44:40 SCHUCK

   I wish that we had been able to, with COVID time to go over and check out what that was. I wish that I
   had known more. I would never have let him go there, ever, ever.

   00:44:49 EMERT

   $1000 bad, but they used.

   00:44:51 EMERT

   OK.

   00:44:52 SCHUCK

   I do think that San Marcos is harder than Carlsbad and you know, so many people rooting for him at
   Carlsbad. He has looked down to the like security guards who like, look out for him in a good way and
   like so many people that.

   00:45:05 SCHUCK

   Just like are so.

   00:45:07 SCHUCK

   Cool and nice to him, but there's always * **** * kids in high school. You know, there's just****** kids.
   It's.

   00:45:12 SCHUCK

   That way the Marcos it's that way. It'd be that way, anywhere he goes here, he has people who are
   bending over backwards to help him with his IP and his tests in his testing center and and. And he
   always has somewhere to go. He always can go in my room.

   00:45:24 SCHUCK

   And you know, like it's.

   00:45:27 SCHUCK

   He goes in my room and he calls your mom and he yelled out about me to your mom, but yeah.

   00:45:31 EMERT
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   So here's the here's the thing I'm going to work with you on all of that. Just, you know, I don't know
   what he's really upset about the terms of. You and I are talking. So just basically say just, you know, you
   know, just don't.

   00:45:47 SCHUCK

   Here's why Bryce here's why, Rob.

   00:45:49 SCHUCK

   Because he thinks that anything that I have come up with, anything that's he thinks you're. I'm not in
   your jurisdiction. These are words like court words like they're like water, right. I don't. I mean that's
   because you didn't doctor nated him in court.

   00:46:04 SCHUCK

   Life and that was a big mistake. But here's what I'm going to say.

   00:46:10 SCHUCK

   It is under mine.

   00:46:12 SCHUCK

   And you know it and I know it and I not really sure it's completely right, but it is right now. So what we
   need to do is make him understand that it's our decision.

   00:46:22 EMERT

   Thank you. I appreciate that.

   00:46:24 EMERT

   The so.

   00:46:27 EMERT

   OK, let's do this because I really appreciate the the the general idea of the general. Maybe offer is great.
   Hopefully it went from my understanding is that that we'll be able to make that happen. And if you
   need, if you need, change it for whatever reason.

   00:46:49 EMERT

   Here's the thing you it's your say at this point and I understand that. So let's say for example, you say
   he's at your house from Monday until the next Sunday. We have the case if.

   00:46:58 EMERT

   You want him?

   00:46:59 EMERT

   Home on a Thursday, for whatever reason, I will get him over on Thursday. OK, so I know that you're
   you're offering. Love is great stuff up, but I'll still do.
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   00:47:07 SCHUCK

   OK.

   00:47:09 EMERT'

   So you don't have to have it all in writing, because I'm going to do what you******* tell me to do
   because I want.

   00:47:13 EMERT

   I'm I'm trying to get this to work.

   00:47:15 SCHUCK

   I think for myself I need it in writing the other portion of this is.

   00:47:20 SCHUCK

   You know, while we both have our swords up high, we've had them.

   00:47:23 SCHUCK

   Up high from.

   00:47 :24 SCHUCK

   The first.

   00:47:26 SCHUCK

   Weekend and I want. I really want you to hear me say this from the there's two things from the bottom
   of.

   00:47:31 SCHUCK

   My heart, the day that I called the police, I never wanted you to get arrested. I never wanted any of that.
   I just didn't know what to do. I I'm so sorry about that night, because that's like the catalyst for all of the
   really negative.

   00:47:46 SCHUCK

   Stuff that happened to us.

   00:47:50 SCHUCK

   I I literally I called for protecting the peace officer. I never, ever, ever, ever. It was after I left the re in
   handcuffs that I.

   00:48:00 SCHUCK

   And I and I know that pot, kettle black. But I'm telling you, I'm so sorry about that. And I wish that.

   00:48:07 SCHUCK
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   Had never happened.

   00:48:08 EMERT

   Thank you. Been 90 days in jail. 11.

   00:48:11 SCHUCK

   Yeah. No, that's what I'm saying. I understand. And I couldn't. I didn't wish that on you.

   00:48:15 EMERT

   I'll never I'll never recover from that.

   00:48:18 SCHUCK

   No, I'm sure you won't.

   00:48:20 EMERT

   Yeah, I'm telling you, I just, I mean the scar is, is deep. And I just you know.

   00:48:26 EMERT

   UM.

   00:48:29 SCHUCK

   That's why, like when you're sitting here telling me, like, oh, it was the year, it was all this good stuff. It
   really wasn't because it brought you that.

   00:48:38 SCHUCK

   You thought you were doing the right thing. The right thing would have been to. OK, so here's my the
   next thing I was going to say. We've both had our swords up high says that since that event, like we've
   been in a like a a sword fight since then. And right now you're on the ground. And I have my sword up.
   But your sword is still up. And you could jump up and.

   00:49:00 SCHUCK

   And stab me with your sword sword. But I still have the upper hand, cause you're on the.

   00:49:05 SCHUCK

   So what I'm saying is, drop your sword and.

   00:49:07 SCHUCK

   I'll drop mine too.

   00:49:09 SCHUCK

   Drop your sword . But you want me to, like, drop mine and know that you could jump up and stab me.

   00:49:15 SCHUCK
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   That's the problem.

   00:49:16 EMERT

   OK, what So what am I holding up? I don't because that.

   00:49:18 SCHUCK

   You're holding up the civil case against me and you're holding up a appellate case against our

   case. 00:49:28 EMERT

   OK, so for that you needed a while.

   00:49:28 SCHUCK

   I don't want to go to court anymore.

   00:49:30 SCHUCK

   And you don't think.

   00:49:31 SCHUCK

   I understand you think I don't want to go back.

   00:49:33 SCHUCK

   To court on Gemma court.

   00:49:34 EMERT

   Me too. So what? What? So in the agreement. So. And you dismiss those two things.

   00:49:41 SCHUCK

   See, The thing is is like you got to put.

   00:49:43 SCHUCK

   Your sword down first. At least one of them drop one of them .

   00:49:49 EMERT

   Well, in the agreement, why don't you just say?

   00:49:52 EMERT

   That I do this and you do this.

   00:49:52 SCHUCK

   This is the thing I can agree to this only unless this happens, but it's like.

   00:49:59 SCHUCK
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  This is what Sarah and I were talking about today. I don't know that because it's your history and the
  history of, like, all of the.

   00:50:06 SCHUCK Things that

   you've. 00:50:07 SCHUCK



   Done to**** me over in the last three years.

   00:50:11 SCHUCK

   That you that you'll do what you're going to say you're going to.

   00:50:16 EMERT

   Well, we both have to do what we say we do in.

   00:50:18 EMERT

   The agreement or blows up.

   00:50:18 SCHUCK

   Yeah, but how do I have to do my? I have to have my.

   00:50:22 EMERT

   You're not. We did that before putting our swords down at the same exact time because we don't agree
   to the agreement.

   00:50:28 SCHUCK

   Well, see, I think like I signed that and then you go and you leave your appellant and you leave your civil
   thing. And The thing is I could care less if you sue. Freaking leave showman and all of those people, I
   could care *******less.You still wait, Rob. But I had nothing to do with anything. And I don't believe
   there was any corruption on my end at all.

   00:50:48 SCHUCK

   I I absolutely do not think that I I.

   00:50:50 EMERT

   No. Well, maybe there wasn't. But you rode that wave and you could have helped me. And you saw
   what they were doing to there.

   00:50:54 SCHUCK

   No, I well.

   00:50:55 SCHUCK
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   I didn't. There was no way for me. You don't understand. I was just as in the dark going into court as you
   were. That's where you think that I thought that I had some upper edge. I never did.

   00:51:04 EMERT

   They were pummeling me. They were pummeling me. And you could.

   00:51:05 SCHUCK

   I always put it there.

   00:51:07 SCHUCK

   Bob. Bob. Yeah. Because we're not profiling you. You were fighting like a bear back into a cage when you
   weren't even being fought, like, like a little bit of like.

   00:51:20 SCHUCK

   Stand down for you would have gone a long way with everyone, OK? You just kept them coming like you
   like I'm.

   00:51:28

   Gonna fight you now? I'm gonna.

   00:51:29 SCHUCK

   Fight you now.

   00:51:30 SCHUCK

   OK issue, there's a problem. Let's work this out. That kind of like what you're doing now. You're trying to
   work. This is what should have happened three years ago.

   00:51:40 EMERT

   OK. Well, let's just do it now. So I will give you whatever you want. Realistically, OK, most. I mean, I give
   you. So you mean I because I seriously. I I.

   00:51:49 SCHUCK

   You didn't have to give me any.

   00:51:50 SCHUCK

   I mean like don't.

   00:51:51 EMERT

   And you will be on so. So you know when you say drop all that stuff, I'm going to drop all and I'm going
   to what? I'm going to ask you to do to help me is because I need to make money.

   00:52:00 EMERT
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  I need to have the UM, the felony A misdemeanor, because they I'm gonna. I'm gonna ultimately 11 can
  get it appealed anyways and in the higher court I will have it. I will have it overturned and they know
  that. But I don't want to go there, OK.

  00:52:17 SCHUCK

   I don't think they know that.

  00:52:20 EMERT

  OK. Well, yeah, yeah.

  00:52:22 SCHUCK

   I'm just telling.

  00:52:22 Speaker 2

  You like? From what I know that.

  00:52:27 SCHUCK

  I hope that's true. I don't want that for you. I didn't want this for you in the 1st place. I just wanted to
  freaking talk to our kid and get.

   00:52:33 EMERT

   Into school like so.

  00:52:37 SCHUCK

   And you know what? I have that documented upside down inside out that.

   00:52:41 SCHUCK

   This is I.

   00:52 :41 SCHUCK

   Offered you, I offered you the moon.

   00:52:45 SCHUCK

   And you went off calling off, telling everyone that I gave you custody when I. That wasn't what I said. I
   just said, hey, you look.

   00:52 :52 SCHUCK

   We've been with you and this.

   00:52:55 EMERT

   OK, stop beating me up about, like where we're at. OK, let's just do. I mean, we're right here. We're here
   now. OK, so I appreciate what you are suggesting so far.
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   00:53:06 EMERT

   So let's do that. I've talked to.

   00:53:11 EMERT

   My criminal attorney guy and he is trying to. He's probably gonna talk to Sarah and then the the DA
   people to try to get something worked out because.

   00:53:24 EMERT

   You know there.
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   C.   04/13/23 TRANSCRIBED CALL BETWEEN ROB EMERT AND JOSE
   BADILLO
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This is a call transcript betw Rob Emert and Jose Badillo on 04/F '        119


In the below excerpt, Jose Badillo confirms that ODA Balerio did not disclose to him the interview that she
had with Bryce where it appears Bryce recorded the conversation. Jose Badillo filed a motion to compel all
discovery. This is DOA Balerio withholding exculpatory evidence. There is a link below for the full audio
recording.

  00:07:37 LJose badillo}

  Not yet. Like I'm still looking at the different angles we have and then I'll approach. I'm actually talking to
  her on a different case. So we've been in communication.

  00:07:46 {rob emert}




  And it's it's again, it's not about me, not it's about bryce telling me he's hurting. You should.

  00:07:49 LJose badillo}

  Well, that's like you said from day one.

  00:07:51 {rob emert}

  You should talk to him, man. It's like it's it's this is. This is horrible. Did. Did. Did she ever, did she ever :
  tell you about her conversation with Bryce?

  Uose badillo} •

   NO :

  00:08:01 {emert} :
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   Audio file
   041323 ma rk 17 dda balerio didnt disclose to badi llo.mp3

   Speaker 2 rob emert

   Speaker 1 jose badillo

   Tran script
   00:00:08 EMERT

   Hey, jose it's rob. How are you?

   00:00:10 BADILLO

   Good buddy. What's up? How you feeling?

   00:00:13 EMERT

   Horrible. Yeah. So, I mean, I'm thinking the the COVID thing is another reason to to withdraw my plea
   when I.

   00:00:22 BADILLO

   When did the?

   00:00:24 BADILLO

   When did you get the diagnosis?

   00:00:27 EMERT

   Yeah, I know. I mean, the day after I was, like, totally sick, it started like right after. So I did one of those
   home test things. And so it came back positive. And I just like, oh, that sucks. But 11 didn't really think
   much about it is because most of those home tests aren't all that accurate. So it's like, yeah, whatever.
   Because I think this home test, I think most of the tests.

   00:00:46 EMERT

   It's the coronavirus, so it's like if you have any kind of virus, it can still set it off or something, but UM,
   but I went over to the UM.

   00:00:56 EMERT

   To the CVS and got a test for it too, so I'll probably get that back in.

   00:01:00 EMERT

   A day or so, but the.

   00:01:02 BADILLO

   Or you did the.
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   00:01:03 BADILLO

   Not only the the home one you.

   00:01:05 BADILLO

   Did the one that the the CVS.

   00:01:07 EMERT

   Yeah, went to CVS, but I'm sure we're going to come back and say it was.

   00:01:11 EMERT

   After the fact, but.

   00:01:13 {rob emert}

   You know, 11 talked to andrea and she acted like she's going to be all super.

   00:01:18 {rob emert}

   Nice about everything.

   00:01:19 {rob emert}

   But Bryce is coming undone. Dude, I'm telling you, she's Andrea is a piece of work.

   00:01:25 {rob emert}

   And now from my understanding is that in the in the in the agreement that she's working on to get to
   you and everybody else, basically trying to beat me with into the ground, basically saying that admitting
   that I was wrong and how basically I never had any right to take bryce.

   00:01:45 {rob emert}

   Those and all the stuff about the court is********. So then she can get, you know, all the corruption. I
   was wrong and mistaken. She's trying to get me to admit all. That's something she can shove it and
   bryces face.

   00:01:57 {rob emert}

   And and and just beat him down.

   00:01:59 {jose badillo}

   They're trying to include.

   00:02:00 {jose badillo}

   That in the.

   00:02:01 BADILLO

   Some type of the stipulation.
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   00:02:04 {rob emert}

   I mean I I could I I could be wrong, but that's what it sounds like because Bryce andrea is basically
   hounding Bryce. So your dad's going to sign something where he's admitting he was completely wrong
   and Bryce is now flipping out.

   00 :02:05

   00:02:19 EMERT

   And this is this is what I'm talking about. What's going on here to Bryce is so wrong.

   00:02:25 EMERT

   I seriously. I mean, I almost, I mean, I mean, if I told you how I really feel, I mean that you would be
   really upset. You'd be really sad and upset. These people have****** over me and my kids and I know
   what you mean is really bad position then. But I need you to really fight hard for me. 11 just can't, you
   know, you fighting for me and fighting for bryce.

   00:02:45 EMERT

   Place and he needs this whole thing is so upside down.

   00:02:51 EMERT

   That I mean, so everybody to harass this boy. It it doesn't make any sense.

   00:02:57 EMERT

   And now she's got even, you know, now she's going to keep harassing him. And I just, 11 don't know
   what to do . Ma'am, do you have any good news about you haven't?

   00:03:07 BADILLO

   Do you know when they're going?

   00:03 :08 BADILLO

   To like you said.

   00:03:09 BADILLO

   The medical issue I got your check this morning so.

   00:03:11 BADILLO

   I'm looking into that.

   00:03:13 BADILLO

   But if you.

   00:03 :13 BADILLO

   Could get me with the test. Did you take a photo?
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  00:03:16 BADILLO

  Of the other one or no .

  00:03:19 EMERT

  So it's funny.

  00:03:21 BADILLO

  You know, I probably can pull out the trash can. We can at least just so that we have that and hopefully
  we'll see what the other one says. Once you get back. When are you getting that back?

  00:03:32 EMERT

   Probably tomorrow I would, I would guess.

  00:03:34 BADILLO

  Could you? Wouldn't you take it yesterday or today?

  00:03:36 EMERT

  today

   00:03 :37 EMERT

   So, but I mean it didn't, you know?

   00:03:39 BADILLO

   So they might.

   00:03:39 BADILLO

   Be might be able to get it by tomorrow.

   00:03:42 EMERT

   Between you and I, I had COVID for sure because yeah, I I'm.

   00:03:45 BADILLO

   Thanks for letting.

   00:03:46 BADILLO

   Me know, man.

   00:03:47 EMERT

   No, no. And you know, I didn't know it at the time. And you know, of course I, you know, I didn't.

   00:03:52 EMERT

   Know it but.
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                                                                                                            124




   00:03:52 EMERT

   I I didn't feel well, but what happens when you're in jail? I don't know.

   00:03:55 EMERT

   If I told you this when you're in jail, you tell them, yeah.

   00:03:59 BADILLO

   It's going to.

   00:04:00 BADILLO

   Quarantine your.

   00:04:01 EMERT

   Oh yeah, it's******* horrible. I said like, hey, you're so good. They're like, you know, so, you know.

   00:04:05 BADILLO

   So I hear.

   00:04:05 BADILLO

   You here and if.

   00:04:06 BADILLO

   You tell them you have a headache. They're just going to put you in quaranteen.

   00:04:09 EMERT

   Yeah, it's horrible, but I've been.

   00:04:11 BADILLO

   But let me yeah, give me that stuff. If you could take out the trash and take a photo. I'm actually about
   to take off right now, so send me the stuff and then we'll touch base tomorrow.

   00:04:20 EMERT

   OK. What do you think the chances are? I'm pretty.

   00:04:23 BADILLO

   Sure, the judge though, man, those are tough. Those are really tough, like I said.

   00:04:27 BADILLO

   I'm looking at every you know, angle we can. So let me continue to do that. Like I said, I'll be honestly,
   it's going to be tough, but we'll see what we can do.

   00:04:36 EMERT
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                                                                                                            125




   OK, because the judge is going to.

   00:04:37 EMERT

   Say*******.

   00:04:37 EMERT

   Now, so when he does that, then I.

   00:04:39 EMERT

   Just have to appeal that, I would imagine.

   00:04:42 BADILLO

   Right. Like I said, if you want.

   00:04:43 BADILLO

   To go down that road, but let's try to get everything together. Then we'll put our heads together and
   then see what we can do.

   00:04:48 EMERT

   Do you think if I basically did, if I just plead to a misdemeanor, do you think the DAand said that this guy
   will stop it and and he'll lose any legal rights to suing and all that stuff? Do you think she'll maybe go
   down that road?

   00:05:02 BADILLO

   I don't think so, but like I said, let's.

   00:05:05 BADILLO

   First see you.

   00:05:06 BADILLO

   Know what kind of leg we're standing on, and then we.

   00:05:08 BADILLO

   Can decide kind of strategize what we're going to do.

   00:05:11 EMERT

   OK, what's your feelings on it? So if I know, you're gonna go so.

   00:05:13 EMERT

   Thanks for picking up on that. Thank you.

   00:05:13 BADILLO

   No, I think it's going. It's going to be.
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                                                                                                               126




   00:05:15 BADILLO

   Tough it's an uphill.

   00:05:16 BADILLO

   Battle. So like you said, there needs to be some really stronger basis. But you know the medical thing,
   the, the red thing, we'll see.

   00:05:21 {rob emert}

   I really did. I had no idea. I mean, I really, I mean, and they're sitting on. I mean, here's the thing.

   00:05:28 {rob emert}

   And you know.

   00:05:28 {rob emert}

   What they were sitting on, I mean.

   00:05:31 {rob emert}

   That DA is torturing my kid and she basically told you. Did you listen to that thing? Where where bryce,
   talk to her. And she said, oh, I promise I would have this have a say and then now and then she turns
   around and and doesn't let him in. I mean, when all that gets leaked out, man, she's going to look like an
   idiot. And you know what I mean? And.

   00:05:51 {rob emert}

   You know, there's a lot of people out there with their time just waiting to put that information out
   there. And so it's not like although I've lost at this point pretty bad. You know, I can still keep going for a
   very long.

   00:06:03 {rob emert}

   Fine, I'm fighting, but I'm trying, you know.

   00:06:05

   No, I know.

   00:06:06 ijose badillo}

   I think we made it, but like you said, you're trying to prevent that from happening and then we could
   resolve it a different way.

   00:06:11 {rob emert}

   Yeah. And I just, I'm giving up a lot by by trying to be the bigger person. But right now, bryce is losing. If
   you heard him crying and calling everybody, so please don't let my dad give up on me because he thinks
   I'm giving.

   00:06:23 {rob emert}
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                                                                                                              127




   Up on him.

   00:06:25

   Right.

   00:06:25 EMERT

   And he's like flipping out. And he's saying, you know, it's going to happen, is if he ends up killing himself.

   00:06:31 EMERT

   It's going to be on all these, all these people.

   00:06:34 EMERT

   And it's it's it's like he doesn't want to be with his mom. The fact that CPS or somebody hasn't stepped in
   to say you guys, this is what's going on here. This is really, this is so insane. Put him with his dad. His dad
   raised him and that's what I don't understand is why are we going to cps? Why are we getting an autism
   pecialist to talk to him and say?

   00:06:54 EMERT

   He's going to say, put him with his dad and that's why I'm calling you. It's good. There's something really,
   really wrong here. And maybe it's because I didn't have enough money to pay you more money to to get
   to research the stuff more. 11 just don't know. And I'm just really desperate.

   00:07:10 BADILLO

   All right. Like I said, we'll put our heads together. I'll keep looking at the stuff and then.

   00:07:14 BADILLO

   We'll touch base tomorrow.

   00:07:15 EMERT

   OK. And nothing actually goes in. I thought it did. The sentencing was next month. So I thought until it it,
   it goes into sentencing I can withdraw the plea.

   00:07:24 BADILLO

   You have time before the sentencing. Then there's also a time period after. But like you said, if you're
   going to do it, I think you should be done before the sentence.

   00:07:32 EMERT

   OK. Have you talked to the DA to workout, any kind of magic there deals there or she comes?

   00:07:37 Gose badillo}

   Not yet. Like I'm still looking at the different angles we have and then I'll approach. I'm actually talking to
   her on a different case. So we've been in communication .

   00:07:46 {rob emert}
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                                                                                                                     128




  And it's it's again, it's not about me, not it's about bryce telling me he's hurting. You should .

  00:07:49 Uose badillo}

  Well, that's like you said from day one.

  00:07:51 {rob emert}

  You should talk to him, man. It's like it's it's this is. This is horrible. Did. Did. Did she ever, did she ever
  tell you about her conversation with Bryce?

   Uose badillo}

   NO

   00:08:01 {emert}

   See, there's something weird there because that's huge right there. That she didn't disclose that, but I'm

   going to let you know if I appreciate you picking up. So what you.

   00:08 :09 EMERT

   Gonna call you gonna call me tomorrow?

   00:08:09 BADILLO

   Alright buddy.

   00:08:10 BADILLO

   Yeah, we'll chat today, tomorrow.

   00:08:12 EMERT

   Alright, thanks. Bye bye.

   00:08:13 BADILLO

   Bye bye. Take care.
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                                                                          129




   D.   04/25/23 TRANSCRIBED CALL BETWEEN ROB EMERT AND JOSE
   BADILLO
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This is a transcribed p. £1e call between Rob Emert and >, "e Badillo on                                       130

04/25/23

There is a link to the full audio file on the transcript below.

At time stamp 7: 40; any reasonable person will clearly hear and read that
Jose Badillo references the deal as part of the plea agreement where Bryce
was to come home.
  00:07:40 Uose badillo}

  Like I said, I don't t hink she and in my conversation with her with your ex like I said.

  00:07:46 Uose badillo}

  She's on record talking to myself and the DA. As t o you know, what she wants you out of you and w hat
  she wants in regards to your participation in bryces life . She wants that she wants help. She needs help.
  So like I said, she told that directly to myself_

  00:08:01 Uose badillo}

  And to the DA.



  Now she's

  00:08:04 Uose badillo}

  Saying t hat now she trying t o backtrack that then that's a

  00:08:07 Uose badillo}

  Whole differen t ball.

  00:08:07 Uose b adillo)

  Game. You know what? Because then, like I said, if t he turn . Yeah. It puts her t ight spot.

  00 :08:08 Speaker 1

   Right. she's just complet ely b ackpedaling.




   00:08 :12 {rob emert)

   But what she's doing now is basically saying she wants me t o dro p everything before she'll even come to
   the table. Basically now. So I have my appellet court c ase .

   00:08:18 Uose bad illo}

   W hat do you mea n drop everything?
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                                                                                                          131




   Audio fi le
   042523 1040 920 6 and 430 marks badillo.mp3

   Speaker 1 rob emert

   Speaker 2 iose badillo

   Transcript
   00:00:00 EMERT

   Hey man, thanks for calling.

   00:00:02 BADILLO

   Hey, I called you this morning.

   00:00:03 BADILLO

   Your call went straight to voicemail.

   00:00:06 EMERT

   Yeah, that's weird.

   00:00:07 BADILLO

   Yeah. And I'm in. I was in court. That's why I didn't answer your phone call. So I'm not sure why you're
   accusing me of things.

   00:00:14 EMERT

   Well, yeah, I I just, 11 hope I'm wrong, so I'm, I'll apologize if I'm wrong.

   00:00:19 EMERT

   It's just it's.

   00:00:19 EMERT

   It's been a long time and and and I'm just really frustrated.

   00:00:24 BADILLO

   Well, I know you have been frustrated since the beginning. I know that. I know what what you're about.
   So I understand that.

   00:00:31 EMERT

   The UM.

   00:00:33 EMERT
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                                                                                                            132




   So if you figured out because 11 know you're in a tough spot, you know, I just know you're in a bad spot
   too. And I know that there are certain things that you can or can't do. I mean, I know I've talked to
   retired judges. 11 know what's going on here. So I'll give you credit.

   00:00:47 EMERT

   That you know exactly what's going on too.

   00:00:51 EMERT

   I've I've read up on the law. I mean, I'm not, you know, the smartest tool in the shed, but I'm not stupid
   either.

   00:00:57 EMERT

   UM, you know, I've read up on withdrawing my plea. And what the prosecutor did and what the judge
   has done that was, it's a railroad job. I mean, this is a real, railroad job.

   00:01:10 EMERT

   So I don't know if you know what you can do or willing to do to help me.

   00:01:18 BADILLO

   Well, it is like a tough situation in the sense. Like I said, it's.

   00:01:22 BADILLO

   Depending on what you're alleging, like you said, it's hard. Usually when these type of situations come
   up, it would be a different attorney that files a motion to withdraw the plea.

   00:01:34 BADILLO

   Like I said, you're claiming different things. You know, whether it's duress, the COVID, which is kind of a
   combination of both. You know, obviously those are grounds in order to do it. The issue is whether it's
   going to be sufficient.

   00:01 :47 BADILLO

   You know, like I said, it's going to be a tough uphill battle, as you know, whether the judges even grant
   this.

   00:01:54 BADILLO

   That's what we had talked about from the beginning, whether you wanted to go forward with it,
   whether you just wanted to see what happened, if we file it, you know, they could always ask to put you
   back in custody. Like so we don't know what's going to happen yet.

   00:02:07 EMERT

   Yeah, they they can put them back in custody and they probably will. But you know the they they never
   had and this that was my concern is that basically somebody said and I don't know if this is accurate or
   not, somebody said that the judge threw out.
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                                                                                                              133




   00:02 :23 EMERT

   Something to do with the the FBI call or something like that. I never heard that. But the fact

   that. 00:02:29 BADILLO

   No, we said the judge.

   00:02:31 BADILLO

   Indicated during the rulings that that likely would not be coming in against you. That would be a trial.

   00:02:39 BADILLO

   That it was not relevant in regards to the charges against.

   00:02:44 EMERT

   But that's what was keeping me on no bail for 90 days, which was.

   00:02:47 BADILLO

   But that's different. That's different whether it's an evidentiary issue in regards to the charges and the
   other issue is in regards to bond, those are separate issues he didn't like throw it out of the, you know,
   the entire case. It was just something that was not going to be allowed to present it to the jury for them
   to consider.

   00:03:06 EMERT

   Well, here's my.

   00:03:07 EMERT

   Here's a question that I never would have been an answer to is that basically.

   00:03:11 EMERT

   You know, I know. And you know, and you, you don't have to admit it. I'm. But you need more credit,
   you know. But basically what the DA has done is just.

   00:03:20 EMERT

   Unethical and probably illegal.

   00:03:23 EMERT

   They sat on that, that evidence of the conversation she had with Bryce, which easily exonerated me on a
   lot of fronts.

   00:03:33 EMERT

   They sat on the transcripts.

   00:03:35 EMERT
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   You know, because what I said was not a threat. And I know that the Constitution, what I said was

   constitutionally protected.

   00:03:42 EMERT

   And it was not a.

   00:03:42 BADILLO

   So you did say Second Amendment you.

   00:03:44 BADILLO

   Did say that.

   00:03:45 EMERT

   I did. You know, you're you're correct. I did I.

   00:03:47 BADILLO

   If you say you you initially say you know your rights under the Constitution, but later on in the
   conversation you do know you do stay there. I know.

   00:03:56 BADILLO

   My Second Amendment rights.

   00:03:57 EMERT

   Right. And there's nothing wrong in saying that it wasn't a threat. I'm allowed to say that.

   00:04:02 EMERT

   OK. And they know it and they know it too, and I know you know it. I know what I said. I'm allowed to
   say. And then that that's not a threat. They took it out of context and it kept me in jail for 90 *******
   days and almost killed me. And I got******* COVID.

   00:04:17 EMERT

   And not doing so good .

   00:04:20 EMERT

   And you know my these people .

   00:04:22 BADILLO

   At the end of the day, like what?

   00:04 :24 BADILLO

   Is the game plan. What do you want to do? Obviously you want to file the motion to withdraw the

   plea. 00:04:30 EMERT
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                                                                                                          135




   Well, how come? But here's something that I everybody keeps asking me and 11 never really got an
   answer, is that when I was in there for 90 days.

   00:04:38 EMERT

   And all we had to do was get that transcript.

   00:04:41 EMERT

   To show that it clearly wasn't a threat.

   00:04:43 BADILLO

   That's not clear. That's that's why you're saying like that. They're obligated to turn over Discovery,
   obviously, for trial. Obviously, we didn't waste time. Which things get? You know, this is part of the
   court, to be honest, things like this happen . You know, whether it was unethical, whether you believe it,
   you know, it's illegal. The whole different argument.

   00:04:56 EMERT

   OK.

   00:05:03 BADILLO

   To be had. But we had it. The tape does not exonerate.

   00:05:07 BADILLO

   Great to you .

   00:05:08 BADILLO

   It gives some context as to what the full conversation is, where there could be some potential
   arguments to be made, but it does not exonerate.

   00:05:17 EMERT

   It makes her look really bad because she went to the judge and was basically saying we can't have Bryce
   testify and she's on that recording basically saying how great Bryce is doing and how she's going to let
   him testify.

   00:05:31 EMERT

   Talking out of both sides of her ass.

   00:05:34 EMERT

   And to do that to a child when she knows where Bryce is really at and then running to the judge saying
   that me and my family are the ones that are stirring the pot when she talks to me directly knows that's
   not true.

   00:05:47

   Right.
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   00:05:48 Speaker 1

   What a sack of****.

   00:05:49 BADILLO

   No, like I said, that's a different argument that needs to be made if you're going to make that that
   separates in the bond issue, that's separate then.

   00:05:57 EMERT

   Well, I'm going to make. I'm going to make that issue and it's going, that information is going to get out
   there and I'm going to hold these people accountable and there's.

   00:06:03 EMERT

   Going to try to probably throw me in.

   00:06:04 BADILLO

   Well, like I said, we need to decide what you want to do.

   00:06:07 BADILLO

   Like you said, you really want to file that motion you indicated before. You want to kind of use it. Try to
   use it as leverage. Or do you want to actually file it?

   00:06:15 EMERT

   Well, I'm asking. Well, you're an attorney, and you're supposed to be a really good one. And I believe
   you. So I'm trying to figure out what.

   00:06:21 BADILLO

   Well, you just to be honest, I don't think that it's going to be granted, it can be filed . Yes. Then like you
   said, you know, you have some other appellate ground that you can do stuff if you wanted to.

   00:06:32 BADILLO

   You know, the last conversation we had you were saying? Yeah. You want to do it, but not really that
   you want all this to end you, that you don't want to appeal it either. You know, it just depends on what
   you want to do.

   00:06:42 BADILLO

   Like I said, do I think this is a strong argument where you're going to prevail? No. Can you file it? Yeah.
   The issue is what you want to do.

   00:06:50 EMERT

   OK. So you're saying that the fact that I was under duress and 90 days in jail and I was trying to get out
   to basically do with the family Court, the judge is basically even saying you're saying and the prosecutors
   saying that, oh, everything is going to default to family, family court and .
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   00:07:08     EMERT

   And then I realized .

   00:07:08 BADILLO

   And when we talked about that, we can always go back to modify the protective order, like you said if.

   00:07:14 BADILLO

   We get the documentation from her saying, hey, you know what, we're setting up a plan where you're
   going to be able to see bryce and there's no.

   00:07:22 BADILLO

   Issue in regards to family court to having you not being able to see him then we just modify in Criminal
   Court like you said the DA and I think the Court now realizes that your son wants to be with.

   00:07:34 BADILLO

   The issue is doing that but doing it in a lawful manner ensure everything is done correctly.

   00:07:40 Uose badillo}

   Like I said, I don't think she and in my conversation with her with your ex like I said.

   00:07:46 Uose badillo}

   She's on record talking to myself and the DA. As to you know, what she wants you out of you and what
   she wants in regards to your participation in bryces life. She wants that she wants help. She needs help.
   So like I said, she told that directly to myself.

   00:08:01 Uose badillo}

   And to the DA.



   Now she's

   00 :08:04 Uose badillo}

   Saying that now she trying to backtrack that then that's a

   00:08:07 Uose badillo}

   Whole different ball.

   00:08:07 Uose badillo}

   Game. You know what? Because then, like I said, if the turn . Yeah. It puts her tight spot.

   00:08:08 EMERT

   Right. she's just completely backpedaling.
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                                                                                                                    138




   00:08:12 {rob emert}

   But what she's doing now is basically saying she wants me to drop everything before she'll even come to
   the table. Basically now. So I have my appellet court case.

   00:08:18 {jose badillo}

   What do you mean drop everything?

   00:08:22 BADILLO

   Oh yeah, the family court stuff.

   00:08:23 EMERT

   Right. And then I have the lawsuit that's hanging out there, which this is the the main reason why they
   they they coerced the.

   00:08:31 EMERT

   The guilty plea, I mean it's because they, they, they, they you know, these people know they're going to
   get sued and the the guilty plea I probably it's going to be really difficult way to sue and they know that
   and so you know again I just I had I mean I really don't have I mean I don't have any experience with like
   Criminal Court.

   00:08:51 EMERT

   Or guilty pleas of felonies and all that stuff. Just saying. I really didn't understand at all, given the fact
   that I was under duress and I had COVID and I just was getting pummeled with for 90 days in jail. I didn't
   realize how bad this can affect my life.

   00:09:08 EMERT

   And and I wouldn't be able to get any custody like was talked about.

   00:09:15 EMERT

   In the when we were talking like like for example the everything was supposed to default to family
   court, but then it still has that protective order on there that was never part of the deal.

   00:09:25 BADILLO

   I know well. We talked about that. We talked about that in detail.

   00:09:30 BADILLO

   Like I said, I don't know. I understand what you're saying. I understand the ground you have, but what
   I'm telling you is that all this was explained to you. I explained it to you. Michelle explained it to you. We
   had long conversations about it. I even told you, hey, if you don't want to do it, let's move forward with
   trial. Like you said, this was your decision. I understand what you're saying now.

   00:09:50 BADILLO

   But that's why I'm saying it puts us in.
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   00:09:52 BADILLO

   A tight spot.



   00:09:54 BADILLO

   But if you're saying it's based on duress, COVID and all that, that's a.

   00:09:58 BADILLO

   Whole different sort.

   00:09:59 EMERT

   Well, no, I'm just saying that. I mean, it's like again that I mean I just there's no way and after sitting in
   jail for 90 days and I'm just seeing this crazy.

   00:10:08 BADILLO

   No, I completely understand what your argument is. I do like. I'm not disputing that.

   00:10:14 EMERT

   How come we never? Because everybody keeps asking me that when even when we finally got the full
   transcript in, how come we didn't file for a motion to get out on bail?

   00:10:26 EMERT

   Because the judge could clearly see there was never any threat or why didn't we ever call the FBI guy or
   bring him into a subpoena to show there wasn't a threat? And I guarantee you, the DA.

   00:10:38 BADILLO

   He's not indicating his what the courts going to consider in regards to what was said by you, you know,
   hey, the FBI goes out. I didn't believe. I didn't think it was true. But in regards to the information that's
   been presented and then based on the conduct of the case regarding not complying with the court
   order, those are what they're looking at in its totality.

   00:11:00 Speaker 1

   Right. But the totality is that's a funny point you make there because the totality is that that this is an
   ongoing investigation for almost a year.

   00:11 :11 EMERT

   That the judge and the.

   00:11:12 BADILLO

   I understand that I said, like you said.

   00:11:14 BADILLO
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                                                                                                        140




   I understand what you're saying. Like I said, we argued it. The court denied it.

   00:11:20 BADILLO

   Like that, we still don't even have the transcript.

   00:11:25 EMERT

   Which transcript?

   00:11:27 BADILLO

   Of the phone call, we.

   00:11:27 BADILLO

   Just have the actual phone call.

   00:11:32 EMERT

   Uh, the one that the one that they took, the one.

   00:11:34 EMERT

   Out of context.

   00:11:35 BADILLO

   Right now, now we have the the recording before we didn't have the recording.

   00:11:41 BADILLO

   We just had that blurb in the report.

   00:11:43 EMERT

   Yeah, but when they turn that back over to us, why didn't we then basically?

   00:11:48 EMERT

   Try to get out on bail.

   00:11:49 EMERT

   Why did we? You know, I mean.

   00:11:51 BADILLO

   That we're in the middle of trial, that's could have been something once that evidence is presented that
   that's going to be grounded in o rder for a change of circumstance.

   00:12:00 BADILLO

   That's a whole separate

   issue. 00:12:02 EMERT
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   I know, but I mean like when I was sitting there and asking like, when they're pushing that deal. And I'm
   like, thinking why? And I kept asking why are we not asking to get out on bail now since we have the full
   transcript?

   00:12:15 BADILLO

   Because like you said, we have different interpretations. You think it completely exonerates you and it
   doesn't.

   00:12:24 EMERT

   Well, everybody, I even the FBI guy, basically says you're not. You're deemed to not be a threat and
   there's no way that the DA didn't know that. There's no way they didn't call that guy that I met with
   basically to figure that out. And I have to just forward those records and and ask them comes about
   what you didn't basically call that guy.

   00:12:43 EMERT

   By to to basically exonerate me to for and to do to get that information.

   00:12:48 BADILLO

   It's not an exoneration. It's not a you have to look your what? The judge looks at and what you're saying
   are two different things.

   00:12:56 EMERT

   So you you really I mean because again I know.

   00:12:58 BADILLO

   I'm not saying I agree with what they're saying. I'm telling you what the judge is looking at.

   00:13:04 BADILLO

   That's why when we got the information.

   00 :13:07 BADILLO

   It puts it in a different context. Yes, I agree with that, but that's like in trial where we're going to be,
   we're like sitting in the middle of trial like about to start.

   00:13 :17 BADILLO

   And we're about to present evidence, and the judges can exclude that .

   00:13:23 BADILLO

   And we're either going to move forward or.

   00:13:25 BADILLO

   Not move forward.

   00:13:26 EM ERT
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                                                                                                        142




   They can exclude it and then you make your objection now. And so then it goes to an.

   00:13:29 EMERT

   Appeal the appellate court.

   00:13:30 BADILLO

   No, no, no. I know that well, we did object for him not letting Bryce come in because that was the whole
   issue.

   00:13:37 BADILLO

   And I think we were going to readdress the issue to try to.

   00:13:40 BADILLO

   Still get him to testify.

   00:13:42 BADILLO

   Like I said, certain things weren't litigated because you decided to resolve the case.

   00:13:49 BADILLO

   There were still things in limbo that.

   00:13:50 BADILLO

   The judge hadn't completely ruled on.

   00:13:54 BADILLO

   Hey, let me call you back in a few.

   00:13:55 BADILLO

   I gotta go back in, OK?

   00:13:56 EMERT

   OK.

   00:13:57 EMERT

   Alright, bye.
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                                                                          143




   E.   05/01/23 TRANSCRIBED CALL BETWEEN ROB EMERT AND JOSE
   BADILLO
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                                                                                                      144
05/01/23 transcribed phont ...all between Rob Emert and Jose Badillo. THERE IS A LINK DOWN
FURTHER TO THIS ENITRE recording. In listening to this call, and the other 3, any reasonable
person knows a deal for Bryce coming home was discussed as part of the plea agreement.




At time stamp: 4:23; there is reference to the plea deal agreement

{Rob Emert} And so, you know, she's trying to come in with unclean hands to a deal. She wants me to drop
like my lawsuits, drop, my appeals. She wants me to drop everything before she even comes at the
table. And I didn't say. 00:04:37 {Rob Emert} This to her but. 00:04:38 {Rob Emert}
I mean, come on. That, that's that's not how people make agreements. That sounds more like fucking
blackmail. 00:04:43 {Rob Emert} I don't know what it sounds like, but it doesn't sound. 00:04:45 {Jose
Badillo} Is that an e-mail or is that per the conversation? 00:04:48 {Rob Emert} That's all in email 00:04:50
{Rob Emert} Yeah. So, yeah, so now she's backpedaling and I'm like, and I I didn't, you know, I was super
nice.


At time stamp 6:51; there is reference to me being concerned over the "plea agreement" that is nothing like
what was discussed. I tell Jose Badillo that with this "plea agreement", it is discovered that the ramifications
can have huge negative impacts on my parental rights in family court which was NEVER discussed with me
and Jose Badillo blows it off and acts like this plea deal WILL NOT have negative impact on my parental
rights in family court. At the 11/20/23 hearing, Jose Badillo stated clearly that he informed me of the
potential negative consequences of this plea agreement on my parental rights and this reference clearly
states the opposite. In addition, in this section, Jose Badillo goes on to say that Andrea Schuck is on the
record as speaking with him and the DA 'about the agreement and if she is backpedaling on the deal, that is
an issue.

00:06:51 {Rob Emert}
And you know, when I when I realized that it was, I mean, it was explained to me that you're not going to
get anything in family court with a freaking felony charge of this nature. And. And I'm like, well, yeah, I
didn't know that it wasn't explained. I, you know, I I just took.
00:07:06 {Jose Badillo}
I don't know where.
00:07:07 {Jose Badillo}
You're getting that from like you said.
00:07:10 {Rob Emert}
Felony kidnapping. They're not going to give me anything.
00:07:14 {Jose Badillo}
Like you said, you're not charged with kidnapping from the beginning. Like you said, the way will be
resolved. The conversation we had with the DA that I explained to you, you know, many times, like you
said, she's on the record talking to the DA and I. That's why I'm asking if you have those emails, because if
she's backtracking on that. 00:07:35 {Jose Badillo} Obviously that could be an assistance for you in regards
to whether you have a viable motion to withdraw your plea.
  Case 3:24-cv-00002-AGS-AHG Document 1 Filed 01/02/24 PageID.145 Page 145 of 181
                                                                                                             145
At time stamp 16:33; this is a rderence from Jose Badillo indicating for Rob Emert to send him the emails
about Andrea Schuck backpedaling on the deal that was part of the plea agreement.

At time stamp 16:58; this is a reference from Jose Badillo who indicates that both he and the DA know that
Rob Emert resolved the case based on the conversation that Jose Badillo and the DA had with Andrea
Schuck where Andrea Schuck indicated she wanted Rob Emert out of jail because she needed help with
Bryce. At time stamp 17:09, Jose Badillo goes on to explain if Andrea Schuck is backpedaling on that and
not agreeing to the deal as part of the plea agreement, this could be an issue.


00: 16:33 {Jose Badillo}
Why don't you do this?
00:16:35 {Jose Badillo}
Forward me the e-mail you had with Andrea in regards to the issue that you were talking about about
her backpedaling
00: 16:43 {rob emert}
Yeah, yeah. Now I'll send them right over to you. And she basically says.
00:16:46 {rob emert}
In a nutshell.
00: 16:46 {jose badillo}
We're targeting those issues and we can see what we're going to do.
00:16:50 {rob emert}
OK. Because then the deal basically was like it says the default to family court and it's is it in the? 00: 16:55 {Jose
Badillo}
But also the thing with that is I'm.
00:16:58 {jose badillo}
Sorry, the DA knows. 00:17:00 {jose badillo} That you resolved the case based on the conversation she and I
had with Andrea. So if she is backpedaling on that and not agreeing to that, that could be an issue that can be
raised.
Case 3:24-cv-00002-AGS-AHG Document 1 Filed 01/02/24 PageID.146 Page 146 of 181
                                                                                                               146




   Audio fil e
   050123 5 and 120 marks bad illo (2.mp3

   Speaker 2 rob emert

   Speaker 1 jose badillo

   Tran script
   00:00:01 EMERT

   So what do you think? I mean again, 11 just, I wish you could kind of maybe pull a rabbit out of.

   00:00:06 EMERT

   Your hat. But I I you know, 11 just think it's probably that's probably best and I figure you'd be happy.

   00:00:12 EMERT

   To to get rid of the case and UM.

   00:00:15 BADILLO

   Being happy came with the case, like you said.

   00:00:18 BADILLO

   I've been asking you.

   00:00:19 BADILLO

   And like you tell me different things and.

   00:00:20 BADILLO

   You kind of go.

   00:00:21 BADILLO

   Back and forth, I think it is an issue if you're going to try to withdraw your plea.

   00:00:27 BADILLO

   Whether you know it was the arrest or you didn't understand, you know some of the things that's
   Harding me for me to argue with because I disagree with this.

   00:00:36 BADILLO

   And also I was.

   00:00:37 BADILLO

   There and I'm the one that was.
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                                                                                                            147




   00:00:39 BADILLO

   present, when you?

   00:00:41 BADILLO

   You know, sign the plea for.

   00:00:44 BADILLO

   So they're going to be asking me, you know, whether I felt you were under duress. And I feel that you
   understand.

   00:00:50 BADILLO

   The plea agreement that you know your rights and consequences, which you acknowledged in front of
   the judge, which I acknowledge, so I'm not going to change my stance to say, you know what?

   00:01:02 BADILLO

   I felt he was under duress because like I said, only you can attest to that because that's you under, you
   know, your mindset, having time to think about it, think to that nature. And as I told you from the
   beginning, it's going to be an uphill battle, you know, it's going to be definitely not feel battle as to
   whether you know you're going to prevail on it. That's the same thing you talked about.

   00:01:23 BADILLO

   Whether you want to go through with this, you want to just end it. You want the stress.

   00:01:27 BADILLO

   You only want to deal with the family court. Like you said, you kind of gone back and forth several times.
   It's just a matter of what you want to do. I think if you're going to move forward with trying to w ithdraw
   your plea, it probably is best that you have a different lawyer doing it, whether it's a public defender or
   you hire someone else, that's up to you.

   00:01:50 EMERT

   Yeah. No, I mean I, I've. I've gone through it and I've I've done my homework on all this kind of garbage
   and it's just.

   00:01:56     EMERT

   Like, yeah, I mean I.

   00:01:59 EMERT

   I've gone through some of the stuff you've sent over to and it's just the stuff the DA has said. I mean, like
   one of the most one of the things is.

   00:02:06 EMERT

   When you read their complaint.
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   00:02:08 EMERT

   It's like they're acting like I'm a crazy man talking about how the whole system's corrupt and all that
   ********. And even in the first phone call.
   00:02:17 EMERT

   That I listened to that I had with Macintosh. It's like I even say hey, no, you know, 95% of the people. I'm
   sure out there doing a good job and are honest. But I said I'm dealing probably with the the you know
   the few 5% that you know I'm just getting hammered and you know so they just they they
   misrepresent.

   00:02:38 EMERT

   And it's like it's just disgusting. And I I know you see it, you probably can't comment on it, but it's just
   what they've done to to me and my family is just not OK with this. DA Person has done to Bryce when
   she knew the truth.

   00:02:54 EMERT

   I mean it. It's not OK. And I know that they'll probably try to do is, you know, if I withdraw my plea,
   they'll probably try to harass me to fill me back in jail, you know, because that's how they roll.

   00:03:03 BADILLO

   Right.

   00:03:06 BADILLO

   That's what something that probably gonna ask for, whether the judge will grant it remains seen like the
   the good thing for you is you know you've been out, there's been no issues. You've been in discussions
   with your ex in regards to, you know, them drafting some type of stipulation or.

   00:03:21 BADILLO

   Paperwork for family.

   00:03:22 BADILLO

   Court, you know, unless he's going to try to allege something else. As far as I know from what you've
   told me, there hasn't been any issues between you guys.

   00:03:31

   No, she, she.

   00:03:32 EMERT

   Backpedaled. It was really a bummer. 11 called her the first time and she it thing sounded really
   promising. And then there's been a bunch of communications thereafter where she's basically
   backpedaling and sending, sending me over. Like she said, she's working on something, but but she's
   also sending over.

   00:03:48 BADILLO
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                                                                                                         149




   OK.

   00:03:51 EMERT

   E-mail saying like you need to stop. You need to stop your mom and Cole and everyone else from
   stirring the pot with bryce, basically. And I'm.

   00:04:00 EMERT

   Like dude, I can't control everybody else. And you know, Bryce was fine. If you love him so much, he was
   doing fantastic with me, so why don't you let him come home and he'll. You'll see him every day at
   school and we can work this out and she won't. I mean, because that's how. That's how they roll. It's
   like, you know, that's how she roll.

   00:04:21 EMERT

   He knows, right?

   00:04:21 EMERT

   Now I'm stuck.

   00:04:23 EMERT

   And so, you know, she's trying to come in with unclean hands to a deal. She wants me to drop like my
   lawsuits. My drop, my appeals. She wants me to drop everything before she even comes at the table.
   And I didn't say.

   00:04:37 EMERT

   This to her but.

   00:04:38 EMERT

   I mean, come on. That, that's that's not how people make agreements. That sounds more like*******
   blackmail.

   00 :04:43 EMERT

   I don't know what it sounds like, but it doesn't sound.

   00:04:45 BADILLO

   Is that an e -mail or is that per the conversation?

   00:04:48 EMERT

   That's all in email

   00:04:50 EMERT

   Yeah. So, yeah, so now she's backpedaling and I'm like, and 11 didn't, you know, I was super nice. And on
   my emails because 11 don't want to**** her off. And you know, I'm being really nice. I'm just like saying,
   hey, this you know what I mean? And this is what's crazy about it. I'm like.
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   00:05:05 EMERT

   I even said.

   00:05:06 EMERT

   This is look, she's saying, like, acting like Bryce is being misbehaving.

   00:05:10 EMERT

   That's my fault. And I'm like, no, dude, 11 told him not to run away because that's how much I care about
   and love him . And I told him to try to get along with you. I mean, this is insanity if you would think I
   would, you know, say otherwise. And I said I said, think about this, Andrea, if I was able to go snitch
   Skyler because I had some court order saying it was OK.

   00:05:28 EMERT

   Me to do it and I want to go and****** Skyler and basically she was****** *** at me and my family
   and being resentful to us for snatching her and and, you know, turning her life upside down on what she
   wants.

   00:05:42 EMERT

   You know she.

   00:05:43 EMERT

   Would be disrespectful and and rightfully so she'd be pissed off and it wouldn't be right of me to do it. I
   would never do that to her. That's how much I love our daughter. And that's what you're doing to Bryce.
   Why is it OK for you to do it to Bryce? This is just insanity. And the fact that people sign off on it it is, is
   even more ridiculous, you know? But I don't waste your time.

   00:06:03 EMERT

   Because I just.

   00:06:04 EMERT

   You know, I I I'm going to withdraw it. It's just a matter of how I how I do it. I already have. I've already
   drafted it up best I could.

   00:06:14 EMERT

   To withdraw. UM. You know, you know because. Yeah, there's so many things that I that I went through
   and I've gone through the evidence that you sent over so far. You know I never even got to copy the
   plea deal and from what I can tell it's nothing even like what we've discussed.

   00:06:30 EMERT

   And even the judge, I mean, when you know from well the best I can recall, even the judge was saying,
   look, go back to. This doesn't belong here in Criminal Court, you know, get back to family court, work it
   out there and everything will default to family court. And I was so sick and tired I had COVID and that
   actually sounded somewhat plausible.
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   00:06:51 EMERT

   And you know, when I when I realized that it was, I mean, it was explained to me that you're not going
   to get anything in family court with a freaking felony charge of this nature. And. And I'm like, well, yeah,
   I didn't know that it wasn't explained. I, you know, I I just took.

   00:07:06 BADILLO

   I don't know where.

   00:07:07 BADILLO

   You're getting that from like you said.

   00:07:10 Speaker 2

   Felony kidnapping. They're not going to give me anything.

   00:07:14 BADILLO

   Like you said, you're not charged with kidnapping from the beginning. Like you said, the way will be
   resolved. The conversation we had with the DA that I explained to you, you know, many times, like you
   said, she's on the record talking to the DA and I. That's why I'm asking if you have those emails, because
   if she's backtracking on that.

   00:07:35 BADILLO

   Obviously that could be an assistance for you in regards to whether you have a viable motion to
   withdraw your plea.

   00:07:42 BADILLO

   You know, we can go back and forth about this all the time, all day. The question is, what do you want to
   do? Are you going to file it on your own? Do you want to be appointed a public defender? What do you
   want to do?

   00:07:46 EMERT

   Right.

   00:07:55 EMERT

   Well, 11 really what I'd like to do is you know the case, you know that I'm getting****** over big.

   00:08:02 EMERT

   Time, and I mean it's just, I mean anybody would dispute that was looking at the evidence is is ludicrous
   and you know, it's as dumb and for people to say like, I'm unhinged, I listen a bunch of those calls. It's
   like I'm not unhinged. I'm, I'm a pisssed off dad. I mean, I'm almost died because of what I've been put
   through. And this is just ridiculous.

   00:08:22 EMERT

   So what I would like to do is I.
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   00:08:24 EMERT

   I wish that I, you know, you're you're good at what you do. I know it. So I'm thinking that there's got to
   be a way to, you know, to work this out where you go to the DA and say, look, this guy is going to
   withdraw his plea. He's never going to give up and I won't give up. And when they, if they kick back my
   my withdrawal of my plea deal.

   00:08:45 EMERT

   I'm going to take you to the appellate court and I know it's going to take years, but I am not guilty of a
   felony. They******* know it. And when that judge was.

   00:08:54 BADILLO

   Robert, we had this conversation many, many times.

   00:08:59 BADILLO

   And I explained to you and I was we were ready to go. Like I said, we and I told you from day one about,
   you know, the case with our issues are where we're going to litigate. And you know, you're saying it's a
   guaranteed victory. I said no, it's not. No. Case is a guarantee. So I don't know if you didn't like that or
   what.

   00:09:19 BADILLO

   The issue was, but I'm being brutally honest with you as to, you know, if you wanted to fight the case, I
   was willing to go to the map for.

   00:09:27 BADILLO

   But I also know that you were going through a lot. I also know that you wanted the case to end. I also
   know that you cared about your son and you didn't want to put him through it. Like I said, and we
   explained all the consequences to you, and we did it several times. I did it the night before in jail. We
   took a long time before we even entered this plea because I wanted.

   00:09:47 BADILLO

   To make sure this is something you really wanted to do.

   00:09:51 BADILLO

   Like I said, I understand what you're saying and your frustration with the system, but you can't talk
   about things in absolutes because they're not. They're not known. You said anyone. Look, they said
   they're going to overturn it. That's not true either. We just don't know the issue for you is whether you
   want to move forward. Because if we start saying, hey, you know what, he's looking to withdraw.

   00:10:11 BADILLO

   Please just say. Alright, let him try to.

   00:10:13 BADILLO

   You know, put it on counter. She's not going to agree to it.
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   00:10:16 EMERT

   Right. Well, then I have to appeal it.

   00:10:18

   Was that?

   00:10:20 EMERT

   I can appeal it.

   00:10:20 BADILLO

   You know, I'm sorry.

   00:10:22 EMERT

   I can still appeal it and.

   00:10:23 BADILLO

   You could still appeal it, but what is that going to you think you're going to win on appeal?

   00:10:29 EMERT

   Well, when, with all the evidence, I mean, and this is what's what's kind of concerning to me is that even
   the judge looked like he was basically biased by basically saying I couldn't even. Basically, Bryce would
   not be able to testify that and the DA knew what Bryce was more than capable to testify. And then she
   said and she said that to bryce.

   00:10:50 EMERT

   I don't know if you listened that recording yet.

   00:10:52 BADILLO

   Like I understand what you're saying with this like the those.

   00:10:55 BADILLO

   Are factual issue.

   00:10:57 BADILLO

   You know, we had the inclination from the judge as to what his ruling was. That's something that could
   have been readdressed later. The whole issue about bryce t estifying, you know, all that could have been
   addressed because he hadn't ruled on that issue yet. So before we even raised that point like that, you
   made the decision to resolve the case.

   00:11:01 EMERT

   Right.

   00:11:16 EMERT
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   Yeah, under massive amounts of duress because at the same time I was saying, why aren't we doing a
   motion to Get Me Out on bail? Because we had the full transcript and the and the FBI guy even told me
   straight up I wasn't a threat, which he definitely gave that information to the DA and.

   00:11:33 EMERT

   She sat on it.

   00:11:35 BADILLO

   But we don't.

   00:11:35 BADILLO

   Even have that?

   00:11:36 EMERT

   Well, I mean it's out there because there's, I mean, if there's a threat, OK, 11 know what I did for like 2
   1/2, three hours and he called me back and said, yeah, determine you want a threat, dude. And so I
   FOIA'd that. But you could subpoena him or subpoena that record, and we could have done that when it
   was completed. And that again.

   00:11:55 EMERT

   And I had that that would have been like, dude, let the guy out on bail. There's no criminal history. I
   mean, he doesn't even own a freaking gun.

   00:12:02 EMERT

   Then to keep me in there with that is is******* and clearly.

   00:12:07 BADILLO

   I agree with you on that partner in regards to you being not being allowed.

   00:12:11 BADILLO

   Out, I agree.

   00:12:12 BADILLO

   With that part of this.

   00:12:13 EMERT

   Thank you. Thank you because.

   00:12:14 BADILLO

   That's why that's why you see, you also see the motion we filed that I included in the packet I sent you
   all the letters and the motion we filed for the bail issue.

   00:12:24 EMERT
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   Right. I mean the total it was of course and 90 days.

   00:12:26 EMERT

   In jail, dude, I.

   00:12:27 EMERT

   With a heart condition, my parents condition.

   00:12:31 BADILLO

   So OK, let's get back to what do you.

   00:12:33 BADILLO

   Want to do?

   00:12:33 EMERT

   Well, I want to withdraw it, and if there's anything because I'm not going to take a felony. I mean, I I
   didn't understand the ramifications of the felony because I just. That's not my life. I don't understand
   that kind of stuff.

   00:12:44 BADILLO

   OK, so if that's what you're arguing then like I said, you probably are going to need another lawyer. So
   I'm not saying that just to say it, I'm telling you, because if you're saying you did not understand the
   ramifications of a felony, that's something that's gonna have to be litigated.

   00:13:02 EMERT

   Yeah, well, what about Andrea's backpedaling?

   00:13:03 BADILLO

   And that's what you're saying, because in essence, what you're saying is that I did not advise you
   properly.

   00:13:11 EMERT

   Yeah, it it all. I mean, I was out of, I mean again I had COVID, OK, so I was, I mean, and I can prove that.
   So the fact that I was sick with COVID and 90 days in jail, nobody's going to be thinking that straight.

   00:13:24 EMERT

   You know what I mean? I mean, it was.

   00:13:25 BADILLO

   One . OK, let's go back like this. The things you're saying in regards to.

   00:13:31 BADILLO

   You know not understanding properly because that's.
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   00:13:36 BADILLO

   That's going to be have to be litigated, whether they're going to call me as a witness or what have you.
   Because usually with these type of situations, when someone is withdrawing plea on those type of
   grounds, there's going to have to be another lawyer involved.

   00:13:53 EMERT

   I won't even be able to get my licensing back.

   00:13:57 EMERT

   I mean, that's a big deal right there. I have licensing and mortgage lending and real estate. Oh, that's not
   going to. That's not going to******* happen.

   00:14:05 EMERT

   And you know, so and that definitely wasn't talked about, so you know.

   00:14:09 BADILLO

   Yes it was, we went over that with you

   00:14:10 BADILLO

   Plea agreement.

   00:14:14 EMERT

   Yeah, OK. Well, I don't. I don't remember that, but again, but if you, but if you have, if you have ideas
   like for example Andrea backpeddling like for example when I said I'm doing this for Bryce because I was
   trying to get out do this for Bryce and you know I was trying to help Bryce and now it's basically worse
   and he's begging.

   00:14:33 EMERT

   Everybody for help and nobody's******* helping them .

   00:14:37 EMERT

   And it's just it basically just kills me and every there's no way that anybody doesn't listen to voice
   recordings and what he's basically the investigative guy that I read that report from that guy, anybody
   that the guy that Bryce is crying for help and that DA could do all this *** ****.

   00:14:57 BADILLO

   He doesn't wanna be with her.

   00:14:58 EMERT

   Yeah, I mean and I, I mean, I'm an educated, smart, kind person. Why? Why would you know? I mean,
   it's just this whole thing is is ridiculous. And for the DA to act, you know, for them to say that he that,
   that the judge was saying I'm not gonna allow any of that information in. And I'm like, I'm reading up on
   legal necessity. Well, clearly that's bias from the judge right there.
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   00:15:19 EMERT

   Like like like.

   00:15:21 BADILLO

   like the the legal necessity is a whole different issue. Like say you cou ld call them bias. It's an incorrect
   ruling. You know, I we would still readdress it because I.

   00:15:31 BADILLO

   Think it was.

   00:15:31 BADILLO

   Still relevant. like I said, there's a lot of things that.

   00:15:36 BADILLO

   Because you resolved the case, we're not presented, we can't go back and say, hey, this is the merits of
   the case you if you want to withdraw your plea, you have to concentrate on what issues are targeted to
   that issue. So that's what I need.

   00:15:50 Speaker 2

   Your help with.

   00:15:50 EMERT

   Because again, I don't. I don't, I mean.

   00:15:51 EMERT

   There's there's so many.

   00:15:52 EMERT

   Issues to choose from I'm like.

   00:15:54 BADILLO

   I'm telling you is.

   00:15:58 BADILLO

   If you're alleging certain things about not understanding fully the consequences of your plea, in essence
   you're saying you were not properly advised or did not understand them, which in essence is attacking
   or saying that I did something wrong. I cannot go in there and.

   00:16:16 BADILLO

   Be a witness and an attorney in the case at the same time.

   00:16:20 EMERT
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                                                                                                             158




   What? Well, there's other issues that we can bring up, which is I was.

   00:16:24 EMERT

   Sick with COVID.

   00:16:28 EMERT

   The duress under, you know, help trying to get out to basically help Bryce.

   00:16:33 BADILLO

   Why don't you do this?

   00:16:35 BADILLO

   Forward me the e-mail you had with Andrea in regards to the issue that you were talking about about
   her backpedaling

   00:16:43 EMERT

   Yeah, yeah. Now I'll send them right over to you. And she basically says.

   00:16:46 EMERT

   In a nutshell.

   00:16:46 BADILLO

   We're targeting those issues and we can see what we're going to do.

   00:16:50 EMERT

   OK. Because then the deal basically was like it says the default to family court and it's is it in the?

   00:16:55 BADILLO

   But also the thing with that is I'm.

   00:16:58 BADILLO

   Sorry, the DA knows.

   00:17:00 BADILLO

   That you resolved the case based on the conversation she and I had with andrea.

   00:17:08 EMERT

   OK. So you think that would?

   00:17:09 BADILLO

   so if she is backpeddling on that and not agreeing to that, that could be an issue that can be

   rai sed. 00:17 :14 EMERT
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                                                                                                             159




   So that so yeah. So again, if we could work something out there because andrea said she's going to send
   over something, but what she's basically saying is that I need to drop everything, and she's going to keep
   what she's going to do is keep moving the goal posts.

   00:17:31 EMERT

   That's the best way to put it.

   00:17:32 BADILLO

   OK, just send it to me so.

   00:17:33 BADILLO

   I can take a look at it.

   00:17:34 EMERT

   OK.

   00:17:35 BADILLO

   And then we'll chat.

   00:17:36 SEMERT

   OK. And then again, I I just you know the case and I know you're good at what you do and so there's
   some things we can just agree to disagree on there, if you know what I mean, if if if you think we can get
   something done, but I know that I picked off the wrong people and they want to******* squish me and
   it's it's not, it's I. You know, I'm not going down.

   00:17:57 EMERT

   Like that? I'd rather******* die.

   00:17:59 Speaker 2

   You know what I mean? It's not OK, but they're trying to do to me and I don't deserve this. And you
   know that DA it it it. She should basically make it a misdemeanor. She******* knows it because I don't
   think I'm guilty of a misdemeanor, but a felony for being a good dad. And I was transparent with the
   DA's office the entire time. That Penal Code doesn't even*******.

   00:18:20 EMERT

   Why let me with the with the exceptions? I know we've talked about that before, but I mean it's just, I
   mean there's no way that I think they were going to ever get a jury to convict me. And I was just so beat
   down after 90 days that again, I mean, I didn't understand****. And is it my fault? I don't know. Is it
   your fault? I I really don't know.

   00:18:40 EMERT

   All I know is I didn't******* get it and I was******* coerced for 90 days in jail to to squeeze, to
   squeeze.
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                                                                                                             160




   00:18:48 EMERT

   For that, for that. For what exactly? What they wanted, I mean.

   00:18:51 BADILLO

   OK. Well, like you said, send me.

   00:18:53 BADILLO

   The e-mail so we could.

   00:18:54 BADILLO

   Take a look at it, then we can chat.

   00:18:56 EMERT

   OK. And then how does that work out, let's say?

   00:18:58 EMERT

   Hypothetically, you know you.

   00:19:00 EMERT

   Say, OK, well, it's probably not going to.

   00:19:01 EMERT

   Workout with us, you know, as again as.

   00:19:05 BADILLO

   Then, if you wanted the public defender, then when we go into court, I would ask for one to be
   appointed .

   00:19:11 EMERT

   If it wouldn't, we have to do that before Monday.

   00:19:14 BADILLO

   No, because like I said, if you're they're not going to appoint someone before the hearing, it would have
   to be at the hearing. So if I go in there and say that you're looking to file a motion with all your plea and
   you need to be appointed counsel, they'll do that. They're required to do that, and then they'll set a
   new.

   00:19:31 BADILLO

   Motion and sentencing day.

   00:19:33 EMERT
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                                                                                                              161




   OK. Because I mean, here's another thing is I 11 got a good vibe for you . I know you're a good person, but
   I also know the system and you know, I know you don't even say it. You know, I know, you know the
   system, and there's something really, really wrong with what? What they what they've done to me and
   maybe I should have. Maybe I should have not popped off and tell people their dog shit.

   00:19:53 EMERT

   Even though they are dogs,****, they you know is if it is what it is, you know and you know.

   00:19:58 BADILLO

   Gotta deal with it now.

   00:20:00 EMERT

   Yeah, and it, but it yeah, to deal with it and but also it's.

   00:20:03 EMERT

   Like I mean.

   00:20:05 EMERT It's just it's

   beyond. 00:20:07 EMERT



   I just. I'm I'm. I'm just coming to flabbergasted like that. The DA looks at it, and she's probably just being
   told what to do. And but she there's no way that she doesn't see what's going on and to bury me like
   this. It's it's just. I mean, I don't. I mean, I think it's really just disgusting. I really do. And you know,
   maybe I'm going overgrown Boy Scout.

   00:20:26 EMERT

   And at heart, and you know.

   00:20:28 EMERT

   I expect you know too much from peopl e, but you know, I don't know if you know when I send these
   emails, go back to her and say, look, this is that wasn't part of the deal. He did under duress because
   he's tried out for Bryce and now and now she's backpedaling on the deal.

   00:20:43 BADILLO

   Yeah. So like I said, send me the e-mail so I could take a look at them and then we can chat and.

   00:20:48 EMERT

   Decide what we're going to do, OK. And then on the down on the downside. Let's say hypot hetically,
   Monday we, you know 11 we swap out, we do the substitution.

   00:21:00 EMERT

   What? What's the kind of the the downside of that? The downside?
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                                                                          162




  00:21:05 BADILLO

  So like I said, they could ask.

  00:21:06 BADILLO

   For you to be remanded.

  00:21:08 EMERT

   Back in jail. Correct. Right. And they probably will.

  00:21:12 BADILLO

  That's the only thing that can happen. The judge, if you're asking for someone to look at withdrawal of
   plea, the judge cannot move forward with sentencing. So that's not going to be the issue. The the case
   will get continued no matter what. The only issue is whether they're going to try to remand you into
   custody.

   00:21:30 EMERT

   Right and again, but I, but I and I'm sure they will and I would actually expect that judge to probably
   throw me back in jail and that's if that's what happens. That's what happens but and and I'll take and I'll
   you know I'll take that lump but the but it's not right and I know you know it's not right you know but.

   00:21:48 BADILLO

   I know that that right.

   00:21:50 EMERT

   I mean, I just you know, with, with the evidence that that that they never should have been in there like
   that.

   00:21:55 EMERT

   And they they know it.

   00:21:56 BADILLO

   like I said, send me the emails then we can reassess.

   00:21:59 BADILLO

   What we're going to do.

   00:22:00 EMERT

   OK, alright, thanks. Alright, bye bye.
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   F.   05/03/23 TRANSCRIBED CALL BETWEEN ROB EMERT AND JOSE
   BADILLO
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                                                                                                                                                                                                                                             164
     This is a call transcribed .., .... Lween Rob Emert and Jose Badillo on
     05/03/23

     There is a link to the full audio file below.

     At time stamp 2:06; Jose Badillo clearly references the plea deal that was
     welched on. At this time stamp, Badillo says that he thinks DDA Balario
     will follow up with Andrea Schuck to make sure she is not backing out of
     the deal based on the conv~rsatjon that he and DDA Balerio had with her.

:00:02:06 {Jose Badillo}

    sHe would be willing.



:To, you know, talk to Andrea again to make sure that she's on the same page and not backing out based ·
            ~
C: : : : : : : • : : : : :   •• •• • •••• • • • •••••• • •• • •• • •• • •• • • •. • . • . . •. •   . • • •• . • . . . . . . .   • . . . . •. . .   . ... ..... - ...   . ......   . ...... .   ...   ...   . . . . . . ..... - - .   . . -. - . . .   . . -•

:' on the. :.

:00:02:14 {Badillo}!
'·    ··· · ··· - ·· -· ··· · ·· -·-· -··-- -·

: Conversation that we have with her. :

:00:02:16 {Badillo}!

: And they you, she has told you that.
~    ... - ............... - .... - ......          ~




1X2-~t~D.8.1«....I~-'!.-Y.-.-'ff-'!.-f~--g_9.i.~~--~9-.. W9_~9-~-~-~wn_~~~1_m_g_._~n~_ P.f_9y_i~rth_~-~-~B. _Y._9_~-1~-~-~-!s1~--~1)_~_v... h~-~-~D.\~9-'7-~J.9.-~
: yet, right?
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                                                                                     165
This is another excerpt fro; 1e transcribed phone call on 05/03/2: tween Badillo and
Emert.

In this excerpt, Badillo is indicating that because Schuck is working on the deal that was
discussed between Schuck, Badillo and ODA Balerio as part of the plea agreement, Badillo is
going to ask ODA Balerio for a continuance until the deal can be finalized.

It is important to note that Jose Badillo, attorney for Rob Emert, clearly never put this plea
agreement in writing which is ineffective counsel at best. In one of the other transcribed audio
calls, you can clearly hear Rob Emert asking for the plea agreement that he never received and
now parties are claiming no deal like this was ever discussed. Between all the transcribed calls
between Rob Emert and Badillo; between Rob Emert and Andrea Schuck, it is clear to any
reasonable person that some deal regarding custody was part of the plea agreement and there
for Rob Eemrt should be able to withdrawal his coerced plea agreement under the threat of not
e:etting_out of iail after 90 davs of il_lega[ incarceration.

.                                         .
:-~~_:_
      ; _3_:~~-{_~~~il!CJ}i
    That they were going to her.


••••••••••• •   ••••••   ••••   ••••••   ••   •   •   ••   •••••••••   ••   +   •••••   •   •




: Lawyers were going to draft something and propose it to you, correct? '



: And you have not received that yet. ·

:00:13:09 {Emert} )
•····· ........... ·····················. .. ... ...... .. ...... ..... . ....... ············ .. .............. ··········.
'. ~.<?.ff.~~.t.Ar:i.9-.iUrn~.wb.~.tl,t seems like when I first spoke with her, it was going to be done, you know, :
:·p-reitv .quici<iv;·vau·i<i~aw·.·: ··.. ···· ·· · ····· -- .. ·· · ·· · ·-- · · --··· · -- · .... ·...... ·· ··· ....· ....... · · ··· ··
    00:13:17 {Badillof

•That's why I'm saying. :



•The other option is I can contact the DA and say we're going to be requesting a continuance.

    00:13:27 {Badillof
'••····· ··· · ··· ................. '

·Of the. :



    Sentencing so that that agreement ca n be finalized before you're sentenced.
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                                                                                                            166




   Audio fil e
   050323 13 7 and 50 marks badillo.mp3



   Speaker 1 Rob Emert

   Speaker 2 Jose Badillo


   Transcript
   00:00:08 Speaker 1

   Hello, what's going on?

   00:00:11 Speaker 1

   Nada. So hey, I want to run something by you. Thanks for picking up. So again, ideally, I mean, I'm. I'm
   gonna on Tuesday. You know. Of course you know, withdraw my plea and I'm working on that motion
   and then you know, give it to you. So you can kind of read it and all that kind of stuff.

   00:00:26 Speaker 1

   But again, what I'd rather do is come to some kind of an agreement and move on, but I don't think
   they're going to do it and that's the bummer part. It's because, you know, I just, I can't have that felony
   on there. I won't be able to get******* licensing. And there's bunch of other problems and, you know,
   and it's just not fair. It's.

   00:00:45 EMERT

   Not right. I'll leave it at that.

   00:00:46 EMERT

   But if you think that Andrea is going to do what she said she's going to do.

   00:00:53 EMERT

   And she's going to come up with an agreement where, you know, you know, like she told me the first
   day said, no, Bryce is going to live with you and he'll be at school with me and we'll get through. This
   sounds like great, fantastic. And and then she started backpedaling, saying, well, and, you know, kind of
   that**** .

   00:01:07 EMERT

   That 11 sent over to you. So clearly she has no intention of honoring the agreement and she's going to
   keep moving the goal posts.

   00:01:15 EMERT

   Which again isn't part of, wasn't part of the deal.
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                                                                                                             167




   00:01:19 EMERT

   So I don't know if you think could you maybe you know get a couple days extra you know push out the
   Tuesday and you know give us like two or three days where basically you and the prosecutor can work
   with Andrea to try to come up with some deal where what he's kind of happy and I get a misdemeanor.

   00:01:41 EMERT

   I mean that's that. I think that's fair because I as far as I'm concerned, I didn't do anything wrong and I'm
   willing to go to trial and appeal it for the next******* two years to say I'm right. But I'd rather say I'm,
   you know, a a take a deal just.

   00:01:57 EMERT

   To make this go away.

   00:01:59 EMERT

   You know, what do you think?

   00:02:01 {Jose Badillo}

   Like I said I doubt the DA is going to do that. Like I said, I'm sure.

   00:02:06 {Jose Badillo}

   sHe would be willing.

   00:02:06 {Badillo}

   To, you know, talk to Andrea again to make sure that she's on the same page and not backing out based
   on the.

   00:02:14 {Badillo}

   Conversation that we have with her.

   00:02:16 {Badillo}

   And they you, she has told you that.

   00:02:19 {Badillo}

   You know, they were going to propose something and provide that to you, which they haven't done so
   yet, right?

   00:02:26 EMERT

   Yeah. So again, I mean, when you look at those emails that I sent over to you, you know, from Andrea
   what she's going to do and this is just how she rolls, I I know, you know, I know what she's going to do.
   She's going to keep pushing it out. And I have, like, my appellate brief. Do I have two motions within the
   family court? And I have the federal case.

   00:02:46 EMERT
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   I'm working on a federal injunction, you know, to to just to pause all of this crap, you know, uh, for, you
   know, all the reasons that, you know, I've told you about. So there's a lot of stuff I can do and I'm
   working.

   00:02:58 EMERT

   On it. But again, I really don't want to.

   00:03:01 EMERT

   And it's just that, you know, so, you know, I hope she just comes to the table with clean hands and
   basically says, yeah, let's let's look at a view for the best interest of bryce. But she she's not going to do
   it. Basically, she wants me. She's running the clock out on me to will I come up against my deadlines on
   my appellate case and all that stuff because.

   00:03:22 EMERT

   If I if I if I get a decent judge, which is very possible in the appellate court and they look at this, they're
   gonna be.

   00:03:27 EMERT

   Like, Oh my gosh, there's no way.

   00:03:30 EMERT

   That they're not going to stay those orders. And if they stay those orders, that's going to have
   repercussions on the criminal case because if they stay the orders now and I go back to Criminal Court,
   they're going to be like, yeah, so we have to undo this because we do them in jail based on orders that
   are now stayed.

   00:03:49 EMERT

   And that's on the DA because the DA told me that they were going to wait for final rulings.

   00:03:55 EMERT

   On the family court and the appellate court before they******* took me in jail. So again, there's such a
   mess here. And I know I've told you this a bunch of times, but it just kind of blows me away. I maybe I
   rambled too much about it, but just so that you're clear on this part, I think you are basically in the
   family court. It is, you know, 5050.

   00:04:16 EMERT

   For two years.

   00:04:17 EMERT

   And then that Commissioner came in that took all my rights away with a supervising judge, his friends,
   with my ex-wife. Right. So then, you know, and she, uh, she passed on my peremptory challenge and a
   bunch ofother just crazy **** . So I went to the presiding judge and said, hey, look, got a problem here.
   Need some help and.
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   00:04:37 EMERT

   I had the heart attack right? So I said, hey, look, I need a continuance or, you know, a remote hearings
   because the heart attack and the COVID and****. And she she's like, no.

   00:04:48 EMERT

   So I mean, court protocol dictate that I get a continuance or a, you know, or remote hearings given that
   scenario. And she basically just said no and railroaded through her orders. Now for the.

   00:05:01 EMERT

   You know, so.

   00:05:03 EMERT

   For the for the DA to not take that into consideration and for the judge to basically say that that's not
   relevant. I mean, Oh my gosh, I mean, come on. I mean that's.

   00:05:14                                              EMERT                                                 1

   Just                             that                              just                              stinks.

   00:05:16 EMERT

   Of you know, whatever. I mean, it's just it's beyond stinky.

   00:05:22 EMERT

   And I you know, again, I appreciate the spot you're in. You know, I get it and I won't make you say it, but
   you know, I I know where you're at, so, but you know, I'm a good guy and you there's got to be
   something you can.

   00:05 :33 EMERT

   Do to you know to push back at these knuckleheads and to basically say, look, this guy has a lot of
   options and you better hope he doesn't get a national.

   00:05:43 EMERT

   You know, firm to pick this thing up on contingency. You know what I mean? Because if I do and I'm
   working on it, you know, you know, they're going to get pummeled and they know it, and that's why
   they're trying to, you know, squeeze me so hard is for me to go away. I think what they're going to
   probably do.

   00:06:00 EMERT

   Is like I said in my text message to you, they gonna probably throw me back in jail on Tuesday. And
   again, there's no. There's no reason they could possibly give at this point.

   00:06:11 EMERT

   UM.
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   00:06:13 EMERT

   You know, because the you know, like I asked you that question. The the judge threw out

   the. 00:06:19 EMERT

   The so-called threat.

   00:06:20 BADILLO

   Yeah. But like I said about that, he was not going to allow it to be presented at trial. But the judge can
   still consider that in regards to.

   00:06:31 BADILLO

   The bail issue.

   00:06:33 BADILLO

   It's not completely like it never happened. It's not like he's saying that it's not relevant.

   00:06:38 EMERT

   But they're not, they're not even charging me with it.

   00:06:39 EMERT

   Not even charging me with it if it was relevant, they would.

   00:06:42 EMERT

   ******* charge me with it.
   00:06:44 BADILLO

   Not necessarily. That's not true either.

   00:06:47 BADILLO

   I agree with you that you were never charged with it. That's an argument that we made and can
   continue to make. But in regards to the judge not allowing A pretrial, which is the correct call.

   00:06:58 BADILLO

   Does not mean that he cannot consider it.

   00:07 :00 BADILLO

   For a bail.

   00:07:03 EMERT

   Did you call the FBI or get the because you know the DA has the report? I mean, there's no

   way. 00:07:10 EMERT
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   They don't have that report.

   00:07:13 EMERT

   I mean, they're sitting on exculpatory evidence right there. I mean, there's no way they don't have the
   report because they're the ones that basically, you know, was working with the FBI. And I met with that
   guy for three hours and he told me straight up, I'm not a threat. So the DA has that report.

   00:07:28 EMERT

   And that they're.

   00:07:29 EMERT

   Withholding it, you know they to have it.

   00:07:31 EMERT

   And you, you filed, you filed that paperwork that basically says they have to turn over everything,
   including exculpatory evidence. I don't know. It's called, but there's a form for that. And I think you said
   you filed it right.

   00:07:43 BADILLO

   Right. You saw the file I sent you.

   00:07:45 Speaker 1

   Yeah. No, I'm sure. Yeah. I didn't say. Yeah, that's fine. But I'll take a look for it. But so my question to.

   00:07:50 EMERT

   You is is that you know.

   00:07:53 EMERT

   That they're sitting on that it's impossible for them to not be sitting on that.

   00:07:57 EMERT

   And for them not to give that to us.

   00:08:01 EMERT

   Is that's like, that's the rules for like. I mean, holding exculpatory evidence. I mean, that's a big deal. I
   would, I would guess. I mean, I'm not a lawyer, but I would guess it's a pretty big deal. So if you even
   asked them for that.

   00:08:14 BADILLO

   Yeah, I talked to them at the.

    00:08:15 BADILLO

    Beginning of the case, because that was one.
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   00:08:17 BADILLO

   Of the issues.

   00:08:18 EMERT

   So what do they what do they say?

   00:08:19 EMERT

   They say they don't. They still don't.

   00:08:22 BADILLO

   They've turned over everything they have.

   00:08:26 EMERT

   Have you tried to get it from that? From the uh from link? Because you know they have it. I.

   00:08:31 EMERT

   Mean. It's like, come on, give me a break.

   00:08:31 BADILLO

   I don't know.

   00:08:32 BADILLO

   If they have, but I don't know if every part was ever generated like it said as you just indicated, DA's
   office is obligated to turn over all that evidence.

   00:08:44 BADILLO

   Like think you can say there's a report.

   00:08:47 BADILLO

   Like that, we don't know if there is one. We don't have the evidence. There is one, but we don't

   know. 00:08:52 BADILLO

   If the one exists. If it did exist, it did if.

   00:08:54 EMERT

   If the call goes in, come on, that's common sense.

   00:08:57 EMERT

   If if a.

   00:08:57 EMERT
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   Call goes into the national call center. The FBI the DA is trying to claim that there was a threat made, and
   I actually met with the guy for three hours and they're going to try to say, I mean, that's a strained their
   ******* credibility to to the maximum. They say that there wasn't actually an investigation.
   00:09:13 EMERT

   That was done.

   00:09:15 EMERT

   You know, I'm saying to mean there's no way that something wasn't generated to say. Yeah, we looked
   into it. And yes, he's a crazy man or no, he's fine. And he told me straight up and I'm fine and so. And
   that's exculpatory Evidence they're sitting on. And what I'm thinking about doing is that it's probably not
   a good idea, but.

   00:09:35 EMERT

   You know if if the way things are going and how they're sitting on that evidence.

   00:09:41 EMERT

   And they're not, you know, and the judge isn't even looking at putting this thing in the larger picture,
   where I reached out to the DA a year in advance with all of these complaints.

   00:09:53 BADILLO

   Where like I said, it's.

   00:09:55

   We can't, we.

   00:09:56 BADILLO

   Keep going. I understand what you're saying. I understand what your position is on the case. The issue
   is, what are we going to do for Tuesday? Like I said, you're you said you're working on the motion. Is
   that something you're going to file in pro per? Or do you want me to request you to be appointed
   counsel? What you want to do?

   00:10:15 BADILLO

   Because from all the text messages you're sending me, like I said, a lot of it. Like I said, there's
   information that things you want to address in the motion, which I cannot address because I was the
   attorney of records in regards to advising you in regards to the plea agreement. And you're saying you
   didn't completely understand that, so.

   00:10:35 BADILLO

   Obviously, someone's gonna have to come in and litigate that issue and I can't move because in essence,
   like you said, you're saying that I did not properly advise you.

   00:10:44 EMERT
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   I mean well.

   00:10:47 EMERT

   There's there's ways, I mean, again, because I I just think you and I should agree to disagree on a couple
   of things, but.

   00:10:54 EMERT

   That the the main issue is that I was sick with COVID. That's a big deal, OK? And I can prove it. CVS
   report, I think.

   00:11:02 EMERT

   I sent that.

   00:11:02 EMERT

   Over to you, I had COVID so that covers a lot.

   00:11:05 BADILLO

   That in itself does not.

   00:11:09 BADILLO

   Say that the.

   00:11:10 BADILLO

   Duress was involved .

   00:11:11 BADILLO

   There has to be more than that, OK?

   00:11:14 BADILLO

   People that have been in custody that suffered from COVID have COVID to take plea agreement. They
   sign their plea agreement and understand.

   00:11:23 BADILLO

   Like this? That's why I'm saying that. That's why it's definitely an issue in regards to you putting out in
   the next sense it's saying that.

   00:11:34 BADILLO

   You should not have pied and I.

   00:11:36 BADILLO

   Let you plea

   00:11:39 BADILLO
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   So in essence.

   00:11:39 BADILLO

   Like I said, you're saying that you did not completely understand it, and you're correct.

   00:11:46 EMERT

   Well, that that's one aspect of it, absolutely. But I was. I was.

   00:11:49 BADILLO

   I know, but you see, I know it's only one aspect, but you see raising that so.

   00:11:56 BADILLO

   Like that.

   00:12:00 BADILLO

   Like you weren't, it seems like for certain going to want to withdraw your plea. So based on the
   information you're giving me.

   00:12:07 BADILLO

   We either have to ask for appointed counsel. You have to retain counsel or you're.

   00:12:13 BADILLO

   Going to do it yourself.

   00:12:17 EMERT

   OK. Well, and that's why I was hoping maybe you could squeeze us another couple of days while we try
   to work with Andrea on some kind of a deal, because I can look at a deal that's great and we all move on
   you.

   00:12:30 EMERT

   Know what mean?

   00:12:30 BADILLO

   I can contact the DA and say, you know what?

   00:12:38 EMERT

   Say that again.

   00:12:41 BADILLO

    We want to continue to make sure that .

    00:12:47 EMERT
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                                                                                                             176




   You kind of broke up on that, but I'm thinking you said something along the lines. Could you get a small
   continuance because we'll work because we're working on a deal, basically. Is that kind of what you
   said?

   00:12:57 {badillo}

   Yeah, because you indicated to me .

   00:12:59 {badillo}

   That she told you.

   00:13:00 {Badillo}

   That they were going to her.

   00:13:01 {Badillo}

   Lawyers were going to draft something and propose it to you, correct?

   00:13:07 {Badillo}

   And you have not received that yet.

   00:13:09 {Emert}

   Correct . And it and what it seems like when I first spoke with her, it was going to be done, you know,
   pretty quickly, you know.

   00:13:17 {Badillo}

   That's why I'm saying.

   00:13:19 {Badillo}

   The other option is I can contact the DA and say we're going to be requesting a continuance.

   00:13:27 {Badillo}

   Of the.

   00:13:29 {Badillo}

   Sentencing so that that agreement can be finalized before you're sentenced.

   00:13:35 EMERT

   That sounds great because again, I really, yeah.

   00:13:39 BADILLO

   OK, let's. OK, let's start off with that. I'm going to contact the DA and then I'll let you

   know. 00:13:45 EMERT

   OK, because again, my my health dude, it's not well and I'm going to******* croak.
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   00:13:49 BADILLO

   Like I said, you know you don't need the stress in your life, man.

   00:13:52 BADILLO

   It's like you're putting yourself in a tight place. You're gonna have another heart attack.

   00:13:56 EMERT

   No, I will. And I'm not well. I'm dizzy. And that's where that's what.

   00:14:00 EMERT

   Happened. You know when?

   00:14:04 BADILLO

   There's a way to do things, so let me talk to you.

   00:14:07 EMERT

   Thanks man.
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   G.  04/18/23 EMAIL BETWEEN ROB EMERT AND ANDREA SCHUCK
   WHERE Andrea Schuck WANTED TO ALTER THE PLEA AGREEMENT
   WITHOUT PUTTING ANYTHING IN WRITTING.
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   From: Rob Emert <robemert@msn.com>
   Sent: Tuesday, April 18, 2023 8:30 PM
   To: Andrea Schuck <andrea.schuck@carlsbadusd.net>
   Subject: Re: Working on it

   Andrea,

   I look forward to an agreement.

   You need to set Bryce free. If you love someone, you need to set them free.

   Bryce's health and education has always done fantastic under my watch.

   Please end this before things get worse for Bryce.

   Please A



   From: Andrea Schuck <andrea.schuck@carlsbadusd.net>
   Sent: Tuesday, April 18, 2023, 8:09 PM
   To: Rob Emert <robemert@msn.com>
   Subject: Working on it



   Rob,
   I am working on an an offer. We will then present you the offer and if you agree we wi ll make
   cou rt date, we can't just go in on the May 18th hearing and present this. That is not how it
   works, we can only talk about the motion that you have before the court. It wil l be a different
   court date for a settlement agreement. I am willing to work with you, so please drop the ot her
   cases and let's get this going. Please do not respond to this email with anything other that court
   related matters. I want to keep communication open but focused. Please don't hassle me and
   tell me how miserable Bryce is. I told you my focus is on his health and education. So it would
   really be the best for Bryce to focus on school and not court Pl ease ask your mom to NOT
   answer hi s calls during school hours. I wil l be in touch with offer.

   Regards,
   Andrea
   Ms. Andrea Schuck
   3557 Monroe Avenue
   Carlsbad, CA. 92008
   (760) 331-5764
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   From: Andrea Schuck <andrea.schuck@carlsbadusd.net>
   Sent: Thursday, May 18, 2023 1:05 PM
   To: Rob Emert <robemert@msn .com>
   Cc: Dave Schulman <dschulman@msmfamilylaw.com>; Linda Hansen
   <lhansen@msmfamilylaw.com>; Sarah Bear <sbear@msmfamilylaw.com>; Kelley Castillo
   <kcastillo@msmfamilylaw.com>; Balerio, Franciesca <Franciesca.Balerio@sdcda.org>; Peter
   Schluederberg <peter@pgslaw.com>; Linda <lindalaw@juno.com>
   Subject: Negotiations


   Rob,


   We are not in negotiations nor will we be until you do as I have requested
   and drop your other cases. At that point I will work with you for some
   shared physical (only) custody of Bryce, not Skylar. You don't get to tell me
   how this works, I am telling you this is what I need to happen before I will
   negotiate at all. You are the one who is dragging all of the frivolous court
   matters out. I want all of these court matters behind us. I am telling you
   how to make that happen.

   I reiterated this to you on May 4th see below.

   BELOW SENT MAY 4th
   Rob,
   I will not send an offer for shared child custody change with Bryce until you
   drop the civil and appeal case. FULL STOP. I am willing to work with you
   after you drop those cases. Dropping those cases will NOT be written into
   an offer for shared custody of Bryce. You will need to show good faith and
   do that first.

   Andrea

   Ms. Andrea Schuck
   3557 Monroe Avenue
   Carlsbad, CA. 92008
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   VERIFICATION

   IT IS HEREBY certified that the facts in the foregoing is true and correct under penalty of
   perjury to the best of my knowledge and belief. Attachments to this are true and correct copies of
   the items they purport to be.
   Dated O1/01/24
   By:   h6 chUIAL;-
   Robert Emert
   2351 Vista Lago Terrace
   Escondido California 92029
   robcmcrt(w.msn.com
   (760) 612-9328


   ELECTRONIC SERVICE

   I, Glenda Emert, certify that on O1/01/24, I served the foregoing Federal lawsuit under 28 U.S.C.

   § 1331 and 42 U.S.C. § 1983 electronically by email to the following: sdag.docketing@doj.ca.gov ;
   franciesca. balerio@sdcda.org ; jbadillo_law@yahoo.com

   da.appellate@sdcda.org ; Sandiegodaprop65@sdcda.org ; aemert@carlsbadusd.net

   I declare under penalty of perjury under the laws of the State of California that the foregoing is
   true and correct.

   D~2~
   Glenda Emert
